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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF DELAWARE

    _________________________________________
                                              )
    In re:                                    )                             Chapter 11
                                              )
    SAMUELS JEWELERS, INC.,                   )                             Case No. 18-11818 (KJC)
                                              )
                       1
                Debtor.                       )
                                              )
    _________________________________________ )


                              STATEMENT OF FINANCIAL AFFAIRS FOR
                            SAMUELS JEWELERS, INC. (CASE NO. 18-11818)




1
             The last four digits of the Debtor’s Taxpayer identification number is 6316 and its address is 2914 Montopolis
             Drive, Suite 200, Austin, Texas 78741.
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

                                                 :
In re                                            :      Chapter 11
                                                 :
SAMUELS JEWELERS, INC., 1                        :      Case No. 18-11818 (KJC)
                                                 :
                   Debtor.                       :
                                                 :

     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
    AND DISCLAIMER REGARDING DEBTOR'S SCHEDULES AND STATEMENTS

               The Schedules of Assets and Liabilities (collectively the "Schedules") and the
Statements of Financial Affairs (collectively the "Statements" and, together with the Schedules,
the "Schedules and Statements") filed by Samuels Jewelers, Inc. (the "Debtor"), in the United
States Bankruptcy Court for the District of Delaware (the "Bankruptcy Court"), were prepared
pursuant to section 521 of title 11 of the United States Code (the "Bankruptcy Code") and
Rule 1007 of the Federal Rules of Bankruptcy Procedure by the Debtor's management, and are
unaudited. While those members of the Debtor's management responsible for the preparation of
the Schedules and Statements have made a reasonable effort to ensure that the Schedules and
Statements are accurate and complete based on information known to them at the time of
preparation after reasonable inquiries, inadvertent errors may exist and/or the subsequent receipt
of information may result in material changes in financial and other data contained in the
Schedules and Statements that may warrant amendment of the same. Moreover, because the
Schedules and Statements contain unaudited information that is subject to further review and
potential adjustment, there is no assurance that these Schedules and Statements are complete or
accurate. The Debtor reserves the right to amend its Schedules and Statements from time to time
as may be necessary or appropriate. This Global Notes and Statement of Limitations,
Methodology, and Disclaimer Regarding Debtor's Schedules and Statements (the "Global Notes")
is incorporated by reference in, and comprises an integral part of, the Schedules and Statements
and should be referred to and reviewed in connection with any review of the Schedules and
Statements. In the event that the Schedules and Statements differ from these Global Notes, these
Global Notes shall control.

        1.      Description of the Cases and "As Of" Information Date. On August 7, 2018
(the "Petition Date"), the Debtor filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code. The Debtor is currently operating its business and possessing its property as a
debtor-in-possession under sections 1107 and 1108 of the Bankruptcy Code. Except as
otherwise noted, all asset and liability information is as of the Petition Date.




1
        The last four digits of the Debtor's taxpayer identification number are 6316 and its address is
        2914 Montopolis Drive, Suite 200, Austin, Texas 78741.



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        2.      Amendments. The Debtor reserves the right to amend the Schedules and
Statements in all respects at any time as may be necessary or appropriate, including, without
limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
Schedules and Statements as to amount, to liability, or to classification, or to otherwise
subsequently designate any claim as "disputed," "contingent," or "unliquidated." Any failure to
designate a claim as "contingent," "unliquidated," or "disputed" does not constitute an admission
by the Debtor that such claim is not "contingent," "unliquidated," or "disputed."

        3.      Estimates and Assumptions. The preparation of the Schedules and Statements
requires the Debtor to make certain estimates and assumptions that affect the reported amounts
of assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
Schedules and Statements and other matters. Actual results could differ from those estimates.

       4.      Unknown Amounts. Some of the scheduled liabilities are unknown and
unliquidated at this time. Accordingly, the Schedules and Statements do not accurately reflect
the aggregate amount of the Debtor's liabilities.

        5.      Prepetition v. Postpetition. The Debtor has sought to allocate liabilities between
the prepetition and postpetition periods based on the information available and the research
conducted in conjunction with the preparation of these Schedules and Statements. As additional
information becomes available and further research is conducted, the allocation of liabilities
between prepetition and postpetition periods may change.

       6.      Basis of Presentation. These Schedules and Statements do not purport to
represent financial statements prepared in accordance with Generally Accepted Accounting
Principles ("GAAP"), nor are they intended to fully reconcile to any financial statements
otherwise prepared and/or distributed by the Debtor.

       7.      Personal Knowledge of Farhad Wadia. The Schedules and Statements have
been signed by Farhad Wadia, CEO of the Debtor. In reviewing and signing the Schedules and
Statements, Mr. Wadia has necessarily relied upon the efforts, statements and representations of
the accounting and non-accounting personnel located at the Debtor's offices who report to, or
work with, Mr. Wadia, either directly or indirectly. Mr. Wadia has not, and could not have,
personally verified the accuracy of each such statement and representation, including statements
and representations concerning amounts owed to creditors. In particular, Mr. Wadia has only
served on the board of the Debtor since February 28, 2018, and served as the Debtor's CEO since
December 2015. As a consequence, he does not, and could not have, personal knowledge of
corporate events and finances occurring before that time.

       8.      Asset Values. It would be prohibitively expensive, unduly burdensome, and
time-consuming to obtain current market valuations of the Debtor's property interests.
Accordingly, to the extent any asset value is listed herein, and unless otherwise noted therein, net
book values rather than current market values of the Debtor's property interests are reflected on
the applicable Schedule or Statement.

       9.     Causes of Action. The Debtor reserves all of its causes of action. Neither these
Global Notes nor the Schedules and Statements shall be deemed a waiver of any such cause of


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action. Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver
of rights with respect to these chapter 11 cases, the Debtor's right to seek equitable subordination
and/or assert causes of action arising under the provisions of chapter 5 of the Bankruptcy Code
and other relevant nonbankruptcy laws to recover assets or avoid transfers.

         10.    Litigation. The Debtor has made reasonable efforts to accurately record the
litigation actions (the "Litigation Actions") in the Schedules and Statements. The inclusion of
any Litigation Action in these Schedules and Statements does not constitute an admission by the
Debtor of liability, the validity of any Litigation Action or the amount of any potential claim that
may result from any claims with respect to any Litigation Action and the amount and treatment
of any potential claim resulting from any Litigation Action currently pending or that may arise in
the future.

        11.    Application of Vendor Credits. In the ordinary course of its businesses, the
Debtor applies credits against amounts otherwise due to vendors. These credits arise because,
among other matters, (i) materials ordered and paid for may not be delivered, (ii) materials
delivered may be damaged or unusable and (iii) vendors provide volume rebates and cash
discounts. Certain of these credits are subject to change. Vendor claims are listed at the
amounts entered on the Debtor's books and records, which may or may not reflect credits or
allowances due from such creditors to the Debtor. The Debtor reserves all of its rights respecting
such credits and allowances.

       12.     Application of Customer Credits. In the ordinary course of its business, the
Debtor maintains a number of customer programs including (i) sales promotions; (ii) a discount
card program; (iii) coupons; and (iv) warranties. Therefore, the Debtor applies credits due
pursuant to such programs against amounts due by customers, and the amounts reported on the
Schedules and Statements are net of such customer credits.

        13.    Claims. Certain of the Debtor's Schedules list creditors and set forth the Debtor's
estimate of the claims of creditors as of the Petition Date. The claim amounts reflected on the
Schedules may include the Debtor's estimates for vendor charges not yet invoiced. By estimating
certain invoices, the Debtor is not representing that it has sought to identify and estimate all
uninvoiced vendor charges.

        14.     Employee Claims. The Bankruptcy Court entered an order granting authority to,
but not requiring, the Debtor to pay prepetition employee wages, salaries, benefits and other
related obligations. The Debtor currently expects that most prepetition employee claims for
wages, salaries, benefits and other related obligations either have been paid or will be paid in the
ordinary course of business and therefore, the Schedules and Statements do not include such
claims.

        15.     Insiders. In the circumstances where the Schedules and Statements require
information regarding insiders and/or officers and directors, included therein are the Debtor's
(a) directors (or persons in similar positions) and (b) employees that are, or were during the
relevant period, officers (or persons in control). The listing of a party as an insider is not
intended to be nor should it be construed as a legal characterization of such party as an insider
and does not act as an admission of any fact, claim, right, or defense, and all such rights, claims,


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and defenses are hereby expressly reserved. Further, employees have been included in this
disclosure for informational purposes only and should not be deemed to be "insiders" in terms of
control of the Debtor, management responsibilities or functions, decision-making or corporate
authority and/or as otherwise defined by applicable law, including, without limitation, the federal
securities laws, or with respect to any theories of liability or for any other purpose.

       16.     Fair Market Value; Book Value. Unless otherwise noted therein, the
Statements reflect the carrying value of the liabilities as listed in the Debtor's books and records.

        17.     Disputed, Contingent and/or Unliquidated Claims. Certain Schedules and
Statements permit the Debtor to designate a claim as disputed, contingent, and/or unliquidated.
A failure to designate a claim on any of these Schedules and Statements as disputed, contingent,
and/or unliquidated does not constitute an admission that such claim is not subject to objection.
The Debtor reserves the right to dispute, or assert offsets or defenses to, any claim reflected on
these Schedules and Statements as to amount, liability, or status.

        18.        Notes on Schedules.

                   Schedule A/B

                   (a)   In Schedule A/B, Part 1, the Debtor has listed the cash on hand at the
                         Debtor's headquarters as of the Petition Date. Certain of the Debtor's
                         stores also had a small amount of petty cash as of the Petition Date, and
                         these amounts are not included in this calculation. However, the Debtor
                         believes such cash to be in amounts of less than $200 per store.

                   (b)   In Schedule A/B, Part 10, the Debtor's books and records do not separately
                         set out a net book value of certain intangibles and intellectual property, but
                         only list a net book value for the Debtor's goodwill. Therefore, the Debtor
                         has not listed any valuation for questions 60 through 64.

                   Schedule D

                   (a)   The Debtor has not included on Schedule D parties that may believe their
                         claims are secured through setoff rights, deposits posted by or on behalf of
                         the Debtor, or inchoate statutory lien rights, including consignment
                         vendors. Such counterparties have been listed on Schedule E/F.

                   Schedule E/F

                   (a)   Certain of the claims of state and local taxing authorities set forth in
                         Schedule E/F, which the Debtor has designated as contingent, disputed
                         and unliquidated, ultimately may be deemed to be secured claims pursuant
                         to state or local laws.

                   (b)   Certain of the claims owing to various taxing authorities to which the
                         Debtor may be liable may be subject to ongoing audits. The Debtor
                         reserves its rights to dispute or challenge whether claims owing to various

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                         taxing authorities are entitled to priority, and the listing of any claim on
                         Schedule E/F does not constitute an admission that such claim is entitled
                         to priority treatment pursuant to section 507 of the Bankruptcy Code.

                   (c)   Certain of the Debtor's liabilities do not lend themselves to identification
                         of individual claims/claimants. Specifically, Schedule E/F does not
                         include estimated liabilities for the outstanding store gift cards, layaway
                         payments and amounts due pursuant to the Debtor's warranty programs.
                         However, as of the Petition Date, the total amount outstanding on behalf
                         of gift cards was $435,000, and the Debtor was holding approximately
                         $371,656 pursuant to the layaway program.

                   (d)   The Debtor believes that certain of the claims listed on Schedule E/F
                         belong to insiders or are associated in some way with Mehul Choksi. The
                         Debtor has marked such claims with an asterisk. However, as noted
                         above, the identification of such parties is not intended to be nor should it
                         be construed as a legal characterization of such parties as insiders and does
                         not act as an admission of any fact, claim, right, or defense, and all such
                         rights, claims, and defenses are hereby expressly reserved.

                   Schedule G

                   (a)   While every effort has been made to ensure the accuracy of Schedule G,
                         inadvertent errors or omissions may have occurred. The Debtor hereby
                         reserves all of its rights to (i) dispute the validity, status or enforceability
                         of any contracts, agreements or leases set forth in Schedule G and
                         (ii) amend or supplement such Schedule as necessary. Furthermore, the
                         Debtor reserves all of its rights, claims and causes of action with respect to
                         the contracts and agreements listed on these Schedules, including the right
                         to dispute or challenge the characterization or the structure of any
                         transaction, document or instrument. The presence of a contract or
                         agreement on Schedule G does not constitute an admission that such
                         contract or agreement is an executory contract of unexpired lease.

                   (b)   The contracts, agreements and leases listed on Schedule G may have
                         expired or may have been modified, amended or supplemented from time
                         to time by various amendments, restatements, waivers, estoppel
                         certificates, letter and other documents, instruments and agreements that
                         may not be listed therein. Certain of the real property leases listed on
                         Schedule G may contain renewal options, guarantees of payments, options
                         to purchase, rights of first refusal, rights to lease additional space and
                         other miscellaneous rights. Such rights, powers, duties and obligations are
                         not set forth on Schedule G. Certain of the executory agreements may not
                         have been memorialized and could be subject to dispute. Additionally, the
                         Debtor may be a party to various other agreements concerning real
                         property, such as easements, rights of way, subordination,
                         non-disturbance, supplemental agreements, amendments/letter


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                         agreements, title documents, consents, site plans, maps and other
                         miscellaneous agreements. Such agreements, if any, are not set forth in
                         Schedule G. Certain of the agreements listed on Schedule G may be in the
                         nature of conditional sales agreements or secured financings.

        19.        Notes on Statements.

                   (a)   Question 2: The Debtor has listed royalty income from April 1, 2016 to
                         March 31, 2017 as $6.8 million. The Debtor understands that certain
                         parties have alleged that this payment was fraudulent.

                   (b)   Question 4:

                         (i)     The Debtor has listed various parties that it believes are associated
                                 in some way with Mehul Choksi. However, the listing of such
                                 parties is not intended to be nor should it be construed as a legal
                                 characterization of such parties as insiders and does not act as an
                                 admission of any fact, claim, right, or defense, and all such rights,
                                 claims, and defenses are hereby expressly reserved.

                         (ii)    The Debtor provided insiders, including Mehul Choksi, with
                                 access to its healthcare plan. These payments were made in a lump
                                 sum to the health care insurer along with all other employees
                                 receiving benefits, and such payments are not individually broken
                                 out or included with respect to each insider in Question 4. The
                                 Debtor has ceased providing benefits to Mehul Choksi.

                         (iii)   From time to time, the Debtor would make travel arrangements
                                 and make payment related expenses for insiders. To the extent the
                                 Debtor directly paid for such expenses, they are not included in
                                 Question 4. However, to the extent the employee made such
                                 payments personally and was later reimbursed, the Debtor has
                                 listed such payments.

                   (c)   Question 16: The Debtor does not have an official privacy policy for
                         information related to credit applications. However, such information is
                         solely used by third-party lenders, and the Debtor understands that such
                         third parties have privacy policies.

                   (d)   Question 21: The Debtor has consignment inventory in its stores. The
                         Debtor does not claim any ownership of the consignment inventory and
                         therefore the value of such inventory is not reflected in the Schedules and
                         Statements. As a result, the consignment vendors are listed in Question 21
                         of the Statements with no value assigned.

                   (e)   Question 30: Please refer to Question 4 of the Statements regarding all
                         payments to insiders.



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                Neither the Debtor, its agents nor its attorneys guarantee or warrant the accuracy,
the completeness or correctness of the data that is provided herein or in the Schedules and
Statements, and neither is liable for any loss or injury arising out of or caused in whole or in part
by the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information. While every
effort has been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtor and its agents, attorneys and advisors expressly do not
undertake any obligation to update, modify, revise or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised or
re-categorized. In no event shall the Debtor or its agents, attorneys and advisors be liable to any
third party for any direct, indirect, incidental, consequential or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtor or
damages to business reputation, lost business or lost profits), whether foreseeable or not and
however caused, even if the Debtor or its agents, attorneys and advisors are advised of the
possibility of such damages.



                               ***END OF GLOBAL NOTES***

         SCHEDULES AND STATEMENTS BEGIN ON THE FOLLOWING PAGE




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Fill in this information to identify the case:

Debtor name         Samuels Jewelers, Inc.

United States Bankruptcy Court for the:    DISTRICT OF DELAWARE

Case number (if known)     18-11818
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                          $30,555,969.00
      From 4/1/2018 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                         $111,864,341.00
      From 4/1/2017 to 3/31/2018
                                                                                          Other


      For year before that:                                                               Operating a business                         $119,430,512.00
      From 4/1/2016 to 3/31/2017
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

      For year before that:
      From 4/1/2016 to 3/31/2017                                                      Royalty Income                                      $6,800,000.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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Debtor       Samuels Jewelers, Inc.                                                             Case number (if known) 18-11818




          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See Part 2, Question 3 Attachment                                                $12,504,347.90                 Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    See Part 2, Question 4 Attachment                                                $18,503,099.42


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    California Unemployment Tax              Unemployment                California Unemployment                         Pending
              Cases                                    Insurance,                  Insurance                                       On appeal
              Case Nos. 4874174 & 4874190              Penalties and               Appeals Board
                                                                                                                                   Concluded
                                                       Interest for
                                                       Contractors who
                                                       the State found to
                                                       be Employees




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 Debtor       Samuels Jewelers, Inc.                                                                    Case number (if known) 18-11818



               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.2.    Johnny Flores Jewlery, Inc.                       Breach of                                                         Pending
                                                                 Contract and                                                      On appeal
                                                                 Unpaid Invoices
                                                                                                                                   Concluded

       7.3.    Madisen General Contractors,                      Breach of                 Duval County Circuit Court,             Pending
               Inc.                                              Contract for              FL                                      On appeal
               Case No.                                          Construction of
                                                                                                                                   Concluded
               162018CA2362XXXXMA                                Store 871

       7.4.    Michael Molanare v. Samuels                       Suit for Wrongful         Southern District of Indiana            Pending
               Jewelers Inc.                                     Termination and           Indianapolis Division                   On appeal
               Case No. 117cv318-jmsmpb                          Disability
                                                                                                                                   Concluded
                                                                 Discrimination

       7.5.    Nazila Jafari, individually and                   Wage and Hours            Superior Court of California            Pending
               on behalf of all other persons                    Violations                Court of Los Angeles                    On appeal
               similarly situated
                                                                                                                                   Concluded
               Case No. BC634106

       7.6.    Perla Mageno v. Samuels                           Civil Right Action        Superior Court of California            Pending
               Jewelers, Inc.                                                                                                      On appeal
               Case No. EC068983
                                                                                                                                   Concluded

       7.7.    Rochester Diamonds and                            Breach of                 201st Judicial District Court           Pending
               Gold, Inc. v. Samuels                             Contract                  in Travis                               On appeal
               Jewelers, Inc.                                                              County, TX
                                                                                                                                   Concluded
               Case No. D1GN18003821

       7.8.    Temeka Advertising dba                            Civil                     Superior Court of California            Pending
               Temeka Group                                      Complaint                 Riverside County                        On appeal
               Case No. RIC 1805882
                                                                                                                                   Concluded

       7.9.    Victor Herrada v. Samuels                         Unreimbursed              California Department of                Pending
               Jewelers, Inc                                     mileage                   Industrial                              On appeal
               Case No. WC-CM-541902                                                       Relations
                                                                                                                                   Concluded

       7.10 Warwick Construction, Inc. v.                        Breach of                 Superior Court of California            Pending
       .    Samuels Jewelers, Inc.                               contract,                                                         On appeal
               Case No. 18CV329659                               foreclosure of
                                                                                                                                   Concluded
                                                                 mechanic's lien,
                                                                 and quantum
                                                                 meruit


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None



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Debtor        Samuels Jewelers, Inc.                                                              Case number (if known) 18-11818



               Recipient's name and address            Description of the gifts or contributions                 Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).
      See Part 5, Question 10                                                                                                                  $214,091.30
      Attachment


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     See Part 6, Question 11
                Attachment
                                                                                                                                             $2,847,318.53

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

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          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     See Part 7, Question 14 Attachment

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Credit Applications
                 Does the debtor have a privacy policy about that information?
                    No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
              Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred
      18.1.     JPMorgan Chase Bank.                   XXXX-1628                      Checking                 7/9/2018                       $50,020.00
                221 W. 6th St.                                                        Savings
                Austin, TX 78701
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


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                Financial Institution name and         Last 4 digits of           Type of account or          Date account was                Last balance
                Address                                account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.2.     JPMorgan Chase Bank.                   XXXX-1636                     Checking                 6/29/2018                                $0.00
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.3.     JPMorgan Chase Bank.                   XXXX-1644                     Checking                 6/29/2018                                $0.00
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.4.     JPMorgan Chase Bank.                   XXXX-1651                     Checking                 7/23/2018                         $58,641.65
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.5.     JPMorgan Chase Bank.                   XXXX-1669                     Checking                 6/29/2018                                $0.00
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.6.     JPMorgan Chase Bank.                   XXXX-1673                     Checking                 7/3/2018                            $1,554.42
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.7.     JPMorgan Chase Bank.                   XXXX-1677                     Checking                 6/29/2018                                $0.00
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.8.     JPMorgan Chase Bank.                   XXXX-2454                     Checking                 6/29/2018                                $0.00
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.9.     JPMorgan Chase Bank.                   XXXX-9276                     Checking                 7/23/2018                         $62,019.20
                221 W. 6th St.                                                       Savings
                Austin, TX 78701
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

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         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Do you still
                                                             access to it                                                                      have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Do you still
                                                             access to it                                                                      have it?
      Iron Mountain, Inc.                                    See Question 26                                                                      No
      P.O. Box 915004                                                                                                                             Yes
      Dallas, TX 75391-5004

      Shred-IT                                               See Question 26                                                                      No
      9860 Windisch Road                                                                                                                          Yes
      West Chester, OH 45069



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                   Value
      See Part 11, Question 21 Attachment                                                          Consignment Vendors                          $3,457,270.33



Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

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      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Hank Novak, Controller                                                                                            3/2017 to
                    PO Box 743295                                                                                                     9/2017
                    Los Angeles CA 90074-3295
      26a.2.        Jason Pardue, Controller                                                                                          3/23/1998 to
                    7115 Tanaqua Ln                                                                                                   10/17/2015
                    Austin, TX 78739
      26a.3.        Luisana Lumbreras, Controller                                                                                     12/21/2015 to
                    13309 Lipton Loop                                                                                                 5/27/2017
                    Del Valle, TX 78617
      26a.4.        Marks Paneth LLP                                                                                                  4/4/2008 to
                    685 3rd Ave                                                                                                       6/15/2018
                    New York, NY 10017
      26a.5.        Nardella Taylor                                                                                                   9/1/2017 to
                    24 Hartwell Ave #1A                                                                                               3/31/2018
                    Lexington, MA 02421
      26a.6.        Rajesh Motowani, Interim CFO                                                                                      3/9/2018 to
                    2914 Montopolis Drive, Suite 200                                                                                  Present
                    Austin, TX 78741
      26a.7.        Robert Herman, CFO                                                                                                2/1/1998 to
                    7624 Espina Dr.                                                                                                   1/27/2017
                    Austin, TX 78739
      26a.8.        Sunil Varma, President/CFO                                                                                        10/30/2017 to
                    8585 Spicewood Springs Rd Apt. 820                                                                                3/2/2018
                    Austin, TX 78759

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

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      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.1.        Hank Novak, Controller                                                                                        3/2017 to 9/2017
                    PO Box 743295
                    Los Angeles CA 90074-3295
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.2.        Luisana Lumbreras, Controller                                                                                 12/21/2015 to
                    13309 Lipton Loop                                                                                             5/27/2017
                    Del Valle, TX 78617
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.3.        Jason Pardue, Controller                                                                                      3/23/1998 to
                    7115 Tanaqua Ln.                                                                                              10/17/2015
                    Austin, TX 78739
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.4.        Marks Paneth LLP                                                                                              4/4/2008 to
                    685 3rd Ave                                                                                                   6/15/2018
                    New York, NY 10017
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.5.        Nardella Taylor                                                                                               9/1/2017 to
                    24 Hartwell Ave #1A                                                                                           3/31/2018
                    Lexington, MA 02421
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.6.        Rajesh Motwani, Interim CFO                                                                                   3/9/2018 to
                    2914 Montopolis Drive, Suite 200                                                                              Present
                    Austin, TX 78741
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.7.        Robert Herman, CFO                                                                                            2/1/1998 to
                    7624 Espina Dr.                                                                                               1/27/2017
                    Austin, TX 78739
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.8.        Sunil Varma, President/CFO                                                                                    10/30/2017 to
                    8585 Spicewood Springs Rd Apt. 820                                                                            3/2/2018
                    Austin, TX 78759

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Hank Novak, Controller
                    PO Box 743295
                    Los Angeles CA 90074-3295
      26c.2.        Jason Pardue, Controller
                    7115 Tanaqua Ln.
                    Austin, TX 78739
      26c.3.        Luisana Lumbreras, Controller
                    13309 Lipton Loop
                    Del Valle, TX 78617


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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.4.        Marks Paneth LLP
                    685 3rd Ave
                    New York, NY 10017
      26c.5.        Nardella & Taylor
                    24 Hartwell Ave #1A
                    Lexington, MA 02421
      26c.6.        Rajesh Motowani, Interim CFO
                    2914 Montopolis Drive, Suite 200
                    Austin, TX 78741
      26c.7.        Robert Herman, CFO
                    7624 Espina Dr.
                    Austin, TX 78739
      26c.8.        Sunil Varma, President/CFO
                    8585 Spicewood Springs Rd Apt. 820
                    Austin, TX 78759

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        GB Credit Partners, as agent
                    800 Boylston Street, 27th Floor
                    Boston, MA 02199
      26d.2.        Wells Fargo, National Association,
                    as agent
                    One Boston Place, 18th Floor
                    Boston, MA 02108

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 RGIS
      .                                                                             October 2016

               Name and address of the person who has possession of
               inventory records
               Samuels Jewelers, Inc.
               2914 Montopolis Drive, Suite 200
               Austin, TX 78741


      27.2 RGIS
      .                                                                             March 2017

               Name and address of the person who has possession of
               inventory records
               Samuels Jewelers, Inc.
               2914 Montopolis Drive, Suite 200
               Austin, TX 78741


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             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.3 RGIS
      .                                                                            October 2017

             Name and address of the person who has possession of
             inventory records
             Samuels Jewelers, Inc.
             2914 Montopolis Drive, Suite 200
             Austin, TX 78741


      27.4 RGIS
      .                                                                            April 2018

             Name and address of the person who has possession of
             inventory records
             Samuels Jewelers, Inc.
             2914 Montopolis Drive, Suite 200
             Austin, TX 78741


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Bhavesh Shah                           2914 Montopolis Drive, Suite 200                    CMO
                                             Austin, TX 78741

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Farhad Wadia                           2914 Montopolis Drive, Suite 200                    Chief Executive Officer
                                             Austin, TX 78741

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Rajesh Motwani                         2914 Montopolis Drive, Suite 200                    Interim Chief Financial Officer
                                             Austin, TX 78741                                    & Director



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Mehul Choksi                           2914 Montopolis Drive, Suite 200                    Chairman                           12/2006 to
                                             Austin, TX 78741                                                                       2/28/2018

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Sunil Varma                            8585 Spicewood Springs Rd Apt. 820                  President/CFO                      10/31/2017 to
                                             Austin, TX 78759                                                                       3/2/2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?
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           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 See Part 2, Question 4
      .    Attachment
                                                       $18,503,099.42

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation
   Gitanjali Group                                                                                     EIN:


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        October 5, 2018

 /s/ Farhad K. Wadia                                            Farhad K. Wadia
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                                                       In re Samuels Jewelers, Inc.
                                                                                            Case No. 18-11818
                                           Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                           Reasons for payment or    Dates of
                           Creditor Name                          Address                                City              State       Zip       Country          transfer          Payments    Total Amount or value
0302 BATTLEFIEL                                   2502 RELIABLE PARKWAY                       CHICAGO                     IL     60686-0025              RENT                         5/11/2018           $14,902.42
0302 BATTLEFIEL                                   2502 RELIABLE PARKWAY                       CHICAGO                     IL     60686-0025              RENT                         6/20/2018             $4,762.51
0302 BATTLEFIEL                                   2502 RELIABLE PARKWAY                       CHICAGO                     IL     60686-0025              RENT                         6/20/2018           $18,554.49
1506 MARKLAND M                                   180 EAST BROAD STREET                       COLUMBUS                    OH     43215                   RENT                          6/1/2018           $10,329.87
1506 MARKLAND M                                   180 EAST BROAD STREET                       COLUMBUS                    OH     43215                   RENT                         6/21/2018           $10,833.20
2307 SIMON PROPERTY GROUP L.P.                    867731 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         5/11/2018           $19,191.48
2307 SIMON PROPERTY GROUP L.P.                    867731 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         6/20/2018               $959.42
2307 SIMON PROPERTY GROUP L.P.                    867731 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         6/20/2018           $19,191.48
2546 SIMON PROPERTY GRP.(TX) L.P.                 867925 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0079              RENT                         5/11/2018           $19,202.63
2546 SIMON PROPERTY GRP.(TX) L.P.                 867925 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0079              RENT                         6/20/2018               $879.40
2546 SIMON PROPERTY GRP.(TX) L.P.                 867925 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0079              RENT                         6/20/2018           $19,129.60
2546 SIMON PROPERTY GRP.(TX) L.P.                 867925 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0079              RENT                         7/24/2018           $19,129.60
2547 SIMON PROP                                   867930 RELIABLE PKWY.                       CHICAGO                     IL     60686-0079              RENT                         5/11/2018           $20,223.95
2547 SIMON PROP                                   867930 RELIABLE PKWY.                       CHICAGO                     IL     60686-0079              RENT                         6/20/2018             $1,252.97
2547 SIMON PROP                                   867930 RELIABLE PKWY.                       CHICAGO                     IL     60686-0079              RENT                         6/20/2018           $20,223.95
45TH & COULTER                                    612 S.W. 4TH                                AMARILLO                    TX     79101-1212              RENT                         5/11/2018             $5,450.06
45TH & COULTER                                    612 S.W. 4TH                                AMARILLO                    TX     79101-1212              RENT                         5/18/2018             $5,450.06
45TH & COULTER                                    612 S.W. 4TH                                AMARILLO                    TX     79101-1212              RENT                          6/8/2018             $5,450.06
5060 MONTCLAIR                                    PO BOX 31001-2197                           PASADENA                    CA     91107-2197              RENT                         5/18/2018           $13,076.63
5060 MONTCLAIR                                    PO BOX 31001-2197                           PASADENA                    CA     91107-2197              RENT                         6/21/2018           $13,076.63
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018                $45.00
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018                $60.00
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018                $78.01
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018             $1,444.99
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018             $1,605.00
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/11/2018             $1,767.00
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/21/2018             $5,000.00
A & B JEWELRY DESIGNS, INC.                       554 MIDDLE NECK ROAD                        GREAT NECK                  NY     11023                   TRADE                        5/25/2018             $1,741.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                  $5.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $14.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $17.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $20.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $24.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $24.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $24.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $27.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $31.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $31.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $35.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $36.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $38.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $39.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $39.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $42.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $45.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $45.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $45.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $57.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $60.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $62.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $69.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $70.00
AAA JEWELERS                                      218 MOLINETTO CT                            EL DORADO HILLS             CA     95762                   JEWELER                       5/9/2018                $71.00




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                                                                           In re Samuels Jewelers, Inc.
                                                                                Case No. 18-11818
                               Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                               Reasons for payment or    Dates of
               Creditor Name                         Address                                City              State       Zip        Country          transfer          Payments    Total Amount or value
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $73.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $73.75
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $75.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $75.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $75.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $78.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $81.25
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $89.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $90.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018                $92.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $102.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $102.25
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $104.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $109.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $114.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $114.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $117.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $125.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $130.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $132.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $133.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $137.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $139.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $151.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $160.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $160.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $167.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $174.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $179.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $180.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $181.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $182.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $184.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $189.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $189.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $190.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $203.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $209.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $213.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $217.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $218.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $226.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $240.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $246.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $264.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $266.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $270.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $279.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $288.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $310.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $315.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $322.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $333.00




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                                                                                Case No. 18-11818
                               Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                               Reasons for payment or    Dates of
               Creditor Name                         Address                                City              State       Zip        Country          transfer          Payments    Total Amount or value
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $340.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $342.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $373.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $423.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $429.75
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $525.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $548.25
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $549.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $550.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $552.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $559.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       5/9/2018               $589.25
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $12.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $42.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $49.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $59.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $65.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $67.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $80.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $92.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018                $98.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $105.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $194.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $197.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $272.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $276.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $304.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      5/25/2018               $460.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018                $10.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018                $37.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018                $60.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018                $64.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018                $95.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $104.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $130.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $148.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $150.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $160.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $171.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $174.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $188.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $202.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $202.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $211.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $239.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $262.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $272.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $326.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $331.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $367.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $492.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       6/6/2018               $546.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                  $8.00




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                                                                           In re Samuels Jewelers, Inc.
                                                                                Case No. 18-11818
                               Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                               Reasons for payment or    Dates of
               Creditor Name                         Address                                City              State       Zip        Country          transfer          Payments    Total Amount or value
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $10.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $30.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $33.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $37.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $39.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $52.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $59.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $65.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $70.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $75.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018                $89.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $104.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $108.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $114.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $118.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $121.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $126.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $132.50
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $142.75
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $148.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $156.75
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $160.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $161.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $177.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $183.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $188.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $193.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $193.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $198.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $212.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $221.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $229.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $230.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $233.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $256.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $280.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $287.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $354.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018               $464.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018             $4,595.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      6/22/2018             $5,750.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $23.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $24.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $28.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $31.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $37.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $40.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $51.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $63.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $82.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $90.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $93.00
AAA JEWELERS                          218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $99.00




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                                            Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                            Reasons for payment or    Dates of
                            Creditor Name                         Address                                City              State       Zip        Country          transfer          Payments    Total Amount or value
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018                $99.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $108.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $163.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $165.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $188.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $190.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $194.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $224.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                       7/5/2018               $229.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                  $8.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $39.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $43.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $66.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $68.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $92.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018                $98.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $148.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $149.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $170.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $174.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $259.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $276.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $279.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $324.00
AAA JEWELERS                                       218 MOLINETTO CT                            EL DORADO HILLS             CA    95762                    JEWELER                      7/17/2018               $376.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $252.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $788.26
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $820.80
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $838.43
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $888.26
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018               $926.98
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $1,340.73
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $1,373.33
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $2,362.48
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $2,968.81
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $3,198.72
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/11/2018             $9,241.20
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $1,218.83
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $1,836.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $2,090.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $3,825.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $4,601.72
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/21/2018             $6,428.45
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/25/2018             $1,490.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      5/25/2018             $2,660.36
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                       6/4/2018             $1,938.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                       6/4/2018             $8,062.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/12/2018               $720.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/12/2018             $3,825.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/12/2018           $10,455.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/19/2018                $70.16
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/19/2018               $238.88
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      6/19/2018               $490.37




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                                                                                                                                                           Reasons for payment or    Dates of
                            Creditor Name                         Address                                 City             State       Zip        Country         transfer          Payments    Total Amount or value
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/19/2018               $928.56
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/19/2018             $2,654.38
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/19/2018             $3,822.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/19/2018             $6,090.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/19/2018             $6,705.65
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/22/2018             $3,100.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018                $66.44
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018               $858.40
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $1,195.68
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $1,324.80
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $2,032.05
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $2,424.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $2,442.40
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $2,501.55
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $3,255.84
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $3,612.84
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $3,901.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $5,453.60
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     6/28/2018             $9,931.40
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018               $879.65
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $1,204.42
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $1,599.36
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $2,340.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $3,534.30
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $5,562.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      7/6/2018             $7,880.27
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018               $128.77
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018               $149.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018               $686.66
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $1,365.10
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $2,741.76
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $3,171.35
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $3,874.16
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $4,807.60
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/13/2018             $6,075.60
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $405.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $694.32
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $790.16
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $840.59
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $881.28
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018               $923.92
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018             $1,190.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018             $1,732.05
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018             $5,979.60
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018             $7,525.00
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018             $8,272.88
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/24/2018           $12,484.80
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/26/2018             $3,944.49
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/26/2018             $4,238.37
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                     7/26/2018             $4,475.25
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      8/1/2018               $654.03
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      8/1/2018               $742.50
ABSOLUTE BRILLIANCE, INC.                          581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                      8/1/2018             $1,479.58




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
ABSOLUTE BRILLIANCE, INC.                        581 FIFTH AVENUE                            NEW YORK                    NY    10017                    CONSIGN                       8/1/2018             $1,890.50
AC BRAZOS MALL PARTNERS, LLC.                    100 HWY 332W STE 1022                       LAKE JACKSON                TX    77566                    RENT                         5/11/2018           $11,419.49
AC BRAZOS MALL PARTNERS, LLC.                    100 HWY 332W STE 1022                       LAKE JACKSON                TX    77566                    RENT                          6/1/2018           $11,419.49
AC BRAZOS MALL PARTNERS, LLC.                    100 HWY 332W STE 1022                       LAKE JACKSON                TX    77566                    RENT                          8/1/2018           $11,419.49
AC BRAZOS MALL PARTNERS, LLC.                    100 HWY 332W STE 1022                       LAKE JACKSON                TX    77566                    RENT                          8/1/2018           $11,419.49
ACCESS POINT, INC.                               P.O. BOX 382828                             PITTSBURGH                  PA    15251-8828               UTILITY                      5/31/2018             $4,491.68
ACCESS POINT, INC.                               P.O. BOX 382828                             PITTSBURGH                  PA    15251-8828               UTILITY                       7/2/2018             $3,825.27
ACCESS POINT, INC.                               P.O. BOX 382828                             PITTSBURGH                  PA    15251-8828               UTILITY                      7/27/2018             $3,719.29
ACCOUNTEMPS                                      FILE 73484                                  SAN FRANSICSO               CA    94160-3484               HUMAN RESOURCES              5/22/2018             $1,127.94
ACCOUNTEMPS                                      FILE 73484                                  SAN FRANSICSO               CA    94160-3484               HUMAN RESOURCES              5/22/2018             $1,272.24
ACCOUNTEMPS                                      P.O. BOX 743295                             LOS ANGELES                 CA    90074-3295               HUMAN RESOURCES              5/22/2018               $270.85
ACCOUNTEMPS                                      P.O. BOX 743295                             LOS ANGELES                 CA    90074-3295               HUMAN RESOURCES              5/22/2018               $301.94
ACCOUNTEMPS                                      P.O. BOX 743295                             LOS ANGELES                 CA    90074-3295               HUMAN RESOURCES              5/22/2018             $1,888.15
ACCOUNTEMPS                                      P.O. BOX 743295                             LOS ANGELES                 CA    90074-3295               HUMAN RESOURCES              5/22/2018             $1,938.88
ADVANCED FIXTURES, INC (AFI)                     2655 E. AUDIE MURPHY PARKWAY                FARMERSVILLE                TX    75442                    CONST                        5/11/2018           $30,000.00
ADVANCED FIXTURES, INC (AFI)                     2655 E. AUDIE MURPHY PARKWAY                FARMERSVILLE                TX    75442                    CONST                        5/31/2018             $6,047.00
ADVANCED FIXTURES, INC (AFI)                     2655 E. AUDIE MURPHY PARKWAY                FARMERSVILLE                TX    75442                    CONST                        5/31/2018           $23,953.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018                $47.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018                $56.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $155.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $171.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $192.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $198.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $199.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $223.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $266.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $286.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $320.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $387.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $433.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $441.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $534.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018               $684.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018             $1,500.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       5/9/2018             $1,650.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018                $60.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $124.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $137.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $148.25
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $163.50
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $182.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $184.50
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $194.75
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $202.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $214.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $225.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $246.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $270.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $360.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018               $643.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018             $1,650.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018             $1,950.00
AJAMI, FADI                                      1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      5/25/2018             $2,700.00




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                                                                                   In re Samuels Jewelers, Inc.
                                                                                        Case No. 18-11818
                                       Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                       Reasons for payment or    Dates of
                       Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $133.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $150.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $273.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $281.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $290.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $345.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $398.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $409.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $441.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       6/6/2018               $476.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $152.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $182.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $183.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $212.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $217.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $220.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $245.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $246.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $254.50
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $269.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $280.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $301.50
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $307.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $313.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $334.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $350.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $357.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $365.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $394.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $403.50
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $434.50
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018               $600.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018             $1,300.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      6/22/2018             $1,495.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       7/5/2018               $356.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       7/5/2018               $359.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                       7/5/2018               $376.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018                $63.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018                $96.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $167.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $172.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $210.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $251.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $256.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $302.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $326.50
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $366.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $367.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $404.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $406.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $432.00
AJAMI, FADI                                   1038 CLARADAY ST.                           GLENDORA                    CA    91740                    JEWELER                      7/17/2018               $465.00
ALHAMBRA MORTGAGE COMPANY, INC.               2737 82ND STREET                            LUBBOCK                     TX    79423                    RENT                         5/11/2018             $6,746.09




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                                                                                  In re Samuels Jewelers, Inc.
                                                                                       Case No. 18-11818
                                      Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                      Reasons for payment or    Dates of
                      Creditor Name                          Address                                  City           State       Zip        Country          transfer          Payments    Total Amount or value
ALHAMBRA MORTGAGE COMPANY, INC.              2737 82ND STREET                            LUBBOCK                     TX    79423                    RENT                          6/1/2018             $6,746.09
ALHAMBRA MORTGAGE COMPANY, INC.              2737 82ND STREET                            LUBBOCK                     TX    79423                    RENT                         6/21/2018             $6,746.09
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                  $9.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $12.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $20.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $24.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $27.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $28.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $28.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $31.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $31.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $32.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $33.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $36.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $37.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $43.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $44.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $52.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $52.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $52.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $53.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $55.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $58.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $61.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $61.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $61.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $61.75
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $65.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $65.75
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $69.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $69.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $69.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $71.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $72.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $73.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $73.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $73.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $75.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $75.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $78.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $79.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $80.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $81.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $82.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $85.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $85.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $88.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $88.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $89.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $90.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $93.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $95.00
ALLEN, PHILLIP                               ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018                $97.00




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                                                                             In re Samuels Jewelers, Inc.
                                                                                  Case No. 18-11818
                                 Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                 Reasons for payment or    Dates of
                 Creditor Name                          Address                                  City           State    Zip           Country          transfer          Payments    Total Amount or value
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $100.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $106.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $120.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $121.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $125.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $139.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $139.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $141.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $144.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $162.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $172.25
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $178.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $183.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $200.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $218.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $224.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $270.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       5/9/2018               $273.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $13.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $23.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $42.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $55.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $56.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $64.25
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $68.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $74.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018                $98.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $100.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $100.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $114.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $119.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $153.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $167.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $209.25
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      5/25/2018               $298.25
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $23.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $52.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $69.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $77.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $78.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018                $93.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018               $112.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018               $122.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018               $146.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       6/6/2018               $402.50
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $15.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $47.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $62.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $64.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $71.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $82.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $84.00
ALLEN, PHILLIP                          ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018                $97.00




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                                                                                     In re Samuels Jewelers, Inc.
                                                                                          Case No. 18-11818
                                         Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018               $101.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018               $101.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      6/22/2018               $110.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018                $42.75
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018                $74.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018                $94.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018                $96.50
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $110.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $112.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $131.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $133.25
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $139.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                       7/5/2018               $374.25
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $21.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $39.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $44.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $47.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $53.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $59.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $65.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $68.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $77.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $79.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $79.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $84.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $89.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $94.25
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018                $99.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018               $114.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018               $126.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018               $142.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018               $157.00
ALLEN, PHILLIP                                  ALLEN'S JEWELRY SERVICES                    ST. ALBANS                  WV 25177                       JEWELER                      7/17/2018               $169.00
ALTAMONTE MALL, LLC                             P.O. BOX 860251                             MINNEAPOLIS                 MN 55486-0251                  RENT                         5/11/2018           $13,943.98
ALTAMONTE MALL, LLC                             P.O. BOX 860251                             MINNEAPOLIS                 MN 55486-0251                  RENT                         5/18/2018           $13,943.98
ALTAMONTE MALL, LLC                             P.O. BOX 860251                             MINNEAPOLIS                 MN 55486-0251                  RENT                         6/21/2018           $13,943.98
ALTAMONTE MALL, LLC                             P.O. BOX 860251                             MINNEAPOLIS                 MN 55486-0251                  RENT                          7/6/2018           $13,249.93
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                      5/22/2018               $432.47
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                      5/22/2018             $1,372.18
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                       7/2/2018             $1,097.51
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                       7/2/2018             $1,854.09
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                      7/23/2018               $628.90
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                      7/23/2018               $922.06
AMERICAN ELECTRIC POWER #24002                  P.O. BOX 24002                              CANTON                      OH    44701-4002               UTILITY                      7/27/2018               $124.55
AMERICAN EXPRESS                                P.O. BOX 650448                             DALLAS                      TX    75265-0448               OTHER                        5/30/2018             $3,143.71
AMERICAN EXPRESS                                P.O. BOX 650448                             DALLAS                      TX    75265-0448               OTHER                        5/30/2018          $371,373.01
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/11/2018               $406.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/11/2018               $750.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/11/2018             $1,144.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/11/2018             $2,700.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/21/2018               $393.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/21/2018             $2,132.00
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/21/2018             $2,475.00




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                                                                                          Case No. 18-11818
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                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                          Address                               City              State       Zip        Country          transfer          Payments    Total Amount or value
ANGELES DIAMOND INTERNATIONAL                   630 WEST 6TH STREET                         LOS ANGELES                 CA    90017                    TRADE                        5/25/2018             $2,075.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $11.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $17.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $24.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $28.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $42.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $44.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $52.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $69.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $71.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $87.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $87.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $89.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $90.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $97.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018                $98.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $109.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $113.50
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $115.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $116.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $117.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $124.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $125.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $129.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $136.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $143.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $150.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $154.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $155.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $155.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $155.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $155.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $163.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $164.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $168.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $190.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $191.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $201.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $205.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $217.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $218.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $222.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $254.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       5/9/2018               $325.25
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $17.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $20.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $30.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $49.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $56.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $78.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018                $87.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $107.00
ARCE JEWELERS                                   9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $151.75




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                                                                                 Case No. 18-11818
                                Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                Reasons for payment or    Dates of
                Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $156.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $160.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $172.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $186.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $198.50
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      5/25/2018               $239.75
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $27.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $34.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $40.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $42.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $68.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $75.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $84.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018                $86.25
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $139.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $152.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $153.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $177.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $344.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       6/6/2018               $346.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018                $27.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018                $47.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018                $55.25
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018                $86.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $111.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $126.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $127.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $131.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $132.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $149.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $171.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $189.50
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $199.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $239.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $252.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      6/22/2018               $278.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $31.75
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $32.25
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $37.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $50.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $56.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $86.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018                $92.25
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $107.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $136.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $155.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $167.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $174.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $181.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $199.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $201.00
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $218.25
ARCE JEWELERS                          9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $227.00




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                                                                                                            Case No. 18-11818
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                                                                                                                                                                           Reasons for payment or    Dates of
                           Creditor Name                                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $235.75
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $342.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $356.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $423.25
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                       7/5/2018               $466.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018                $39.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018                $78.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018                $83.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018                $85.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $102.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $103.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $126.25
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $148.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $161.00
ARCE JEWELERS                                                     9018 WEST SALTER DRIVE                      PEORIA                      AZ    85382                    JEWELER                      7/17/2018               $189.50
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018                $90.31
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018               $402.50
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018               $402.50
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018               $747.50
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018             $2,074.64
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/1/2018             $2,282.55
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                         6/8/2018             $6,000.00
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        6/15/2018                $34.60
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        6/15/2018               $747.50
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        6/15/2018             $1,337.59
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        6/15/2018             $3,905.04
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        7/10/2018               $108.01
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        7/10/2018               $124.64
ARCVISION INC                                                     1950 CRAIG ROAD, SUITE 300                  ST. LOUIS                   MO 63146                       CONST                        7/10/2018               $323.74
ARDEN FAIR ASSOCIATES, THE MACERICH                               1689 ARDEN WAY                              SACRAMENTO                  CA    95815                    RENT                         5/18/2018           $25,630.11
ARDEN FAIR ASSOCIATES, THE MACERICH                               1689 ARDEN WAY                              SACRAMENTO                  CA    95815                    RENT                          6/8/2018           $25,630.11
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          5/15/2018             $8,800.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          5/21/2018             $7,267.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          5/25/2018             $8,800.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          6/13/2018             $9,500.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          6/20/2018             $7,861.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          6/26/2018             $9,500.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          7/18/2018             $9,100.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          7/20/2018           $12,566.00
ARKANSAS, STATE OF                                                DEPT OF FINANCE & ADMINISTRATION            LITTLE ROCK                 AR    72203                    TAX                          7/25/2018             $9,100.00
ARNOLD & PORTER                                                   PO BOX 759451                               BALTIMORE                   MD 21275-9451                  LEGAL                         5/9/2018             $8,881.00
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/18/2018             $7,718.98
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/18/2018           $14,075.93
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/18/2018           $22,637.40
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/25/2018               $195.80
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/25/2018             $1,362.92
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/25/2018             $1,413.97
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                         5/25/2018           $13,487.17
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                          6/1/2018                $45.00
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                          6/1/2018                $88.77
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                          6/1/2018             $4,879.62
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                          6/1/2018           $16,617.00
AUSTIN COPY CRAFT PRINTERS LTD.(DBA CAPITAL PRINTING CO)          P.O. BOX 17548                              AUSTIN                      TX    78760                    ADVT                          6/1/2018           $16,617.00




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                                                                                          Case No. 18-11818
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                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                         Address                               City               State       Zip        Country          transfer          Payments    Total Amount or value
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     6/15/2018               $180.00
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     6/15/2018               $783.75
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     6/15/2018               $783.75
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     6/15/2018             $1,252.59
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     7/13/2018             $2,521.42
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     7/27/2018               $903.69
BCI TECHNOLOGIES, INC.                          1202 NORTH GREAT SOUTHWEST PKWY.            GRAND PRAIRIE               TX    75050                    SECURITY                     7/27/2018             $3,774.01
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $10.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $12.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $16.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $29.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $32.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $46.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $58.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $62.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $81.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $90.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $93.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $96.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $96.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018                $96.25
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $104.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $110.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $117.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $117.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $118.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $119.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $121.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $124.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $125.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $155.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $160.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $161.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $165.25
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $171.50
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $172.25
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $200.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $229.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $236.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $304.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $381.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $402.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $421.50
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $468.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $650.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       5/9/2018               $979.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018                $24.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018                $70.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018                $74.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018                $75.75
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018                $78.25
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $108.00
BERKMAN, SHANE                                  2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $124.00




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                                                                                                                                                 Reasons for payment or    Dates of
                 Creditor Name                         Address                                 City             State    Zip           Country          transfer          Payments    Total Amount or value
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $133.25
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $175.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $200.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $213.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $217.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $273.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $295.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $389.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $484.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018               $488.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      5/25/2018             $1,128.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018                $51.25
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $108.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $111.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $137.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $159.50
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $180.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $210.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $475.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       6/6/2018               $922.20
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $29.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $33.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $38.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $50.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $64.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $72.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018                $84.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018               $127.75
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018               $167.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                       7/5/2018               $214.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018                $35.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018                $47.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018                $71.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $103.50
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $133.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $137.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $138.75
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $150.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $169.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $190.50
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $208.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $211.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $212.75
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $250.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $251.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $342.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $397.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/11/2018               $601.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $50.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $60.50
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $71.00
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $75.75
BERKMAN, SHANE                          2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $83.00




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                                      Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                      Reasons for payment or    Dates of
                      Creditor Name                          Address                                City              State       Zip       Country          transfer          Payments    Total Amount or value
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $86.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018                $95.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $105.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $135.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $143.25
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $166.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $170.25
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $192.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $253.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $271.25
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $273.00
BERKMAN, SHANE                               2429 GREENBRIAR RD                          BILLINGS                    MT 59105                       JEWELER                      7/17/2018               $311.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                       5/9/2018                $16.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                       5/9/2018               $118.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                       5/9/2018               $677.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018               $160.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018               $814.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018             $1,006.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018             $1,061.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018             $1,074.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      5/25/2018             $1,601.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                       6/6/2018                $35.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $347.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $348.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $425.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $609.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $630.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $696.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $708.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $719.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $816.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $856.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018               $935.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018             $1,034.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018             $1,176.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018             $1,656.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018             $1,662.00
BEZALEEL MFG., INC.                          1246 E 100 S                                LOGAN                       UT     84321                   JEWELER                      6/21/2018             $2,079.00
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                      5/11/2018             $3,494.80
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                      5/31/2018                  $8.14
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                      6/18/2018             $3,506.46
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                       7/2/2018                  $8.14
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                      7/23/2018                $16.28
BIRCH TELECOM                                P.O. BOX 105066                             ATLANTA                     GA     30348-5066              UTILITY                      7/23/2018             $3,520.42
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $27.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $53.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $58.50
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $65.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $65.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $73.50
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $76.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $77.00
BRADD SCHMUCK                                1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $87.00




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                                                                                 Case No. 18-11818
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                                                                                                                                                Reasons for payment or    Dates of
                Creditor Name                          Address                             City                 State       Zip       Country          transfer          Payments    Total Amount or value
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $89.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $94.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $95.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $98.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018                $99.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $111.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $112.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $115.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $122.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $124.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $131.50
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $166.50
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $167.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $169.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $170.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $173.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $175.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $175.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $202.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $206.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $232.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $272.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       5/9/2018               $278.50
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      5/25/2018                $50.50
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      5/25/2018               $111.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      5/25/2018               $141.75
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018                $34.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018                $44.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018                $94.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $139.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $143.75
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $156.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $198.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $208.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $222.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $240.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       6/6/2018               $242.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018                $56.25
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018                $85.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018               $100.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018               $108.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018               $242.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      6/22/2018               $456.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018                $54.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018                $69.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018                $89.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $130.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $146.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $154.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $165.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $192.75
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $205.00
BRADD SCHMUCK                          1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $210.00




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                                                                                   Case No. 18-11818
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                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                          Address                               City               State       Zip       Country          transfer          Payments    Total Amount or value
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $235.25
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $245.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $254.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                       7/5/2018               $285.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $102.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $117.25
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $124.75
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $133.50
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $137.25
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $159.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $168.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $169.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $173.00
BRADD SCHMUCK                            1251 US 31N STE 66                          GREENWOOD                   IN     46142                   JEWELER                      7/17/2018               $212.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                  $2.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                  $9.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $16.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $18.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $24.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $27.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $28.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $31.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $31.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $34.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $34.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $36.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $47.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $51.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $60.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $62.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $65.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $82.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $85.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $87.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $88.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018                $95.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $103.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $115.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $116.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $130.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $131.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $140.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $140.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $148.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $154.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $159.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $159.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $170.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $180.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $211.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $247.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $255.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                       5/9/2018               $382.50




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                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                           Address                              City              State       Zip        Country          transfer          Payments    Total Amount or value
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       5/9/2018               $629.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                  $7.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $11.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $14.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $20.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $21.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $31.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $32.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $44.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $47.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $64.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $70.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $83.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $90.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $90.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018                $95.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $125.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $140.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $141.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $161.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $172.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $227.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      5/25/2018               $472.50
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $19.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $22.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $26.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $29.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $29.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $31.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $34.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $37.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $37.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $40.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $42.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $53.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $54.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $65.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $70.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $87.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018                $88.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $126.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $143.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $145.50
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $148.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $149.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $152.50
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $205.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $213.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $242.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $302.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $316.50
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $370.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       6/6/2018               $371.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                           Address                              City              State       Zip        Country          transfer          Payments    Total Amount or value
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                  $6.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                  $6.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                  $9.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $10.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $25.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $31.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $39.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $48.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $53.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $63.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $63.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $69.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018                $85.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $106.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $117.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $131.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $133.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $151.50
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $154.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $191.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $198.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $279.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                       7/5/2018               $304.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $15.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $27.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $28.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $40.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $42.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $43.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $45.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $49.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $52.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $63.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $63.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $63.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $78.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $81.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $83.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $84.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $97.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $99.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018                $99.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $103.75
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $107.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $137.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $166.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $166.25
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $175.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $177.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $195.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/17/2018               $235.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/23/2018                $10.00
BRIAN'S MFG. CO                          PO BOX 3452                                 FORT SMITH                  AR    72913                    JEWELER                      7/23/2018                $36.00




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                                                                                        Case No. 18-11818
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                                                                                                                                                       Reasons for payment or    Dates of
                       Creditor Name                           Address                              City               State       Zip       Country          transfer          Payments    Total Amount or value
BRIAN'S MFG. CO                               PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                      7/23/2018                $43.00
BRIAN'S MFG. CO                               PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                      7/23/2018                $58.00
BRIAN'S MFG. CO                               PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                      7/23/2018               $134.00
BRIAN'S MFG. CO                               PO BOX 3452                                 FORT SMITH                  AR     72913                   JEWELER                      7/23/2018               $136.49
BRIXTON PROVO MALL, LLC                       P.O. BOX 740868                             LOS ANGELES                 CA     90074                   RENT                         5/11/2018           $12,258.13
BRIXTON PROVO MALL, LLC                       P.O. BOX 740868                             LOS ANGELES                 CA     90074                   RENT                          6/1/2018           $12,258.13
BRIXTON PROVO MALL, LLC                       P.O. BOX 740868                             LOS ANGELES                 CA     90074                   RENT                         6/21/2018           $12,258.13
BRIXTON SHERWOOD, LLC                         120 SOUTH SIERRA AVENUE                     SOLANA BEACH                CA     92075                   RENT                         5/25/2018             $7,709.56
BRIXTON SHERWOOD, LLC                         120 SOUTH SIERRA AVENUE                     SOLANA BEACH                CA     92075                   RENT                         6/20/2018             $8,942.26
BRODIE VENTURES                               1104 SAN ANTONIO ST                         AUSTIN                      TX     78701-2109              RENT                          6/1/2018           $13,309.60
BRODIE VENTURES                               1104 SAN ANTONIO ST                         AUSTIN                      TX     78701-2109              RENT                         6/21/2018           $13,309.60
BROWN, LILLIA G.                              3626 LORIMER LANE                           ENCINITAS                   CA     92024                   RENT                         5/11/2018           $14,334.68
BROWN, LILLIA G.                              3626 LORIMER LANE                           ENCINITAS                   CA     92024                   RENT                          6/8/2018           $14,334.68
BROWN,JORDAN(JORDAN BROWN CREATIVE)           3058 FOUNDERS PLACE                         ABILENE                     TX     79601                   ADVT                          5/9/2018             $4,170.65
BROWN,JORDAN(JORDAN BROWN CREATIVE)           3058 FOUNDERS PLACE                         ABILENE                     TX     79601                   ADVT                         6/22/2018             $4,170.65
BROWN,JORDAN(JORDAN BROWN CREATIVE)           3058 FOUNDERS PLACE                         ABILENE                     TX     79601                   ADVT                         6/29/2018             $4,170.65
CA STATE BOARD OF EQUALIZATION                P.O. BOX 942879                             SACRAMENTO                  CA     94279-6001              TAX                          5/24/2018          $108,728.00
CA STATE BOARD OF EQUALIZATION                P.O. BOX 942879                             SACRAMENTO                  CA     94279-6001              TAX                          6/22/2018          $151,011.00
CA STATE BOARD OF EQUALIZATION                P.O. BOX 942879                             SACRAMENTO                  CA     94279-6001              TAX                          7/18/2018               $800.00
CACHE VALLEY                                  150 GREAT NECK ROAD #304                    GREAT NECK                  NY     11021                   RENT                         5/11/2018             $4,999.61
CACHE VALLEY                                  150 GREAT NECK ROAD #304                    GREAT NECK                  NY     11021                   RENT                          6/1/2018             $4,999.61
CACHE VALLEY                                  150 GREAT NECK ROAD #304                    GREAT NECK                  NY     11021                   RENT                         6/21/2018             $4,999.61
CALCASIUE PARISH                              P.O. BOX 2050                               LAKE CHARLES                LA     70602                   TAX                          5/24/2018             $4,043.65
CALCASIUE PARISH                              P.O. BOX 2050                               LAKE CHARLES                LA     70602                   TAX                          6/20/2018             $3,037.53
CALCASIUE PARISH                              P.O. BOX 2050                               LAKE CHARLES                LA     70602                   TAX                          7/24/2018             $4,082.49
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $202.49
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $225.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $225.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $227.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $229.89
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $242.25
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $252.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $258.78
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $268.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $278.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $305.95
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $323.22
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $351.50
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $407.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $442.25
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $551.20
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $615.35
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018               $623.66
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018             $1,056.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018             $1,179.46
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                        5/30/2018             $1,736.00
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $138.94
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $158.63
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $203.15
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $213.20
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $237.67
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $242.05
CARE FACILITY MAINTENANCE, LLC                PO BOX 650085                               VERO BEACH                  FL     32965                   CONST                         6/8/2018               $244.16




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                                                                                            Case No. 18-11818
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                                                                                                                                                          Reasons for payment or    Dates of
                           Creditor Name                           Address                             City               State       Zip        Country         transfer          Payments    Total Amount or value
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $280.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $298.45
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $298.59
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $323.58
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $328.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $374.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $385.94
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $422.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $464.40
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $468.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $474.84
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $540.37
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $569.95
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $594.75
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $612.16
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $672.18
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $795.23
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018               $841.42
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018             $1,045.24
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        6/8/2018             $1,323.46
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/15/2018               $892.70
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/15/2018             $1,392.25
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/15/2018             $1,815.35
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/15/2018             $2,025.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/15/2018             $6,389.89
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $217.41
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $317.19
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $342.11
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $388.05
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $500.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $564.20
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $583.02
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $585.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $585.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $654.72
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $761.15
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $864.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018               $962.74
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018             $1,017.60
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018             $1,055.62
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018             $1,525.43
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/22/2018             $1,625.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $108.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $115.09
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $115.09
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $142.95
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $150.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $153.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $178.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $183.30
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $185.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $193.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $200.00




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                                                                                       In re Samuels Jewelers, Inc.
                                                                                            Case No. 18-11818
                                           Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                          Reasons for payment or    Dates of
                           Creditor Name                           Address                             City               State       Zip        Country         transfer          Payments    Total Amount or value
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $200.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $203.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $205.58
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $208.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $213.31
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $215.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $228.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $228.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $235.85
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $240.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $248.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $248.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $249.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $257.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $261.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $270.78
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $278.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $278.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $278.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $280.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $284.67
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $288.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $327.99
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $328.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $340.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $346.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $351.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $373.98
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $409.83
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $435.45
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $449.80
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $487.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $500.76
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $514.80
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       6/29/2018               $577.75
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $150.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $150.66
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $207.90
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $208.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $208.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $208.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $216.56
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $218.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $230.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $238.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $245.79
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $253.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $258.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $268.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $270.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $272.71
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $273.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $277.00




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                                                                                                                                                          Reasons for payment or    Dates of
                           Creditor Name                           Address                             City               State       Zip        Country         transfer          Payments    Total Amount or value
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $278.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $279.34
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $280.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $282.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $287.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $288.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $315.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $315.21
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $321.56
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $324.92
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $328.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $332.39
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $341.22
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $365.30
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $386.75
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $390.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $390.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $394.88
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $409.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $464.40
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $520.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $546.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                        7/6/2018               $550.07
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $153.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $207.90
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $208.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $224.14
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $226.84
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $228.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $245.85
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $248.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $258.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $268.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $285.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $300.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $328.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $339.63
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $346.29
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $353.28
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $372.94
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $373.75
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $390.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $409.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $445.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $449.80
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $487.50
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $542.10
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $546.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $607.43
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $714.46
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018               $853.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018             $1,000.00
CARE FACILITY MAINTENANCE, LLC                    PO BOX 650085                               VERO BEACH                  FL    32965                    CONST                       7/13/2018             $1,031.08




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                           Address                              City               State       Zip       Country          transfer          Payments    Total Amount or value
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5938              OTHER                         6/7/2018             $1,392.04
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5939              OTHER                         6/7/2018             $2,480.43
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5940              OTHER                         6/7/2018             $2,940.03
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5941              OTHER                         6/7/2018             $3,187.50
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5942              OTHER                        6/13/2018             $4,598.52
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5943              OTHER                        6/13/2018             $5,401.48
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5944              OTHER                        6/22/2018             $2,195.00
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5945              OTHER                        6/22/2018             $3,844.54
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5946              OTHER                        6/22/2018             $3,960.46
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5947              OTHER                        6/29/2018               $257.50
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5948              OTHER                        6/29/2018             $2,948.98
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5949              OTHER                        6/29/2018             $3,067.41
CAREERBUILDER,LLC                                AURICO REPORTS                              ARLINGTON HEIGHTS           IL     60004-5950              OTHER                         7/6/2018             $6,793.52
CBL & ASSOCIATE                                  PO BOX 5567                                 CAROL STREAM                IL     60197-5567              RENT                          6/1/2018             $9,338.62
CBL & ASSOCIATE                                  PO BOX 5567                                 CAROL STREAM                IL     60197-5567              RENT                         6/21/2018             $9,338.62
CBL & ASSOCIATES LIMITES PARTNERSHI              P.O. BOX 5553                               CAROL STREAM                IL     60197-5553              RENT                         5/25/2018           $11,506.07
CBL & ASSOCIATES LIMITES PARTNERSHI              P.O. BOX 5553                               CAROL STREAM                IL     60197-5553              RENT                         6/20/2018           $11,835.35
CBL SM-BROWNSVILLE, LLC                          2030 HAMILTON PLACE BLVD                    CHATTANOOGA                 TN     37421-6000              RENT                          6/1/2018           $12,966.22
CBL SM-BROWNSVILLE, LLC                          2030 HAMILTON PLACE BLVD                    CHATTANOOGA                 TN     37421-6000              RENT                         6/21/2018           $12,966.22
CBL SM-BROWNSVILLE, LLC                          2030 HAMILTON PLACE BLVD                    CHATTANOOGA                 TN     37421-6000              RENT                         7/13/2018           $13,183.48
CENTRAL MALL                                     P.O. BOX 934714                             ATLANTA                     GA     31193-4714              RENT                         5/18/2018             $8,924.14
CENTRAL MALL                                     P.O. BOX 934714                             ATLANTA                     GA     31193-4714              RENT                         6/21/2018             $9,864.92
CENTRO WEST PAR                                  P O BOX 953406                              ST. LOUIS                   MO 63195-3406                  RENT                         5/11/2018           $11,450.43
CENTRO WEST PAR                                  P O BOX 953406                              ST. LOUIS                   MO 63195-3406                  RENT                         5/11/2018           $11,622.73
CENTRO WEST PAR                                  P O BOX 953406                              ST. LOUIS                   MO 63195-3406                  RENT                         6/21/2018           $11,622.73
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/15/2018               $718.63
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/22/2018                $26.95
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/22/2018               $206.63
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/22/2018               $297.23
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/22/2018               $311.22
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      5/22/2018               $399.03
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      6/18/2018             $1,490.17
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                       7/2/2018                $37.16
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                       7/2/2018               $384.73
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                       7/2/2018               $565.13
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                       7/2/2018               $587.79
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                       7/2/2018               $756.60
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      7/23/2018                $18.68
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      7/23/2018               $511.01
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      7/23/2018               $542.80
CENTURYLINK                                      PO BOX 91154                                SEATTLE                     WA 98111-9254                  UTILITY                      7/23/2018               $706.22
CIGNA HEALTH AND LIFE INSURANCE CO               5476 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   INSURANCE                    5/30/2018          $298,343.64
CIGNA HEALTH AND LIFE INSURANCE CO               5476 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   INSURANCE                    7/20/2018          $294,095.04
CIGNA HEALTH AND LIFE INSURANCE CO               5476 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   INSURANCE                    7/20/2018          $308,417.46
CITY AND COUNTY OF BROOMFIELD                    P.O. BOX 407                                BROOMFIELD                  CO     80038-0407              TAX                          5/24/2018             $2,191.05
CITY AND COUNTY OF BROOMFIELD                    P.O. BOX 407                                BROOMFIELD                  CO     80038-0407              TAX                          6/22/2018             $3,365.36
CITY AND COUNTY OF BROOMFIELD                    P.O. BOX 407                                BROOMFIELD                  CO     80038-0407              TAX                          7/23/2018             $3,252.70
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                      5/22/2018               $634.67
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                      5/31/2018               $101.50
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                      5/31/2018               $331.22
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                      5/31/2018             $4,184.73
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                       7/2/2018                $76.71
CITY OF AUSTIN UTILITIES                         P.O. BOX 2267                               AUSTIN                      TX     78783-2267              UTILITY                       7/2/2018               $398.04




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                                                                                       In re Samuels Jewelers, Inc.
                                                                                            Case No. 18-11818
                                           Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                           Reasons for payment or    Dates of
                         Creditor Name                             Address                               City             State       Zip        Country          transfer          Payments    Total Amount or value
CITY OF AUSTIN UTILITIES                          P.O. BOX 2267                               AUSTIN                      TX    78783-2267               UTILITY                       7/2/2018               $797.42
CITY OF AUSTIN UTILITIES                          P.O. BOX 2267                               AUSTIN                      TX    78783-2267               UTILITY                       7/2/2018             $5,433.93
CITY OF AUSTIN UTILITIES                          P.O. BOX 2267                               AUSTIN                      TX    78783-2267               UTILITY                      7/23/2018               $802.81
CITY OF AUSTIN UTILITIES                          P.O. BOX 2267                               AUSTIN                      TX    78783-2267               UTILITY                      7/27/2018               $430.08
CITY OF AUSTIN UTILITIES                          P.O. BOX 2267                               AUSTIN                      TX    78783-2267               UTILITY                      7/27/2018             $5,133.30
CITY OF LONGMONT                                  350 KIMBARK STREET                          LONGMONT                    CO    80501-9953               TAX                          5/22/2018             $1,732.11
CITY OF LONGMONT                                  350 KIMBARK STREET                          LONGMONT                    CO    80501-9953               TAX                           6/1/2018             $3,521.11
CITY OF LONGMONT                                  350 KIMBARK STREET                          LONGMONT                    CO    80501-9953               TAX                          6/21/2018             $3,212.54
CITY OF LONGMONT                                  350 KIMBARK STREET                          LONGMONT                    CO    80501-9953               TAX                          7/20/2018             $2,164.26
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $281.40
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $324.69
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $341.52
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $453.07
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $512.28
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/11/2018               $512.28
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $187.60
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $324.69
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $382.23
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $432.92
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $552.38
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $571.07
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $683.04
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018               $824.56
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      6/29/2018             $6,041.51
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                       7/6/2018           $10,000.00
COMCAST ENTERPRISE SERVICES (CONTINGENT)          PO BOX 780034                               PHILADELPHIA                PA    19178                    UTILITY                      7/17/2018           $10,000.00
COMM 2006-C8 SHAW AVENUE CLOVIS, LLC              2100 WEST 7TH STREET                        FORT WORTH                  TX    76107                    RENT                         5/11/2018             $4,174.15
COMM 2006-C8 SHAW AVENUE CLOVIS, LLC              2100 WEST 7TH STREET                        FORT WORTH                  TX    76107                    RENT                         5/18/2018             $4,174.15
COMM 2006-C8 SHAW AVENUE CLOVIS, LLC              2100 WEST 7TH STREET                        FORT WORTH                  TX    76107                    RENT                         6/20/2018           $20,781.61
COMM 2006-C8 SHAW AVENUE CLOVIS, LLC              2100 WEST 7TH STREET                        FORT WORTH                  TX    76107                    RENT                         7/13/2018           $20,781.61
COVENTRY III/SATTERFIELD HELM VALLE               3601 SOUTH 2700 WEST                        WEST VALLEY CITY            UT    84119                    RENT                          6/1/2018           $10,100.00
CUSTOMER IQ ANA                                   1200 MAIN ST.                               DALLAS                      TX    75202                    OTHER                        5/18/2018             $3,543.73
CUSTOMER IQ ANA                                   1201 MAIN ST.                               DALLAS                      TX    75203                    OTHER                        5/18/2018           $10,080.00
CUSTOMER IQ ANA                                   1202 MAIN ST.                               DALLAS                      TX    75204                    OTHER                         6/1/2018             $2,448.75
CUSTOMER IQ ANA                                   1203 MAIN ST.                               DALLAS                      TX    75205                    OTHER                         6/1/2018           $11,600.00
CUSTOMER IQ ANA                                   1204 MAIN ST.                               DALLAS                      TX    75206                    OTHER                        6/29/2018             $4,500.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018                $83.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $101.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $106.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $178.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $195.50
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $280.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       5/9/2018               $374.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018                $81.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $106.50
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $109.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $128.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $143.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $149.25
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $160.25
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $173.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $203.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      5/25/2018               $242.00




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                                                                                                                                                           Reasons for payment or    Dates of
                           Creditor Name                         Address                               City               State       Zip        Country          transfer          Payments    Total Amount or value
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       6/6/2018                $51.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       6/6/2018               $158.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       6/6/2018               $180.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       6/6/2018               $190.50
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018                $22.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018                $82.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $175.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $176.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $176.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $177.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $180.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $286.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $305.25
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $313.50
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      6/22/2018               $368.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018                $30.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018                $32.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018                $54.25
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $148.50
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $149.25
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $200.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $210.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $280.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $293.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $376.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                       7/5/2018               $383.75
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      7/17/2018               $240.00
DAVID SHOLL (SHOLLS JEWELERS INC.)                C/O SAMUELS DIAMONDS #785                   LONGMONT                    CO    80501                    JEWELER                      7/17/2018               $283.50
DEL AMO FASHION CENTER                            PO BOX 409657                               ATLANTA                     GA    30384-9657               RENT                         5/18/2018           $11,011.77
DEL AMO FASHION CENTER                            PO BOX 409657                               ATLANTA                     GA    30384-9657               RENT                         6/20/2018               $550.23
DEL AMO FASHION CENTER                            PO BOX 409657                               ATLANTA                     GA    30384-9657               RENT                         6/20/2018           $11,011.77
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $13.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $31.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $31.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $45.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $55.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $55.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $73.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $76.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018                $76.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $103.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $115.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $115.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $131.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $134.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $191.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $198.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $201.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $213.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $217.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $306.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018               $351.00
DEL MAR MANUFACTURING                             1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/11/2018             $1,270.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                         Address                               City               State       Zip        Country          transfer          Payments    Total Amount or value
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $19.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $21.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $25.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $34.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $37.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $40.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $40.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $40.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $55.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $56.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $56.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $58.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $60.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $62.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $64.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $78.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $83.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018                $86.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $101.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $107.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $115.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $115.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $129.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $130.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $132.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $145.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $192.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $192.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $257.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $346.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $404.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $427.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $563.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/21/2018               $731.00
DEL MAR MANUFACTURING                          1083 MAIN STREET                            CHAMPLAIN                   NY    12919                    TRADE                        5/25/2018             $1,990.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $20.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $21.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $29.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $46.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $46.25
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $47.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $50.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $58.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $61.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $61.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $79.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $79.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $80.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018                $97.25
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $100.50
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $101.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $105.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $106.00




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                                                                               In re Samuels Jewelers, Inc.
                                                                                    Case No. 18-11818
                                   Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                   Reasons for payment or    Dates of
                   Creditor Name                         Address                               City               State       Zip        Country          transfer          Payments    Total Amount or value
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $112.25
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $118.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $125.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $126.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $127.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $127.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $134.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $137.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $139.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $139.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $148.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $152.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $152.25
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $157.50
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $161.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $164.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $165.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $171.75
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $172.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $192.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $197.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $234.50
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $266.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $392.97
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/16/2018               $411.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018                $73.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018               $117.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018               $132.25
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018               $224.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018               $283.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018             $1,125.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018             $1,475.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018             $1,750.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      5/25/2018             $3,100.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018                $37.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018                $60.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $122.25
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $132.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $140.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $143.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $144.75
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $146.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $147.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $156.25
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $159.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $160.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $178.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $206.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       6/6/2018               $324.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018                $21.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018                $28.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018                $39.00
DELATORRES, R.R.                          C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018                $79.00




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                                                                                         Case No. 18-11818
                                        Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                         Address                               City               State       Zip        Country          transfer          Payments    Total Amount or value
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $115.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $118.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $125.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $125.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $137.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $141.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $145.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $152.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $171.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $180.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $207.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018               $225.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      6/21/2018             $2,950.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018                $36.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018                $70.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018                $90.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $114.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $119.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $124.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $125.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $125.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $126.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $130.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $136.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $158.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $165.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $171.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $172.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $199.25
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $229.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $286.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                       7/5/2018               $333.25
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018                $34.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018                $48.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018                $66.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018                $97.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $120.25
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $132.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $144.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $203.75
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $240.00
DELATORRES, R.R.                               C/O SAMUELS JEWELERS #550                   THE WOODLANDS               TX    77380                    JEWELER                      7/17/2018               $324.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $135.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $250.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $370.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $375.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $750.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018               $950.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        6/22/2018             $1,000.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                         7/2/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                         7/2/2018               $130.00




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                                                                                         Case No. 18-11818
                                        Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                       Reasons for payment or    Dates of
                        Creditor Name                            Address                              City             State       Zip        Country         transfer          Payments    Total Amount or value
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/2/2018               $375.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/2/2018               $500.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/2/2018               $625.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/2/2018             $1,000.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/2/2018             $1,250.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $250.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $375.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $500.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $625.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $625.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $750.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                        7/6/2018               $825.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $45.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $70.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $80.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018                $90.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $125.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $170.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $170.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $170.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $205.00
DIAMOND COUNCIL OF AMERICA                     120 BROADWAY                                NEW YORK                    NY    10271                    OTHER                       7/20/2018               $625.00
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/15/2018                $44.31
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/15/2018               $267.74
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/15/2018               $297.10
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/15/2018               $917.77
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/22/2018               $201.42
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/31/2018               $548.20
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/31/2018               $612.38
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                     5/31/2018               $950.85
DIRECT ENERGY B                                P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                      7/2/2018               $273.41




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                           Address                               City             State       Zip        Country          transfer          Payments    Total Amount or value
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                       7/9/2018               $119.00
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                       7/9/2018               $172.52
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                       7/9/2018             $1,434.55
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                      7/23/2018                $44.88
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                      7/23/2018               $273.41
DIRECT ENERGY B                          P.O. BOX 660749                             DALLAS                      TX    75266                    UTILITY                      7/23/2018               $591.79
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $21.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $41.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $47.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $55.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $61.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $73.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $77.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $88.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $89.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $92.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018                $98.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $113.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $129.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $130.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $135.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $137.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $139.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $143.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $151.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $152.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $155.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $177.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $184.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $184.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $193.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $194.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $201.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $232.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $242.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $246.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $255.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $274.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $283.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $323.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $338.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $338.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $490.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $498.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $526.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $541.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       5/9/2018               $680.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $31.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $33.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $36.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $41.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $56.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $73.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018                $74.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $101.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $106.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $111.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $116.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $126.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $129.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $144.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $145.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $146.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $151.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $156.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $191.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $191.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $215.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $217.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $220.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $226.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $243.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $259.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $270.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $282.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $283.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $292.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $296.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $319.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $323.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $325.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $331.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $347.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $349.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $359.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $384.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      5/25/2018               $598.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018                $14.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018                $37.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018                $82.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018                $86.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018                $91.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $122.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $125.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $127.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $141.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $153.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $156.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $165.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $188.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $236.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $252.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $258.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $283.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $312.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $322.00




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                                                                              In re Samuels Jewelers, Inc.
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                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $327.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $336.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $359.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       6/6/2018               $530.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018                $20.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018                $39.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018                $90.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $102.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $111.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $126.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $137.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $137.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $138.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $149.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $165.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $166.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $167.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $175.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $207.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $208.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $222.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $222.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $241.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $244.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $272.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $298.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $327.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      6/22/2018               $800.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                  $7.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $17.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $18.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $38.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $43.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $53.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $59.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $91.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018                $98.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $107.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $113.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $115.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $125.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $140.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $140.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $141.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $143.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $153.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $159.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $164.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $169.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $171.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $180.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $201.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $206.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $222.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $225.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $226.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $251.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $256.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $263.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $269.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $280.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $310.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $347.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $354.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $418.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                       7/5/2018               $528.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $14.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $21.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $30.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $30.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $44.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $46.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $50.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $60.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $66.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018                $97.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $100.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $105.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $106.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $110.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $113.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $113.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $116.25
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $120.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $120.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $121.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $122.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $125.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $128.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $129.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $136.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $140.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $140.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $147.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $156.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $159.50
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $160.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $168.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $170.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $175.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $176.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $180.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $180.75
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $187.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $190.00
DONALD W HERZER                          3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $192.00




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                                                                                In re Samuels Jewelers, Inc.
                                                                                     Case No. 18-11818
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                                                                                                                                                    Reasons for payment or    Dates of
                    Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $198.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $203.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $205.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $207.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $216.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $217.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $220.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $243.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $248.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $251.75
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $253.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $254.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $260.25
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $264.25
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $266.25
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $287.25
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $287.75
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $291.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $297.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $299.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $300.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $305.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $306.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $335.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $339.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $347.25
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $362.50
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $386.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $389.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $420.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $434.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $487.00
DONALD W HERZER                            3416 INFIRMARY RD                           DAYTON                      OH    45417                    JEWELER                      7/17/2018               $638.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       5/9/2018                $40.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       5/9/2018                $60.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       5/9/2018               $340.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       5/9/2018               $740.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                      5/25/2018                $25.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                      5/25/2018               $875.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $24.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $40.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $42.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $46.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $77.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018                $87.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $150.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $150.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $250.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $260.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $308.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $335.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $340.00
DOUGHLY, BASEM K.                          5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA    91763                    JEWELER                       6/6/2018               $350.00




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                                                                                                                                                            Reasons for payment or    Dates of
                         Creditor Name                            Address                               City                State       Zip       Country          transfer          Payments    Total Amount or value
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $407.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $440.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $450.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $623.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $820.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $840.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018               $940.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018             $1,000.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       6/6/2018             $1,070.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018               $200.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018               $250.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018               $500.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018               $859.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018               $890.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018             $1,000.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018             $1,350.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018             $1,600.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      6/22/2018             $2,150.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018                $81.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $112.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $139.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $150.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $225.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $253.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $335.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $700.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $700.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $930.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018               $997.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018             $1,070.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018             $1,115.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018             $1,205.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                       7/5/2018             $1,250.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018                $33.50
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018                $51.75
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018                $80.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018                $91.50
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $116.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $123.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $125.75
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $130.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $135.75
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $165.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $276.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018               $288.25
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018             $1,570.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018             $1,600.00
DOUGHLY, BASEM K.                                  5132 MONTCLAIR PLAZA                        MONTCLAIR                   CA     91763                   JEWELER                      7/17/2018             $2,320.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        5/11/2018               $400.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        5/11/2018               $600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        5/11/2018               $800.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        5/11/2018             $1,372.25
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        5/11/2018             $1,400.00




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                                                                                                                                                           Reasons for payment or    Dates of
                         Creditor Name                            Address                               City                State       Zip       Country         transfer          Payments    Total Amount or value
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $2,000.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $3,150.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $3,465.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $3,556.13
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $3,630.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $6,030.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $7,528.09
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $7,680.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018             $8,877.46
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018           $10,639.91
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018           $19,980.46
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018           $22,500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/11/2018           $59,385.84
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018                  $0.09
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018                $62.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $594.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $700.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $770.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $806.04
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $900.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018               $953.87
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $1,100.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $1,300.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $1,610.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $1,924.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $1,986.91
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $2,550.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $2,600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $2,750.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $2,945.19
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $3,117.95
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $4,108.45
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $6,420.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018             $7,700.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/21/2018           $14,600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/25/2018           $11,375.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       5/25/2018           $28,265.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018               $280.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018               $318.54
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018               $550.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018               $600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,050.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,050.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,400.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,925.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,949.20
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $1,999.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $2,000.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $2,450.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $3,237.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $3,480.70
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $3,575.00




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                                                                                        In re Samuels Jewelers, Inc.
                                                                                             Case No. 18-11818
                                            Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                           Reasons for payment or    Dates of
                         Creditor Name                            Address                               City                State       Zip       Country         transfer          Payments    Total Amount or value
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $3,799.25
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $4,362.91
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $6,942.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $7,266.55
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        6/4/2018             $7,763.85
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/12/2018           $16,200.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018                $43.96
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018               $131.46
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018               $137.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018               $350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018               $900.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $1,250.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $1,259.05
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $1,350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $1,374.45
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $1,470.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $2,310.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $2,350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $2,504.18
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $3,003.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $3,175.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $4,456.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $4,600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $5,500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $5,550.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/19/2018             $8,285.40
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $1,574.65
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $2,000.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $2,195.82
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $2,972.58
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $3,080.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018             $4,351.95
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/22/2018           $11,325.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       6/28/2018           $15,500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        7/6/2018           $10,000.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018               $322.58
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $1,199.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $1,265.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $1,443.92
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $2,200.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $2,470.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $2,655.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $4,114.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $4,385.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $4,750.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $5,919.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/13/2018             $6,275.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $522.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $612.42
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $660.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018               $847.00




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                                                                                        In re Samuels Jewelers, Inc.
                                                                                             Case No. 18-11818
                                            Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                           Reasons for payment or    Dates of
                         Creditor Name                            Address                               City                State       Zip       Country         transfer          Payments    Total Amount or value
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $1,522.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $1,750.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $2,200.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $2,350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $2,606.95
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $2,800.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $3,375.78
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $4,850.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $5,005.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $5,399.85
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $5,405.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018             $8,465.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018           $11,985.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/20/2018           $17,840.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018               $500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018               $660.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018               $859.22
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $1,209.45
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $1,500.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $1,600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $1,750.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $2,300.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $2,360.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $2,400.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $2,940.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $2,964.10
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $3,025.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $3,065.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $4,180.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $7,350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $8,250.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $8,925.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018             $9,625.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018           $10,070.68
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018           $17,600.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018           $18,530.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                       7/26/2018           $23,920.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018               $110.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018               $350.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018               $769.45
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018               $804.32
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $1,000.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $1,155.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $1,250.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $1,512.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $1,760.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $2,015.48
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $2,070.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $2,750.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $3,080.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $3,225.75
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $3,300.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $3,850.00




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                                                                                        In re Samuels Jewelers, Inc.
                                                                                             Case No. 18-11818
                                            Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                           Reasons for payment or    Dates of
                          Creditor Name                            Address                                City              State       Zip       Country         transfer          Payments    Total Amount or value
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $3,960.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $5,680.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018             $7,060.00
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018           $12,159.50
DOWNEY DESIGNS INTERNATIONAL (VERONA LLC)          2346 SOUTH LYNHURST DRIVE                   INDIANAPOLIS                IN     46241                   ASSET                        8/1/2018           $12,300.00
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     5/15/2018               $436.31
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     5/22/2018               $368.22
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     5/31/2018               $297.38
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     5/31/2018               $397.11
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     5/31/2018               $574.55
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     6/18/2018               $504.96
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                      7/2/2018               $374.95
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                      7/2/2018               $467.00
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                      7/2/2018               $579.08
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                      7/2/2018               $626.43
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     7/23/2018               $509.77
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     7/23/2018               $574.40
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     7/27/2018               $541.88
DUKE ENERGY                                        P.O. BOX 1326                               CHARLOTTE                   NC     28201-1326              UTILITY                     7/27/2018               $700.82
EAST MESA ASSOCIATES                               PO BOX 31001-2172                           PASADENA                    CA     91110-2172              RENT                        5/25/2018           $11,245.64
EAST MESA ASSOCIATES                               PO BOX 31001-2172                           PASADENA                    CA     91110-2172              RENT                        6/21/2018           $13,305.73
EASTLAND MALL HOLDINGS LLC                         2100 W 7TH STREET                           FORT WORTH                  TX     76107                   RENT                        5/11/2018             $8,332.80
EASTLAND MALL HOLDINGS LLC                         2100 W 7TH STREET                           FORT WORTH                  TX     76107                   RENT                         6/1/2018             $8,332.80
EASTLAND MALL HOLDINGS LLC                         2100 W 7TH STREET                           FORT WORTH                  TX     76107                   RENT                        6/21/2018             $8,332.80
EASTON TOWN CENTER, LLC                            L-3769                                      COLUMBUS                    OH     43260-3769              RENT                        5/11/2018           $33,219.46
EASTON TOWN CENTER, LLC                            L-3769                                      COLUMBUS                    OH     43260-3769              RENT                        5/11/2018           $33,493.90
EASTON TOWN CENTER, LLC                            L-3769                                      COLUMBUS                    OH     43260-3769              RENT                         6/8/2018           $40,225.58
EMPIRE MALL, LLC                                   P.O. BOX 83388                              CHICAGO                     IL     60691-3388              RENT                        5/11/2018           $31,035.69
EMPIRE MALL, LLC                                   P.O. BOX 83388                              CHICAGO                     IL     60691-3388              RENT                        6/20/2018           $33,435.69
ERSHIG PROPERTIES, INC.                            P.O. BOX 634185                             CINCINNATI                  OH     45263-4185              RENT                        5/11/2018             $4,932.17
ERSHIG PROPERTIES, INC.                            P.O. BOX 634185                             CINCINNATI                  OH     45263-4185              RENT                         6/1/2018             $5,176.16
ERSHIG PROPERTIES, INC.                            P.O. BOX 634185                             CINCINNATI                  OH     45263-4185              RENT                        6/21/2018             $5,176.16
FASHION PLACE ASSOCIATES                           P.O. BOX 86                                 MINNEAPOLIS                 MN 55486-2780                  RENT                        5/18/2018           $24,373.84
FASHION PLACE ASSOCIATES                           P.O. BOX 86                                 MINNEAPOLIS                 MN 55486-2780                  RENT                        6/21/2018           $24,373.84
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     5/16/2018           $15,428.27
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     5/18/2018                $20.97
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     5/18/2018                $25.73
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     5/18/2018           $11,169.53
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/12/2018           $13,510.85
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/12/2018           $13,746.34
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/12/2018           $14,381.43
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/12/2018           $16,244.91
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/12/2018           $16,307.31
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/29/2018             $5,214.10
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     6/29/2018           $14,785.90
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                      7/6/2018             $8,689.77
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                      7/6/2018           $11,310.23
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     7/13/2018             $5,034.13
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     7/13/2018           $14,103.87
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                     7/31/2018           $15,343.38
FEDEX                                              P.O. BOX 660481                             DALLAS                      TX     75266-0481              POSTAGE                      8/2/2018           $15,508.01
FLORENCE MALL L.L.C.                               P.O. BOX 860080                             MINNEAPOLIS                 MN 55486-0080                  RENT                        5/18/2018           $27,841.41
FLORENCE MALL L.L.C.                               P.O. BOX 860080                             MINNEAPOLIS                 MN 55486-0080                  RENT                         6/8/2018           $27,841.41




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                                                                                           Case No. 18-11818
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                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                                City            State       Zip        Country         transfer          Payments    Total Amount or value
FOREST CITY MAN                                  P.O. BOX 72503                              CLEVELAND                   OH    44192-0503               RENT                        5/11/2018           $13,638.45
FOREST CITY MAN                                  P.O. BOX 72503                              CLEVELAND                   OH    44192-0503               RENT                         6/1/2018           $13,638.45
FOREST CITY MAN                                  P.O. BOX 72503                              CLEVELAND                   OH    44192-0503               RENT                        6/21/2018           $13,638.45
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                  $9.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $39.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $74.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018                $74.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $103.89
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $119.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.55
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.55
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $149.55
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $149.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $149.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $150.25
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $158.35
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $169.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $170.25
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $188.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $247.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $256.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $303.25
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018               $333.25
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $1,058.77
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $1,132.75
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $1,407.06
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $1,840.04
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $1,995.56
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/11/2018             $2,821.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       5/25/2018           $15,000.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        6/6/2018           $50,000.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/12/2018           $16,000.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $20.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $80.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $80.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018                $80.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $115.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $154.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $155.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $212.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $241.94
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $248.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $299.44
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $299.44
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $327.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $343.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $365.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $382.03
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $399.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/19/2018               $410.17
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018                $88.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $101.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $155.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $155.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $160.00




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                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $161.43
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $161.75
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $161.75
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $179.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $179.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $195.98
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $199.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $239.67
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $258.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $265.79
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $299.44
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $299.94
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $315.40
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $347.99
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $347.99
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $348.47
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $349.01
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/22/2018               $398.81
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $18.37
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $44.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $79.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018                $94.92
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00




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                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $129.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $148.10
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $148.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $161.13




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $161.72
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $175.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $198.45
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $201.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $265.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $315.40
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $318.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $327.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $340.47
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $347.99
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $348.35
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $349.21
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $349.21
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $369.80
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $375.13
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $377.84
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $380.56
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $387.91
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $399.65
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       6/28/2018               $978.89
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018                $80.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $130.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $148.10
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $155.55
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $161.08
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $161.13
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $161.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $162.80
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $179.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $247.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $261.90
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $324.88
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $328.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $331.49
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                        7/6/2018               $362.74
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00




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                                                                                      In re Samuels Jewelers, Inc.
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                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $100.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $105.65
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $135.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $150.12
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $150.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $154.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $155.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $160.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $176.88
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $180.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $239.66
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $239.66
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $256.89
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $305.03
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $349.21
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/13/2018               $377.74
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018                $41.40
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018                $65.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018                $79.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018                $86.35
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $120.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $130.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $132.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $135.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                               City             State       Zip        Country         transfer          Payments    Total Amount or value
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $135.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $139.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $139.60
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $140.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $154.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $160.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $161.77
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $185.55
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $187.50
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $192.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $207.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $238.00
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $238.58
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $239.67
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $241.96
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $299.85
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $327.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $327.95
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $350.21
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $362.96
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $365.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $398.07
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $409.63
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $431.77
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $803.83
FREDERICK GOLDMAN, INC.                          55 HARTZ WAY                                SECAUCUS                    NJ    07094                    ASSET                       7/20/2018               $803.98
FRONTIER MALL ASSOCIATES LP                      2030 HAMILTON PLACE BLVD                    CHATTANOOGA                 TN    37421                    RENT                        5/18/2018             $8,684.84




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                                                                                                                                                                Reasons for payment or    Dates of
                           Creditor Name                               Address                                City              State       Zip       Country          transfer          Payments    Total Amount or value
FRONTIER MALL ASSOCIATES LP                            2030 HAMILTON PLACE BLVD                    CHATTANOOGA                 TN     37421                   RENT                         6/21/2018             $8,684.84
GALLATIN MALL GROUP L.L.C.                             P.O. BOX 80510                              BILLINGS                    MT 59108-0510                  RENT                         5/11/2018             $9,461.66
GALLATIN MALL GROUP L.L.C.                             P.O. BOX 80510                              BILLINGS                    MT 59108-0510                  RENT                          6/1/2018             $9,461.66
GALLATIN MALL GROUP L.L.C.                             P.O. BOX 80510                              BILLINGS                    MT 59108-0510                  RENT                         6/21/2018             $9,461.66
GALLERIA AT ROSEVILLE                                  P.O. BOX 31001-0782                         PASADENA                    CA     91110-0782              RENT                         5/11/2018           $10,853.41
GALLERIA AT ROSEVILLE                                  P.O. BOX 31001-0782                         PASADENA                    CA     91110-0782              RENT                         5/31/2018           $10,853.41
GALLERIA AT ROSEVILLE                                  P.O. BOX 31001-0782                         PASADENA                    CA     91110-0782              RENT                         6/21/2018             $2,600.00
GALLERIA AT ROSEVILLE                                  P.O. BOX 31001-0782                         PASADENA                    CA     91110-0782              RENT                         6/21/2018           $10,853.41
GALLERIA AT ROSEVILLE                                  P.O. BOX 31001-0782                         PASADENA                    CA     91110-0782              RENT                         7/13/2018           $10,853.41
GARRISON RETAIL FUNDING IV LLC                         PO BOX 1910                                 HICKSVILLE                  NY     11802                   RENT                         5/11/2018           $13,530.15
GARRISON RETAIL FUNDING IV LLC                         PO BOX 1910                                 HICKSVILLE                  NY     11802                   RENT                          6/1/2018           $14,203.76
GARRISON RETAIL FUNDING IV LLC                         PO BOX 1910                                 HICKSVILLE                  NY     11802                   RENT                         6/21/2018           $14,203.76
GATEWAY SQUARE,                                        P.O. BOX 404133                             ATLANTA                     GA     30384-4133              RENT                          6/1/2018           $11,814.97
GATEWAY SQUARE,                                        P.O. BOX 404133                             ATLANTA                     GA     30384-4133              RENT                         6/21/2018           $11,814.97
GB CREDIT PARTN                                        101 HUNTINGTON AVE                          BOSTON                      MA 02199                       OTHER                         6/1/2018           $97,406.74
GB CREDIT PARTN                                        101 HUNTINGTON AVE                          BOSTON                      MA 02199                       OTHER                        6/29/2018           $94,264.58
GG&A CENTRAL AM                                        3100 HIGHWAY 365                            PORT ARTHUR                 TX     77642                   RENT                         5/11/2018             $6,688.51
GG&A CENTRAL AM                                        3100 HIGHWAY 365                            PORT ARTHUR                 TX     77642                   RENT                         6/20/2018             $6,688.51
GG&A CENTRAL AM                                        3100 HIGHWAY 365                            PORT ARTHUR                 TX     77642                   RENT                         6/20/2018             $8,041.49
GG&A CENTRAL MA                                        P O BOX 206421                              DALLAS                      TX     75320-6421              RENT                         5/18/2018             $9,149.84
GG&A CENTRAL MA                                        P O BOX 206421                              DALLAS                      TX     75320-6421              RENT                         6/21/2018             $9,149.84
GGPLP L.L.C.                                           110 NORTH WACKER DRIVE                      CHICAGO                     IL     60606                   RENT                         5/11/2018           $10,304.80
GGPLP L.L.C.                                           110 NORTH WACKER DRIVE                      CHICAGO                     IL     60606                   RENT                         5/25/2018           $10,304.80
GGPLP L.L.C.                                           110 NORTH WACKER DRIVE                      CHICAGO                     IL     60606                   RENT                         6/20/2018               $547.20
GGPLP L.L.C.                                           110 NORTH WACKER DRIVE                      CHICAGO                     IL     60606                   RENT                         6/20/2018           $10,304.80
GGPLP L.L.C.                                           110 NORTH WACKER DRIVE                      CHICAGO                     IL     60606                   RENT                         7/13/2018           $10,304.80
GGPLP LLC                                              SDS-12-2322                                 MINNEAPOLIS                 MN 55486-2322                  RENT                         5/11/2018             $8,803.07
GGPLP LLC                                              SDS-12-2322                                 MINNEAPOLIS                 MN 55486-2322                  RENT                          6/1/2018             $8,803.07
GGPLP LLC                                              SDS-12-2322                                 MINNEAPOLIS                 MN 55486-2322                  RENT                         6/21/2018             $8,803.07
GGPLP REAL ESTATE, INC.                                SDS-12-3053                                 MINNEAPOLIS                 MN 55486-3053                  RENT                         5/18/2018           $17,015.06
GGPLP REAL ESTATE, INC.                                SDS-12-3053                                 MINNEAPOLIS                 MN 55486-3053                  RENT                         6/21/2018           $17,015.06
GONZALEZ,EDGAR(SERVICEMASTER BY GONZALEZ LLC)          14900 AVERY RANCH BLVD STE C200             AUSTIN                      TX     78717                   CONST                        7/25/2018             $1,753.65
GONZALEZ,EDGAR(SERVICEMASTER BY GONZALEZ LLC)          14900 AVERY RANCH BLVD STE C200             AUSTIN                      TX     78717                   CONST                         8/2/2018             $1,753.65
GONZALEZ,EDGAR(SERVICEMASTER BY GONZALEZ LLC)          14900 AVERY RANCH BLVD STE C200             AUSTIN                      TX     78717                   CONST                         8/2/2018             $1,753.65
GONZALEZ,EDGAR(SERVICEMASTER BY GONZALEZ LLC)          14900 AVERY RANCH BLVD STE C200             AUSTIN                      TX     78717                   CONST                         8/2/2018             $1,753.65
GONZALEZ,EDGAR(SERVICEMASTER BY GONZALEZ LLC)          14900 AVERY RANCH BLVD STE C200             AUSTIN                      TX     78717                   CONST                         8/2/2018             $1,753.65
GOURELY CONTRACTORS                                    4921 AMBASSADOR ROW                         CORPUS CHRISTI              TX     78416                   CONST                         6/1/2018               $500.00
GOURELY CONTRACTORS                                    4921 AMBASSADOR ROW                         CORPUS CHRISTI              TX     78416                   CONST                         6/1/2018               $796.89
GOURELY CONTRACTORS                                    4921 AMBASSADOR ROW                         CORPUS CHRISTI              TX     78416                   CONST                         6/1/2018             $1,855.50
GOURELY CONTRACTORS                                    4921 AMBASSADOR ROW                         CORPUS CHRISTI              TX     78416                   CONST                         6/1/2018             $2,817.53
GOURELY CONTRACTORS                                    4921 AMBASSADOR ROW                         CORPUS CHRISTI              TX     78416                   CONST                         6/1/2018             $6,381.20
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $13.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $14.75
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $15.69
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $19.00
GRAMERCY JEWELRY MFG CORP                              35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018                $25.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $25.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $39.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $69.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $70.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $75.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $75.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $77.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $81.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $84.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $88.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $89.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $91.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $94.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018                $98.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $108.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $127.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $134.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $154.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $155.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $182.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $210.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $252.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $259.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $296.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $345.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $548.81
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/21/2018               $795.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                  $2.09
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                  $3.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $29.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $50.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $52.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $61.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $71.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $75.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $87.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $96.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $96.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $98.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018                $98.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $101.91
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $102.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $106.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $124.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $135.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $139.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $144.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $145.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $179.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $200.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $200.30
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $217.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $265.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $280.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $290.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $296.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $298.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $300.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $305.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $314.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $325.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $329.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $343.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $350.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $350.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $352.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $363.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $364.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $369.60
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $399.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $400.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $405.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $407.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $450.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $460.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $474.31
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $480.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $496.20
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $513.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $562.30
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $570.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $627.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $686.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $760.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $795.23
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $797.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $803.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $809.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $898.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,016.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,206.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,298.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,691.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,695.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $1,849.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $2,519.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $2,617.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018             $2,982.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $2.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $11.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $11.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $11.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $15.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $15.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $15.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $16.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $22.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $25.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $27.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $27.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $29.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $30.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $40.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $41.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $41.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $42.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $43.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $54.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $55.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $55.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $59.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $62.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $64.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $70.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $70.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $71.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $74.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $74.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $76.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $81.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $87.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $93.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $94.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $95.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $96.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $98.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $102.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $112.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $114.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $127.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $128.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $131.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $141.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $145.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $150.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $159.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $166.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $175.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $177.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $183.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $188.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $196.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $230.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $244.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $255.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $277.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $282.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $298.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $314.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $326.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $367.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $391.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $418.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $419.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $426.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $449.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $459.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $475.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $507.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $533.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $600.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $635.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $797.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $830.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $14.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $14.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $15.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $15.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $18.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $18.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $20.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $27.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $27.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $27.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $33.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $39.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $39.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $39.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $41.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $43.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $44.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $44.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $46.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $46.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $47.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $47.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $49.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $50.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $54.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $54.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $57.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $57.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $57.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $57.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $58.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $59.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $59.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $67.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $68.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $70.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $72.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $83.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $86.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $87.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $87.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $88.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $89.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018                $91.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $115.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $117.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $118.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $130.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $133.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $153.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $177.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $188.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $209.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $269.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $302.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $309.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $426.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $434.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $442.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $500.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $535.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $597.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $657.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $693.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $750.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $775.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $782.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $830.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $873.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $917.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $945.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018               $995.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $1,149.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $1,380.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $2,376.94
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $2,500.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $2,650.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/21/2018             $2,918.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $15.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $17.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $20.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $20.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $25.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $26.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $29.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $30.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $31.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $38.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $40.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $40.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $41.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $45.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $45.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $49.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $50.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $51.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $60.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $60.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $60.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $61.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $61.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $66.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $66.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $73.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $76.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $77.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $81.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $82.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $86.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $89.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $89.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $92.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $92.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018                $97.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $102.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $104.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $106.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $108.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $114.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $115.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $120.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $126.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $127.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $127.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $130.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $135.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $137.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $137.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $139.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $142.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $147.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $147.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $149.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $158.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $159.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $166.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $170.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $170.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $185.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $186.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $189.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $240.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $254.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $270.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $270.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $290.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $316.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $320.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $371.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $384.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $437.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $446.60
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $473.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $509.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $613.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $715.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $731.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018               $830.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,003.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,122.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,435.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,497.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,570.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $1,868.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                       7/5/2018             $2,261.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                  $9.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $10.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $14.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $16.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $16.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $18.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $21.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $23.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $25.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $25.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $27.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $30.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $32.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $33.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $34.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $34.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $35.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $35.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $36.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $40.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $40.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $41.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $41.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $44.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $45.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $46.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $47.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $49.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $49.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $51.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $53.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $54.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $54.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $55.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $57.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $57.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $58.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $58.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $59.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $61.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $61.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $62.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $64.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $64.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $65.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $65.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $67.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $67.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $68.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $68.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $70.00




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $71.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $76.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $76.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $76.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $76.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $79.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $83.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $84.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $86.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $88.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $90.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $92.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $92.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $94.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $97.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018                $97.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $100.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $103.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $105.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $107.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $108.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $110.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $114.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $117.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $129.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $130.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $132.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $134.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $144.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $149.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $156.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $158.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $159.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $160.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $161.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $161.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $161.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $167.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $168.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $170.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $173.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $180.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $184.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $187.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $189.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $193.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $203.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $208.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $208.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $224.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $227.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $231.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $231.50




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $233.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $238.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $246.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $249.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $262.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $265.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $273.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $398.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $433.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $496.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018               $545.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018             $1,623.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/17/2018             $1,756.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                  $7.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                  $8.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $10.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $12.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $13.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $14.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $16.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $17.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $19.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $20.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $21.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $21.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $22.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $24.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $26.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $26.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $26.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $27.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $28.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $29.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $30.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $30.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $31.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $33.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $35.00




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                                                                                    In re Samuels Jewelers, Inc.
                                                                                         Case No. 18-11818
                                        Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $35.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $37.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $38.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $38.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $39.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $40.50
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $41.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $42.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $42.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $43.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $44.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $45.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $46.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $47.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $47.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $48.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $51.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $55.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $56.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $56.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $59.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $59.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $63.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $64.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $64.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $65.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $67.25
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $67.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $69.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $70.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $73.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $75.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $79.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $80.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $80.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $83.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $87.75
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $92.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $94.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $97.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018                $99.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $100.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $105.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $109.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $112.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $115.00
GRAMERCY JEWELRY MFG CORP                      35 WEST 45TH STREET                         NEW YORK                    NY    10036                    JEWELER                      7/18/2018               $115.00




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                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                          Address                                City              State       Zip       Country          transfer          Payments    Total Amount or value
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $117.25
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $119.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $127.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $130.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $130.75
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $135.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $152.75
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $161.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $161.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $165.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $165.75
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $170.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $170.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $170.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $212.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $218.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $230.75
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $235.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $374.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $383.75
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $408.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $632.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $874.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $986.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018               $989.64
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $1,020.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $1,050.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $1,055.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $1,295.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $1,442.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $2,090.00
GRAMERCY JEWELRY MFG CORP                       35 WEST 45TH STREET                         NEW YORK                    NY     10036                   JEWELER                      7/18/2018             $2,490.00
GRAND CENTRAL L                                 L-2031                                      COLUMBUS                    OH     43260                   RENT                          6/1/2018           $11,877.91
GRAND CENTRAL L                                 L-2031                                      COLUMBUS                    OH     43260                   RENT                         6/21/2018           $11,877.91
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      5/14/2018           $10,000.00
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      5/24/2018             $2,001.59
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      5/24/2018           $37,998.41
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                       6/4/2018             $9,104.55
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                       6/4/2018           $20,895.45
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      6/22/2018           $10,000.00
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      6/29/2018             $1,136.68
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      6/29/2018           $13,863.32
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                       7/6/2018           $15,000.00
GRANITE TELECOM                                 P.O. BOX 983119                             BOSTON                      MA 02298-3119                  UTILITY                      7/25/2018           $10,000.00
GRAYLAKES PAVILIONS L.P.                        1901 AVENUE OF THE STARS                    LOS ANGELES                 CA     90067                   RENT                         5/11/2018             $8,882.79
GRAYLAKES PAVILIONS L.P.                        1901 AVENUE OF THE STARS                    LOS ANGELES                 CA     90067                   RENT                         5/11/2018             $8,973.62
GRAYLAKES PAVILIONS L.P.                        1901 AVENUE OF THE STARS                    LOS ANGELES                 CA     90067                   RENT                         6/21/2018             $8,973.62
GREENWOOD PARK MALL, LLC                        867695 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0076              RENT                         5/11/2018           $42,052.09
GREENWOOD PARK MALL, LLC                        867695 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0076              RENT                          6/8/2018           $42,052.09
GUTIERREZ, MIGUEL A.                            C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA     92260                   JEWELER                       5/9/2018                $50.00
GUTIERREZ, MIGUEL A.                            C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA     92260                   JEWELER                       5/9/2018               $105.00
GUTIERREZ, MIGUEL A.                            C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA     92260                   JEWELER                       5/9/2018               $132.00
GUTIERREZ, MIGUEL A.                            C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA     92260                   JEWELER                       5/9/2018               $135.00




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                                                                                                                                                            Reasons for payment or    Dates of
                            Creditor Name                         Address                                City              State       Zip        Country          transfer          Payments    Total Amount or value
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $139.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $141.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $143.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $164.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $180.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $189.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $193.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $201.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $240.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $252.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $268.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $274.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $282.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $324.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $391.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $462.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $565.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $805.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       5/9/2018               $824.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018                $52.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $170.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $204.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $298.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $313.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $750.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      5/25/2018               $800.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018                $20.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018                $51.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $141.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $165.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $219.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $396.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $427.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $805.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      6/22/2018               $850.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018                $35.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018               $172.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018               $218.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018               $388.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018               $430.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                       7/5/2018               $501.00
GUTIERREZ, MIGUEL A.                               C/O SAMUELS JEWELERS # 157                  PALM DESERT                 CA    92260                    JEWELER                      7/17/2018                $62.00
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     5/11/2018             $1,024.44
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     5/11/2018             $1,975.56
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     6/29/2018                $57.32
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     6/29/2018                $57.32
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     6/29/2018                $57.32
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     6/29/2018               $378.88
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     6/29/2018               $433.00
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                      7/6/2018               $472.28
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                      7/6/2018               $527.72
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                     7/13/2018             $1,000.00
HARD TARGET SYSTEMS, INC.                          503 ARROYO VISTA DRIVE                      MANCHACA                    TX    78652                    SECURITY                      8/2/2018             $3,000.00




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                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $107.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $123.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $124.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $128.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $151.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $180.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $181.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $188.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $211.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $216.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $228.60
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       5/9/2018               $254.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      5/25/2018               $151.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018                $90.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018                $97.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018                $98.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $101.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $120.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $125.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $139.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $139.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $144.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $155.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $179.75
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $197.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $206.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $211.75
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $221.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $231.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $244.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $248.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $276.75
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $333.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                       6/6/2018               $354.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      6/22/2018                $97.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      6/22/2018               $202.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      6/22/2018               $334.25
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      7/17/2018               $118.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      7/17/2018               $198.00
HAWLEY JEWELRY SHOP                             11325 PELLICANO DR                          EL PASO                     TX    79936                    JEWELER                      7/17/2018               $351.00
HEB GROCERY COMPANY, LP-INSTORE-373             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         5/11/2018             $7,576.35
HEB GROCERY COMPANY, LP-INSTORE-373             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         6/21/2018             $2,973.00
HEB GROCERY COMPANY, LP-INSTORE-476             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         5/11/2018             $5,313.39
HEB GROCERY COMPANY, LP-INSTORE-476             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         6/21/2018             $2,085.00
HEB GROCERY COMPANY, LP-INSTORE-622             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         5/11/2018             $7,390.32
HEB GROCERY COMPANY, LP-INSTORE-622             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         6/21/2018             $2,900.00
HEB GROCERY COMPANY, LP-INSTORE-713             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         5/11/2018             $4,567.74
HEB GROCERY COMPANY, LP-INSTORE-713             PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         6/21/2018             $2,950.00
HEB GROCERY COMPANY, LP-INSTORE-92              PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         5/11/2018             $6,816.94
HEB GROCERY COMPANY, LP-INSTORE-92              PO BOX 4346                                 HOUSTON                     TX    77210                    RENT                         6/21/2018             $2,675.00
HORIZON RETAIL CONSTRUCTION, INC                1500 HORIZON DRIVE                          STURTEVANT                  WI    53177                    CONST                        5/31/2018           $15,000.00
HORIZON RETAIL CONSTRUCTION, INC                1500 HORIZON DRIVE                          STURTEVANT                  WI    53177                    CONST                         6/8/2018           $15,000.00
HORIZON RETAIL CONSTRUCTION, INC                1500 HORIZON DRIVE                          STURTEVANT                  WI    53177                    CONST                        6/15/2018           $15,000.00




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                                                                                                                                                            Reasons for payment or    Dates of
                            Creditor Name                          Address                               City               State       Zip       Country          transfer          Payments    Total Amount or value
HORIZON RETAIL CONSTRUCTION, INC                   1500 HORIZON DRIVE                          STURTEVANT                  WI     53177                   CONST                        6/22/2018           $45,137.85
HORIZON RETAIL CONSTRUCTION, INC                   1500 HORIZON DRIVE                          STURTEVANT                  WI     53177                   CONST                        6/29/2018           $15,000.00
HORIZON RETAIL CONSTRUCTION, INC                   1500 HORIZON DRIVE                          STURTEVANT                  WI     53177                   CONST                         7/6/2018           $15,000.00
HORIZON RETAIL CONSTRUCTION, INC                   1500 HORIZON DRIVE                          STURTEVANT                  WI     53177                   CONST                        7/13/2018           $15,000.00
HUNTINGTON MALL COMPANY                            P.O. BOX 932400                             CLEVELAND                   OH     44193                   RENT                          6/1/2018             $9,528.79
HUNTINGTON MALL COMPANY                            P.O. BOX 932400                             CLEVELAND                   OH     44193                   RENT                         6/21/2018             $9,528.79
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $100.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $121.25
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $129.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $166.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $228.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $353.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      5/25/2018               $477.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                       7/5/2018                $79.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                       7/5/2018               $104.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                       7/5/2018               $110.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                       7/5/2018               $213.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018                $80.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $123.50
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $132.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $140.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $161.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $193.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $210.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $224.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $232.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $249.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $256.25
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $390.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/11/2018               $628.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018                $29.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $115.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $129.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $131.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $145.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $173.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $183.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $204.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $332.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $343.00
IBARRA, LUIS MI                                    100 VINTAGE FAIRE MALL                      MODESTO                     CA     95356                   JEWELER                      7/17/2018               $466.00
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          5/21/2018             $1,321.93
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          6/20/2018               $725.90
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          6/20/2018           $26,722.67
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          6/25/2018           $27,333.63
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          7/20/2018               $831.47
INDIANA DEPT. OF REV.-SALESTAX                     P O BOX 7218                                INDIANAPOLIS                IN     46207-7218              TAX                          7/20/2018           $31,501.48
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/11/2018               $346.00
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/11/2018               $630.00
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/11/2018             $2,008.00
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/11/2018             $2,016.00
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/21/2018             $2,068.00
INNOVATIVE PEARL                                   15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      5/21/2018             $3,007.00




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                                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                                           Address                                City              State       Zip       Country         transfer          Payments    Total Amount or value
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     5/25/2018             $1,842.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      6/4/2018               $948.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      6/4/2018             $1,149.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      6/4/2018             $3,303.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     6/19/2018             $3,000.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     6/22/2018             $1,500.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     6/28/2018             $3,700.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      7/6/2018             $1,000.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     7/13/2018               $461.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     7/13/2018               $739.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     7/20/2018               $602.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                     7/26/2018               $150.00
INNOVATIVE PEARL                                                15 WEST 47TH STREET                         NEW YORK                    NY     10036                   CONSIGN                      8/1/2018               $172.00
INSIGHT                                                         P.O. BOX 731069                             DALLAS                      TX     75373-1069              MIS                         6/22/2018             $7,244.09
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/15/2018               $191.55
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/15/2018               $207.27
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/15/2018               $463.34
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/15/2018               $546.58
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/15/2018               $566.84
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $209.20
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $239.28
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $242.58
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $268.00
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $282.48
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $308.74
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     5/31/2018               $335.24
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $127.70
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $138.18
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $185.66
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $219.01
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $261.50
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $284.23
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $319.04
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $323.44
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $335.00
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $353.10
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $388.58
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/2/2018               $419.05
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                      7/9/2018                $25.63
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $104.60
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $141.24
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $159.52
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $159.68
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $161.72
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $169.68
INT'L ENVIRONMENTAL MANAGEMENT, INC (WASTE MANAGEMENT)          24516 NETWORK PLACE                         CHICAGO                     IL     60673-1245              UTILITY                     7/23/2018               $177.77
JA CARPENTRY                                                    2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     6/8/2018             $8,500.00
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018                $42.80
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018               $111.63
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018               $148.56
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018               $150.60
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018               $177.78
JED LIGHTS INC.                                                 61 FIRST AVE                                EASTROCKAWAY                NY     11518                   CONST                       5/30/2018               $209.66




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                           Address                             City               State       Zip        Country          transfer          Payments    Total Amount or value
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018               $234.09
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018               $252.96
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018               $410.05
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018             $1,937.82
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018             $4,377.45
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        5/30/2018             $5,724.91
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018                $43.60
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018                $47.98
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018                $70.83
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018                $77.85
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $108.66
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $132.07
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $134.15
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $134.85
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $136.51
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $138.60
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $143.36
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $157.10
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $166.78
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $166.90
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $177.30
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $180.00
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $193.85
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $243.69
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $263.10
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $283.95
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $442.54
JED LIGHTS INC.                          61 FIRST AVE                                EASTROCKAWAY                NY    11518                    CONST                        6/29/2018               $558.60
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/10/2018               $524.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/10/2018               $602.55
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/10/2018               $875.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/10/2018             $1,206.48
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/10/2018           $18,762.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                  $9.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                  $9.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                $12.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                $30.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                $33.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018                $49.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018               $319.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018               $661.37
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018               $776.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/18/2018             $1,612.68
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                  $7.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $11.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $15.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $17.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $18.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $57.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $67.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018                $78.00




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                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018               $103.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018               $112.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/29/2018               $405.25
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018                $91.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018               $145.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018               $151.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018               $487.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      5/30/2018             $1,194.64
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $16.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $20.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $27.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $30.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $35.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $43.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018                $51.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018               $101.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/6/2018               $195.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                  $9.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $21.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $23.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $34.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $35.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $36.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       6/7/2018                $39.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/15/2018                  $7.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/15/2018                $95.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018                  $9.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018                $34.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018                $92.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018               $132.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018               $134.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018               $187.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018               $187.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018               $340.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018             $1,676.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018             $1,958.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      6/22/2018             $2,071.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                       7/5/2018             $5,998.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                  $9.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                  $9.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                  $9.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $10.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $15.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $17.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $18.50
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $20.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $27.00
JEWEL-CRAFT INC                          4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $34.00




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                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $36.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $36.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $40.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $41.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $46.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $50.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $51.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $52.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $53.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $60.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $67.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $72.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018                $81.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $108.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $146.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $147.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $148.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $150.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $192.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $205.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $216.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $220.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $370.50
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $478.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018               $590.00
JEWEL-CRAFT INC                                 4122 OLYMPIC BLVD.                          ERLANGER                    KY    41018                    JEWELER                      7/17/2018             $1,534.71
JEWELERS MUTUAL INSURANCE CO.                   24 JEWELERS PARK DRIVE                      NEENAH                      WI    54957-0468               INSURANCE                    5/31/2018           $36,000.00
JEWELERS MUTUAL INSURANCE CO.                   24 JEWELERS PARK DRIVE                      NEENAH                      WI    54957-0468               INSURANCE                    7/10/2018           $29,157.25
JM INSURANCE SERVICES                           2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018             $1,669.00
JM INSURANCE SERVICES                           2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018             $2,867.00
JM INSURANCE SERVICES                           2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018           $11,200.00
JM INSURANCE SERVICES                           2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018          $105,530.00
JM INSURANCE SERVICES                           2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/20/2018           $28,896.76
JORDAN CREEK TO                                 SDS-12-2423                                 MINNEAPOLIS                 MN 55486-2423                  RENT                         5/18/2018           $21,225.14
JORDAN CREEK TO                                 SDS-12-2423                                 MINNEAPOLIS                 MN 55486-2423                  RENT                         6/21/2018           $21,225.14
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $12.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $28.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $34.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $47.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $77.50
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $84.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $92.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $93.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $96.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018                $99.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $101.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $112.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $117.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $131.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $133.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $138.00
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $142.75
JUNG, PHILIP B.                                 C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $143.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $144.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $153.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $154.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $155.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $163.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $176.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $179.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $180.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $181.25
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $185.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $190.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $193.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $195.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $198.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $214.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $218.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $220.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $249.50
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $261.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $266.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $280.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $298.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $332.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $339.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       5/9/2018               $343.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $11.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $35.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $37.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $40.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $42.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $48.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $64.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $70.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018                $72.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $100.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $101.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $101.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $103.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $109.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $112.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $112.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $115.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $118.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $124.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $128.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $129.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $135.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $145.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $159.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $167.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $216.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $224.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      5/25/2018               $390.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018                $21.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018                $41.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $101.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $125.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $134.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $153.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $167.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $172.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $190.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $193.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $196.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/14/2018               $254.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018                  $7.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018                $35.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $116.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $120.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $176.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $208.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $321.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      6/22/2018               $350.25
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018                $61.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018                $77.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $101.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $106.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $108.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $116.50
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $128.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $133.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $145.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $150.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $156.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $175.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $184.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $204.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $208.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $236.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $240.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                       7/5/2018               $574.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $27.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $42.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $81.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $86.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $86.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $91.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018                $97.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $119.50
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $121.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $122.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $136.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $143.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $145.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $145.00
JUNG, PHILIP B.                          C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $152.00




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                                                                                    In re Samuels Jewelers, Inc.
                                                                                         Case No. 18-11818
                                        Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $217.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $218.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $222.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $230.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $239.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $243.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $257.00
JUNG, PHILIP B.                                C/O SAMUELS JEWELERS #713                   MURRAY                      UT    84107                    JEWELER                      7/17/2018               $296.00
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          5/25/2018                $42.98
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          5/25/2018             $4,088.16
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          6/25/2018                  $3.38
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          6/25/2018             $2,457.89
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          7/25/2018                $23.32
KANSAS DEPARTMENT OF REVENUE                   915 SW HARRISON ST., 3RD FLOOR              TOPEKA                      KS    66625-0001               TAX                          7/25/2018             $3,390.63
KENTUCKY STATE TREASURER                       KENTUCKY REVENUE CABINET                    FRANKFORT                   KY    40620-0003               TAX                          5/21/2018           $11,967.46
KENTUCKY STATE TREASURER                       KENTUCKY REVENUE CABINET                    FRANKFORT                   KY    40620-0003               TAX                          6/20/2018           $10,223.08
KENTUCKY STATE TREASURER                       KENTUCKY REVENUE CABINET                    FRANKFORT                   KY    40620-0003               TAX                          7/20/2018             $3,000.00
KENTUCKY STATE TREASURER                       KENTUCKY REVENUE CABINET                    FRANKFORT                   KY    40620-0003               TAX                          7/20/2018           $11,853.64
KENWOOD MALL L.                                SDS-12-3080                                 MINNEAPOLIS                 MN 55486-3080                  RENT                         5/18/2018           $40,485.35
KENWOOD MALL L.                                SDS-12-3080                                 MINNEAPOLIS                 MN 55486-3080                  RENT                          6/8/2018           $40,485.35
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $76.93
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $77.92
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $83.09
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $84.05
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $91.19
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $93.85
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $99.01
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018                $99.55
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $118.60
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $132.95
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $154.83
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $160.81
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $171.41
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $208.97
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $214.55
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $390.77
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $421.51
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $568.03
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $658.37
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $666.74
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $680.27
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018               $776.47
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018             $1,047.98
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018             $1,075.95
KETER ENVIRONME                                PO BOX 417468                               BOSTON                      MA 02241-7468                  UTILITY                      6/18/2018             $1,126.57
KILLEEN MALL MEMBER                            9339 GENESSEE AVE                           SAN DIEGO                   GA    92121                    RENT                         5/18/2018             $8,529.06
KILLEEN MALL MEMBER                            9339 GENESSEE AVE                           SAN DIEGO                   GA    92121                    RENT                          6/8/2018             $8,529.06
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/11/2018             $1,843.00
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/11/2018           $33,689.00
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/11/2018           $42,968.30
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/11/2018          $100,000.00
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/21/2018             $3,660.90
KIRAN JEWELS, INC.                             521 FIFTH AVENUE                            NEW YORK                    NY    10175                    CONSIGN                      5/21/2018          $102,270.10




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                                                                                          In re Samuels Jewelers, Inc.
                                                                                               Case No. 18-11818
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                                                                                                                                                             Reasons for payment or    Dates of
                              Creditor Name                         Address                                 City              State       Zip       Country         transfer          Payments    Total Amount or value
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     5/25/2018           $40,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                      6/4/2018           $18,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     6/12/2018           $27,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     6/19/2018             $3,257.30
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     6/19/2018           $11,742.70
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     6/22/2018           $27,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     6/28/2018           $12,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                      7/6/2018           $15,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     7/13/2018             $8,500.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     7/13/2018           $20,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     7/20/2018             $2,164.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     7/25/2018           $20,000.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                     7/26/2018               $878.00
KIRAN JEWELS, INC.                                   521 FIFTH AVENUE                            NEW YORK                    NY     10175                   CONSIGN                      8/1/2018               $552.00
LA. DEPARTMENT OF REVENUE                            DEPARTMENT OF REVENUE                       BATON ROUGE                 LA     70802                   TAX                         5/22/2018             $3,525.00
LA. DEPARTMENT OF REVENUE                            DEPARTMENT OF REVENUE                       BATON ROUGE                 LA     70802                   TAX                         6/20/2018             $2,648.00
LA. DEPARTMENT OF REVENUE                            DEPARTMENT OF REVENUE                       BATON ROUGE                 LA     70802                   TAX                         7/19/2018             $1,200.00
LA. DEPARTMENT OF REVENUE                            DEPARTMENT OF REVENUE                       BATON ROUGE                 LA     70802                   TAX                         7/20/2018             $3,559.00
LAYTON HILLS MALL CMBS, LLC                          P O BOX 955607                              ST. LOUIS                   MO 63195-5607                  RENT                        5/25/2018           $14,997.53
LAYTON HILLS MALL CMBS, LLC                          P O BOX 955607                              ST. LOUIS                   MO 63195-5607                  RENT                        6/21/2018           $14,997.53
LIBERTY CENTER LLC                                   4016 TOWNSFAIR WAY, SUITE 201               COLUMBUS                    OH     43219                   RENT                         6/1/2018           $16,670.60
LIBERTY CENTER LLC                                   4016 TOWNSFAIR WAY, SUITE 201               COLUMBUS                    OH     43219                   RENT                        6/21/2018           $16,606.85
LINDALE MALL                                         180 EAST BROAD STREET                       COLUMBUS                    OH     43215                   RENT                         6/1/2018           $19,095.68
LINDALE MALL                                         180 EAST BROAD STREET                       COLUMBUS                    OH     43215                   RENT                        6/21/2018           $19,095.68
LISTRAK, INC.                                        100 W.MILLPORT ROAD                         LITITZ                      PA     17543                   ADVT                        5/18/2018               $862.05
LISTRAK, INC.                                        100 W.MILLPORT ROAD                         LITITZ                      PA     17543                   ADVT                        5/18/2018             $3,655.00
LISTRAK, INC.                                        100 W.MILLPORT ROAD                         LITITZ                      PA     17543                   ADVT                        5/18/2018             $3,945.06
LISTRAK, INC.                                        100 W.MILLPORT ROAD                         LITITZ                      PA     17543                   ADVT                         6/1/2018             $3,941.26
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/11/2018               $592.89
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/11/2018             $3,123.55
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/11/2018             $6,038.72
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/11/2018             $7,362.24
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/11/2018             $7,882.60
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018                $30.00
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018               $998.50
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $1,179.75
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $1,344.61
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $3,345.00
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $3,477.60
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $3,608.00
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $3,923.40
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $4,435.74
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $4,780.50
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $4,858.40
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $4,960.00
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018             $8,131.15
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/21/2018           $12,770.06
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                     5/25/2018           $15,000.00
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/4/2018             $1,942.17
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/4/2018             $5,177.60
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/4/2018             $5,737.50
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/4/2018             $6,468.26
M. GELLER LTD.                                       29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/4/2018             $6,674.47




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                                                                                                                                                             Reasons for payment or    Dates of
                             Creditor Name                         Address                                 City              State       Zip       Country          transfer          Payments    Total Amount or value
M. GELLER LTD.                                      29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/12/2018             $2,096.53
M. GELLER LTD.                                      29 EAST MADISON                             CHICAGO                     IL     60602                   CONSIGN                      6/12/2018             $6,003.47
M.C. STRAUSS                                        2200 WEST FLORIDA AVENUE #300               HEMET                       CA     92545                   RENT                         5/11/2018           $10,620.00
M.C. STRAUSS                                        2200 WEST FLORIDA AVENUE #300               HEMET                       CA     92545                   RENT                          6/1/2018           $10,620.00
M.C. STRAUSS                                        2200 WEST FLORIDA AVENUE #300               HEMET                       CA     92545                   RENT                         6/21/2018             $6,051.15
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                  $7.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $13.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $14.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $18.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $30.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $33.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $42.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $45.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $48.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $53.25
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $61.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $62.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $70.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $80.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018                $81.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018               $109.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018               $135.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018               $200.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                       5/9/2018               $407.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $12.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $20.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $30.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $30.75
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $32.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $35.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $49.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $60.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $62.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $64.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $67.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $75.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $85.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $87.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018                $88.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $105.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $105.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $106.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $107.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $135.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $167.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $168.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $171.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $175.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $177.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $192.75
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $195.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $199.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX     75080                   JEWELER                      5/25/2018               $214.00




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                                                                                                                                                             Reasons for payment or    Dates of
                             Creditor Name                           Address                             City               State       Zip        Country          transfer          Payments    Total Amount or value
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      5/25/2018               $222.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      5/25/2018               $225.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      5/25/2018               $236.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      5/25/2018               $262.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      5/25/2018               $316.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $31.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $31.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $32.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $40.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $64.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $74.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018                $77.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018               $131.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018               $173.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       6/6/2018               $218.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018                $21.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018                $31.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018                $80.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018                $99.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $126.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $143.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $150.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $200.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $211.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      6/22/2018               $228.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $19.25
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $20.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $21.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $38.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $45.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $48.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $49.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $50.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $59.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $60.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $78.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $83.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $91.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018                $98.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $125.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $149.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $151.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $152.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $177.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $235.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                       7/5/2018               $341.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018                $47.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018                $50.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018                $95.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018                $96.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $115.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $116.00
M.T. JEWELRY SERVICE, INC.                          1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $122.00




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                                                                                                       Case No. 18-11818
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                                                                                                                                                                      Reasons for payment or    Dates of
                         Creditor Name                                        Address                              City              State       Zip        Country          transfer          Payments    Total Amount or value
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $137.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $137.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $138.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $158.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $167.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $168.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $181.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $182.75
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $191.00
M.T. JEWELRY SERVICE, INC.                                   1906 LILAC CT.                              RICHARDSON                  TX    75080                    JEWELER                      7/17/2018               $330.00
MACERICH HHF CENTERS LLC(FLATIRON PROPERTY HOLDING)          PO BOX 511417                               LOS ANGELES                 CA    9005-7972                RENT                         5/18/2018           $13,060.49
MACERICH HHF CENTERS LLC(FLATIRON PROPERTY HOLDING)          PO BOX 511417                               LOS ANGELES                 CA    9005-7972                RENT                         6/21/2018           $13,060.49
MACERICH OAKS LP                                             P.O BOX 849428                              LOS ANGELES                 CA    90084-9428               RENT                         5/18/2018           $13,900.89
MACERICH OAKS LP                                             P.O BOX 849428                              LOS ANGELES                 CA    90084-9428               RENT                         6/20/2018           $13,900.89
MACERICH STONEWOOD LLC                                       P.O. BOX 849470                             LOS ANGELES                 CA    90084-9470               RENT                         5/18/2018           $15,359.70
MACERICH STONEWOOD LLC                                       P.O. BOX 849470                             LOS ANGELES                 CA    90084-9470               RENT                         6/20/2018               $197.30
MACERICH STONEWOOD LLC                                       P.O. BOX 849470                             LOS ANGELES                 CA    90084-9470               RENT                         6/20/2018           $15,359.70
MACERICH VINTAGE FAIRE L.P.                                  DEPT 2596-3215                              LOS ANGELES                 CA    90084-2596               RENT                         5/18/2018           $29,380.14
MACERICH VINTAGE FAIRE L.P.                                  DEPT 2596-3215                              LOS ANGELES                 CA    90084-2596               RENT                          6/8/2018           $29,380.14
MADESIN GENERAL CONTRACTORS                                  1120 EGLINTON AVENUE EAST                   MISSISSAUGA,ON              CA    L4W1K5                   CONST                         6/8/2018           $45,000.00
MADESIN GENERAL CONTRACTORS                                  1120 EGLINTON AVENUE EAST                   MISSISSAUGA,ON              CA    L4W1K5                   CONST                        6/15/2018           $10,000.00
MADESIN GENERAL CONTRACTORS                                  1120 EGLINTON AVENUE EAST                   MISSISSAUGA,ON              CA    L4W1K5                   CONST                        6/29/2018           $10,000.00
MADESIN GENERAL CONTRACTORS                                  1120 EGLINTON AVENUE EAST                   MISSISSAUGA,ON              CA    L4W1K5                   CONST                         7/6/2018           $10,000.00
MADESIN GENERAL CONTRACTORS                                  1120 EGLINTON AVENUE EAST                   MISSISSAUGA,ON              CA    L4W1K5                   CONST                        7/13/2018           $20,000.00
MALL AT LONGVIE                                              C/O WP GLIMCHER INC                         COLUMBUS                    OH    43215                    RENT                          6/1/2018           $15,676.70
MALL AT LONGVIE                                              C/O WP GLIMCHER INC                         COLUMBUS                    OH    43215                    RENT                         6/21/2018           $15,676.70
MALL AT TUTTLE                                               PO BOX 404561                               ATLANTA                     GA    30384                    RENT                         5/11/2018           $30,842.20
MALL AT TUTTLE                                               PO BOX 404561                               ATLANTA                     GA    30384                    RENT                         6/20/2018             $2,120.85
MALL AT TUTTLE                                               PO BOX 404561                               ATLANTA                     GA    30384                    RENT                         6/20/2018           $31,212.15
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018               $971.38
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018             $1,003.92
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/24/2018             $1,177.68
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/24/2018             $1,324.72
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      6/6/2018               $982.85
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      6/6/2018             $1,033.64
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      6/6/2018             $1,628.30
MARROQUIN, MACA                                              2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/13/2018             $1,060.29
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018                $10.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018                $12.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018                $24.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018                $37.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018                $46.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $108.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $148.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $157.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $210.75
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $254.75
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $357.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       5/9/2018               $431.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018                $48.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018                $83.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $142.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)                    1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $157.00




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                                                                                             Case No. 18-11818
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                                                                                                                                                            Reasons for payment or    Dates of
                           Creditor Name                            Address                             City               State       Zip        Country          transfer          Payments    Total Amount or value
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $158.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $161.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $175.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $182.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $263.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      5/25/2018               $404.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018                $56.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018               $128.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018               $163.50
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018               $176.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018               $186.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       6/6/2018               $262.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018                  $8.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018                $37.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018                $43.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $101.50
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $168.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $195.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $245.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $268.50
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $355.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      6/22/2018               $627.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       7/5/2018                $15.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       7/5/2018                $85.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       7/5/2018               $223.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                       7/5/2018               $285.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018                $55.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018                $70.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $114.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $126.75
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $158.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $161.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $174.00
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $253.25
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $270.75
MATTHEW T. O'LEARY (DBA: O'LEARY FOUNDRY)          1120 N.CIRCLE                               COLORADO SPRINGS            CO    80909                    JEWELER                      7/17/2018               $281.00
MCM PROPERTIES LTD                                 P.O. BOX 2969                               ODESSA                      TX    79760-2969               RENT                         5/11/2018             $8,056.97
MCM PROPERTIES LTD                                 P.O. BOX 2969                               ODESSA                      TX    79760-2969               RENT                          6/1/2018             $8,056.97
MCM PROPERTIES LTD                                 P.O. BOX 2969                               ODESSA                      TX    79760-2969               RENT                         6/20/2018             $5,752.09
MFC BEAVERCREEK                                    PO BOX 46063                                HOUSTON                     TX    77210-6063               RENT                          6/1/2018             $8,333.50
MFC BEAVERCREEK                                    PO BOX 46063                                HOUSTON                     TX    77210-6063               RENT                         6/21/2018             $8,333.50
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $698.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/17/2018               $698.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      6/6/2018               $589.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/21/2018               $159.29
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/21/2018               $933.47
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/21/2018               $957.45
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018               $698.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018               $698.70
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/11/2018               $807.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/24/2018               $698.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/24/2018               $698.69
MILLER, RICK                                       2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/31/2018               $698.69




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
MILLER, RICK                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/31/2018               $807.69
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/16/2018             $1,295.96
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/16/2018             $1,391.90
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/16/2018             $2,635.00
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/16/2018             $3,069.04
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/25/2018             $2,598.00
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          5/25/2018             $8,592.51
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          6/22/2018             $1,505.76
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          6/22/2018             $9,886.47
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          6/29/2018           $11,401.97
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                           7/6/2018           $11,000.00
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          7/17/2018               $401.97
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          7/17/2018             $1,144.20
MINDSHIFT TECHNOLOGIES, INC                    500 COMMACK RD. STE #140                    COMMACK                     NY    11725                    MIS                          7/17/2018             $9,453.83
MISSOURI DEPTARTMENT OF REVENUE                P.O. BOX 840                                JEFFERSON CITY              MO 65105-0840                  TAX                          5/22/2018           $10,232.56
MISSOURI DEPTARTMENT OF REVENUE                P.O. BOX 840                                JEFFERSON CITY              MO 65105-0840                  TAX                          6/21/2018           $13,426.39
MISSOURI DEPTARTMENT OF REVENUE                P.O. BOX 840                                JEFFERSON CITY              MO 65105-0840                  TAX                          7/23/2018                $70.94
MISSOURI DEPTARTMENT OF REVENUE                P.O. BOX 840                                JEFFERSON CITY              MO 65105-0840                  TAX                          7/23/2018           $10,822.54
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/14/2018           $12,500.00
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/10/2018               $460.29
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/10/2018               $711.85
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/10/2018               $774.18
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/10/2018             $9,203.62
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/18/2018           $12,500.00
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/19/2018           $47,332.36
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/31/2018               $725.78
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/31/2018               $795.97
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/31/2018               $974.09
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/31/2018             $4,233.96
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        5/31/2018           $12,500.00
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        6/29/2018                $42.53
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        6/29/2018               $687.78
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        6/29/2018               $801.48
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        6/29/2018             $4,287.64
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        6/29/2018           $12,500.00
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        7/12/2018               $153.64
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        7/12/2018           $12,500.00
MOTWANI, RAJESH                                2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    OTHER                        7/19/2018           $60,000.00
MUNCIE MALL, LL                                180 EAST BROAD STREET                       COLUMBUS                    OH    43215                    RENT                          6/1/2018           $11,970.29
MUNCIE MALL, LL                                180 EAST BROAD STREET                       COLUMBUS                    OH    43215                    RENT                         6/21/2018           $11,970.29
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018                $93.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018                $98.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $120.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $138.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $166.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $176.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $180.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $180.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $181.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $182.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $183.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $211.00
NAVARRO, IVAN                                  2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $221.25




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                                                                                 Case No. 18-11818
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                                                                                                                                                Reasons for payment or    Dates of
                Creditor Name                            Address                              City             State       Zip        Country          transfer          Payments    Total Amount or value
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $226.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $244.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $256.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $272.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $280.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $295.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $331.75
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $370.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       5/9/2018               $423.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018                $98.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $158.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $164.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $177.25
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $499.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $547.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      5/25/2018               $598.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018                $75.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018                $85.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018               $101.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018               $202.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018               $248.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       6/6/2018               $284.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018                $34.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018                $88.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $129.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $134.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $144.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $167.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $169.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $183.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $186.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $186.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $188.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $201.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $218.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $225.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $228.25
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $241.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $242.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $251.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $303.25
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $316.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $332.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $366.25
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $548.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018               $607.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      6/21/2018             $1,143.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018                $93.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $120.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $136.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $162.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $169.00
NAVARRO, IVAN                          2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $177.00




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                                                                                                                                                       Reasons for payment or    Dates of
                       Creditor Name                           Address                               City             State       Zip        Country          transfer          Payments    Total Amount or value
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $180.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $200.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $213.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                       7/5/2018               $223.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $100.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $143.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $190.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $204.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $214.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $249.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $269.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $286.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $288.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $369.00
NAVARRO, IVAN                                 2200 W. FLORIDA                             HEMET                       CA    92545                    JEWELER                      7/17/2018               $688.00
NEBRASKA DEPT O                               P O BOX 94818                               LINCOLN                     NE    68509                    HUMAN RESOURCES              5/22/2018             $7,883.91
NEBRASKA DEPT O                               P O BOX 94818                               LINCOLN                     NE    68509                    HUMAN RESOURCES              6/20/2018             $3,047.08
NEBRASKA DEPT O                               P O BOX 94818                               LINCOLN                     NE    68509                    HUMAN RESOURCES              7/19/2018             $2,336.13
NEW RIVER ASSOCIATES                          P.O. BOX 511256                             LOS ANGELES                 CA    90051-7811               RENT                         5/18/2018           $19,368.73
NEW RIVER ASSOCIATES                          P.O. BOX 511256                             LOS ANGELES                 CA    90051-7811               RENT                         6/20/2018             $1,256.27
NEW RIVER ASSOCIATES                          P.O. BOX 511256                             LOS ANGELES                 CA    90051-7811               RENT                         6/20/2018           $19,368.73
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/25/2018               $183.75
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/25/2018               $392.50
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018                $77.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $124.25
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $128.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $132.75
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $139.25
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $166.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $169.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $175.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $176.25
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $177.75
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $190.25
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $197.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $199.50
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $208.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $209.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $213.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $230.75
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $233.25
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $233.75
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $237.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $259.50
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $278.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $282.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $296.50
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $319.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $335.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $345.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $367.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $383.00
NGUYEN, JIMMY DAVID                           102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $417.25




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                                City             State       Zip        Country          transfer          Payments    Total Amount or value
NGUYEN, JIMMY DAVID                              102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $475.00
NGUYEN, JIMMY DAVID                              102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $652.25
NGUYEN, JIMMY DAVID                              102 COTHRANE PLAZA                          MORGAN HILL                 CA    95037                    JEWELER                      5/30/2018               $736.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    CONSIGN                      5/11/2018             $5,000.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    CONSIGN                      5/21/2018             $5,000.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    CONSIGN                      5/25/2018             $3,000.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018                $35.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018                $40.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018               $150.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018               $370.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018             $1,190.00
NINACCI, INC.                                    550 SOUTH HILL ST                           LOS ANGELES                 CA    90013                    ASSET                        6/19/2018             $4,715.00
NMC MOUNTAIN STATES,LLC                          5850 CANOGA AVE                             WOODLAND HILLS              CA    91367                    RENT                         5/25/2018           $11,067.74
NMC MOUNTAIN STATES,LLC                          5850 CANOGA AVE                             WOODLAND HILLS              CA    91367                    RENT                         6/21/2018           $13,294.43
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018               $102.06
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018               $102.06
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018               $102.06
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018               $107.35
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018               $121.97
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018             $4,712.11
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    5/18/2018           $20,038.89
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018             $2,909.35
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018             $4,401.40
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018             $5,743.32
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018             $6,506.15
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018             $6,698.17
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                     6/1/2018           $14,664.58
NOBLE GIFT PACKAGING                             20 SAND PARK RD.                            CEDAR GROVE                 NJ    07009                    MARKETING                    6/22/2018             $4,456.95
NORTHERN CALIFORNIA RETAIL CLERKS                FILE #30467                                 SAN FRANCISCO               CA    94188-1326               PAYROLL                       5/9/2018             $6,031.27
NORTHERN CALIFORNIA RETAIL CLERKS                FILE #30467                                 SAN FRANCISCO               CA    94188-1326               PAYROLL                       6/6/2018             $5,776.00
NORTHERN CALIFORNIA RETAIL CLERKS                FILE #30467                                 SAN FRANCISCO               CA    94188-1326               PAYROLL                      7/20/2018           $10,954.78
NORTHTOWNE ASSOCIATES                            1051 BRINTON ROAD                           PITTSBURGH                  PA    15221                    RENT                         5/18/2018             $6,049.25
NORTHTOWNE ASSOCIATES                            1051 BRINTON ROAD                           PITTSBURGH                  PA    15221                    RENT                         6/21/2018             $6,049.25
NORTHTOWNE ASSOCIATES                            1051 BRINTON ROAD                           PITTSBURGH                  PA    15221                    RENT                         7/13/2018             $6,049.25
OAKRIDGE MALL LP                                 FILE #55714                                 LOS ANGELES                 CA    90074-5714               RENT                         5/11/2018           $27,341.89
OAKRIDGE MALL LP                                 FILE #55714                                 LOS ANGELES                 CA    90074-5714               RENT                         5/24/2018           $27,341.89
OAKRIDGE MALL LP                                 FILE #55714                                 LOS ANGELES                 CA    90074-5714               RENT                          6/8/2018           $27,341.89
OGG SALEM CENTE                                  DEPT. # 34794                               SAN FRANCISCO               CA    94139                    RENT                         5/11/2018           $10,249.08
OGG SALEM CENTE                                  DEPT. # 34794                               SAN FRANCISCO               CA    94139                    RENT                         5/25/2018           $10,249.08
OGG SALEM CENTE                                  DEPT. # 34794                               SAN FRANCISCO               CA    94139                    RENT                         6/21/2018           $10,249.08
OHIO VALLEY MAL                                  PO BOX 932400                               CLEVELAND                   OH    44193                    RENT                          6/1/2018             $9,127.39
OHIO VALLEY MAL                                  PO BOX 932400                               CLEVELAND                   OH    44193                    RENT                         6/21/2018             $9,127.39
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES              5/18/2018           $15,431.30
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES               6/1/2018           $11,911.99
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES              6/15/2018           $14,100.78
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES              6/29/2018           $15,040.44
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES              7/13/2018           $11,134.28
ORCHARD TRUST C                                  P.O. BOX 173764                             DENVER                      CO    80217-3464               HUMAN RESOURCES              7/27/2018           $15,011.83
P & D JEWELRY REPAIR                             1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018                $42.00
P & D JEWELRY REPAIR                             1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018                $55.00
P & D JEWELRY REPAIR                             1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018                $89.00
P & D JEWELRY REPAIR                             1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018                $98.00
P & D JEWELRY REPAIR                             1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $142.25




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                                                                                   In re Samuels Jewelers, Inc.
                                                                                        Case No. 18-11818
                                       Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                       Reasons for payment or    Dates of
                       Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $174.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $183.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $196.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $225.50
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $230.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $251.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $260.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $262.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       5/9/2018               $287.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018                $49.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $103.50
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $104.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $130.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $133.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $137.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $144.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $148.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $153.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $168.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $170.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $183.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $191.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $191.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $201.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $270.50
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $296.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $331.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $336.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $398.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $513.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      5/25/2018               $536.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $32.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $44.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $51.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $74.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $86.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018                $99.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $145.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $170.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $184.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $192.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $209.75
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $238.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $249.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $254.50
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $324.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $332.50
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       6/6/2018               $401.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      6/22/2018               $111.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      6/22/2018               $119.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      6/22/2018               $120.00
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      6/22/2018               $179.25
P & D JEWELRY REPAIR                          1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      6/22/2018               $223.00




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                                                                                             Case No. 18-11818
                                            Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                            Reasons for payment or    Dates of
                            Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       7/5/2018               $102.50
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       7/5/2018               $110.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                       7/5/2018               $474.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018                $76.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $125.75
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $138.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $144.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $154.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $185.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $223.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $231.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $233.00
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $305.25
P & D JEWELRY REPAIR                               1330 W EMPIRE MALL                          SIOUX FALLS                 SD    57106                    JEWELER                      7/17/2018               $329.25
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      5/11/2018               $551.57
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      5/11/2018               $572.27
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      5/22/2018               $401.53
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      5/31/2018               $192.15
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      5/31/2018               $551.97
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      6/18/2018                $26.69
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      6/18/2018                $47.42
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/2/2018               $235.74
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/2/2018               $542.15
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/3/2018               $658.89
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/9/2018               $364.31
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/9/2018               $378.44
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                       7/9/2018               $504.73
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      7/23/2018               $323.10
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      7/23/2018               $568.24
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      7/27/2018               $610.35
PACIFIC POWER                                      1033 NE 6TH AVENUE                          PORTLAND                    OR    97256-0001               UTILITY                      7/27/2018               $728.58
PARTNERS MALL ABILENE LLC                          145 W 45TH STREET                           NEW YORK                    NY    10036                    RENT                         5/18/2018             $8,440.21
PARTNERS MALL ABILENE LLC                          145 W 45TH STREET                           NEW YORK                    NY    10036                    RENT                         6/21/2018             $8,440.21
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $13.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $34.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $37.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $47.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $49.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $55.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $72.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $73.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $81.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018                $97.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $111.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $117.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $121.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $132.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $133.25
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $133.75
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $142.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $143.25
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $147.00
PASSEY & SON INC.                                  1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $153.00




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                                                                                In re Samuels Jewelers, Inc.
                                                                                     Case No. 18-11818
                                    Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                    Reasons for payment or    Dates of
                    Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $158.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $164.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $167.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $177.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $184.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $197.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $203.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $203.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $204.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $205.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $207.50
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $221.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $222.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $241.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $249.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $251.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $266.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $268.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $270.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $276.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $280.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $286.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $309.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $317.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $410.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       5/9/2018               $496.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $26.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $46.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $53.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $58.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $87.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018                $92.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $103.20
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $109.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $117.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $119.50
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $123.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $149.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $151.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $154.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $157.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $160.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $168.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $171.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $172.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $178.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $197.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $232.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $286.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $316.50
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $363.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $376.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      5/25/2018               $600.00




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                                                                                In re Samuels Jewelers, Inc.
                                                                                     Case No. 18-11818
                                    Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                    Reasons for payment or    Dates of
                    Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018                $13.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018                $17.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018                $55.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018                $90.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018                $96.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $121.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $129.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $134.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $145.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $158.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $161.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $170.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $189.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $194.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $225.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $232.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $244.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $246.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $248.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $260.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $310.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $313.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $321.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $333.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $342.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       6/6/2018               $383.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018                $53.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018                $61.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018                $83.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $126.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $129.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $132.50
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $135.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $140.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $153.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $163.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $168.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $169.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $186.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $193.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $198.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $201.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $212.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $219.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $224.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $244.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $261.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      6/22/2018               $417.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018                $20.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018                $48.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018                $58.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $105.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $127.75




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                                                                                In re Samuels Jewelers, Inc.
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                                                                                                                                                    Reasons for payment or    Dates of
                    Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $142.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $150.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $157.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $158.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $172.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $178.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $180.80
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $199.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $287.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $314.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                       7/5/2018               $355.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $10.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $12.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $32.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $35.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $65.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $75.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $83.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $97.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018                $98.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $102.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $104.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $111.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $117.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $125.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $133.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $138.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $141.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $146.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $148.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $172.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $175.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $184.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $201.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $205.75
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $213.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $224.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $260.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $274.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $290.25
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $383.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $387.00
PASSEY & SON INC.                          1625 SOUTH MAIN STREET                      SALT LAKE CITY              UT    84115                    JEWELER                      7/17/2018               $431.00
PFP COLUMBUS, L                            L-3581                                      COLUMBUS                    OH    43260                    RENT                          6/1/2018           $29,899.45
PFP COLUMBUS, L                            L-3581                                      COLUMBUS                    OH    43260                    RENT                         6/21/2018           $29,899.45
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                      5/22/2018               $588.92
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                      5/22/2018               $792.91
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                      5/31/2018               $364.55
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                      5/31/2018               $904.00
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                       7/2/2018               $405.46
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                       7/2/2018               $688.58
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                       7/2/2018               $821.52
PG&E                                       BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                       7/2/2018             $1,070.92




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                                                                                            Case No. 18-11818
                                           Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                          Reasons for payment or    Dates of
                           Creditor Name                           Address                             City               State       Zip        Country         transfer          Payments    Total Amount or value
PG&E                                              BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                      7/2/2018             $1,614.43
PG&E                                              BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                     7/23/2018             $1,283.39
PG&E                                              BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                     7/23/2018             $1,385.17
PG&E                                              BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                     7/23/2018             $1,624.24
PG&E                                              BOX 997300                                  SACRAMENTO                  CA    95899-7300               UTILITY                     7/27/2018               $406.66
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018               $298.77
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018               $412.04
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018               $692.08
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018             $1,910.66
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018             $2,355.61
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018             $2,644.12
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/11/2018             $3,273.91
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018                $96.81
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018               $260.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018               $404.79
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018             $2,050.35
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018             $2,923.90
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/18/2018             $4,264.15
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/25/2018               $363.72
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/25/2018               $591.05
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/25/2018             $1,666.34
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/25/2018             $3,467.82
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    5/25/2018             $3,911.07
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018               $317.87
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018               $337.50
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018               $405.94
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018               $528.13
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018             $2,231.01
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018             $2,995.89
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     6/1/2018             $3,183.66
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    6/29/2018               $360.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    6/29/2018             $2,731.72
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    6/29/2018             $3,246.08
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    6/29/2018             $3,662.20
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     7/6/2018               $397.91
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     7/6/2018               $450.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     7/6/2018             $1,048.22
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     7/6/2018             $3,891.79
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                     7/6/2018             $4,292.07
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018               $150.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018               $463.22
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018               $684.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018             $1,052.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018             $1,183.00
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018             $1,410.50
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018             $1,683.50
POINT 2 POINT GLOBAL SECURITY, INC.               14346 JARRETSVILLE PIKE                     PHOENIX                     MD 21131                       SECURITY                    7/12/2018             $3,373.78
POM-COLLEGE STATION, LLC                          2030 HAMILTON PLACE BLVD.                   CHATTANOOGA                 TN    37421-6000               RENT                        5/25/2018             $9,995.12
POM-COLLEGE STATION, LLC                          2030 HAMILTON PLACE BLVD.                   CHATTANOOGA                 TN    37421-6000               RENT                        6/21/2018             $9,995.12
PUEBLO CITY OF                                    P.O. BOX 1427                               PUEBLO                      CO    81002                    TAX                         5/24/2018             $2,091.16
PUEBLO CITY OF                                    P.O. BOX 1427                               PUEBLO                      CO    81002                    TAX                         6/25/2018             $3,038.12
PUEBLO CITY OF                                    P.O. BOX 1427                               PUEBLO                      CO    81002                    TAX                         7/24/2018             $1,895.18
PUEBLO CITY OF                                    P.O. BOX 1427                               PUEBLO                      CO    81002                    TAX                          8/6/2018                $50.00




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                                                                                                                                                           Reasons for payment or    Dates of
                         Creditor Name                             Address                               City             State       Zip        Country          transfer          Payments    Total Amount or value
PUEBLO CITY OF                                    P.O. BOX 1427                               PUEBLO                      CO    81002                    TAX                           8/6/2018                $75.00
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      5/31/2018             $3,308.28
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      6/18/2018             $6,105.52
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      7/23/2018             $1,100.25
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      7/23/2018             $2,932.19
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      7/27/2018             $1,081.16
QWEST COMMERCIAL SERVICES (CENTURY LINK)          P.O. BOX 52187                              PHOENIX                     AZ    85072-2187               UTILITY                      7/27/2018             $2,858.99
RAZOYO, LLC                                       6053 NORTH MAIN STREET #235                 THE COLONY                  TX    75056                    OTHER                        5/18/2018               $242.10
RAZOYO, LLC                                       6054 NORTH MAIN STREET #235                 THE COLONY                  TX    75057                    OTHER                        5/18/2018             $3,274.56
RAZOYO, LLC                                       6056 NORTH MAIN STREET #235                 THE COLONY                  TX    75059                    OTHER                         6/1/2018             $3,274.56
RAZOYO, LLC                                       6057 NORTH MAIN STREET #235                 THE COLONY                  TX    75060                    OTHER                         8/3/2018             $3,274.56
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/11/2018               $193.46
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/11/2018             $1,976.79
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/11/2018             $2,225.00
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/11/2018             $2,610.00
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/11/2018             $2,994.75
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/21/2018               $331.54
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/21/2018             $1,868.50
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/21/2018             $2,929.00
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/21/2018             $4,358.25
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      5/21/2018             $5,512.71
RDI DIAMONDS                                      2300 W RIDGE ROAD                           ROCHESTER                   NY    14626                    CONSIGN                      6/12/2018             $2,600.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018                $38.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018                $66.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018                $98.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $109.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $114.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $118.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $127.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $136.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $144.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $144.25
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $147.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $164.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $174.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $203.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $255.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       5/9/2018               $364.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      5/25/2018                $90.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      5/25/2018               $109.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      5/25/2018               $116.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      5/25/2018               $150.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       6/6/2018                $90.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       6/6/2018               $110.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       6/6/2018               $390.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       7/5/2018                $85.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       7/5/2018               $119.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                       7/5/2018               $179.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      7/17/2018               $150.25
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      7/17/2018               $157.25
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      7/17/2018               $163.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      7/17/2018               $165.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT    84097                    JEWELER                      7/17/2018               $169.00




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                                                                                                                                                           Reasons for payment or    Dates of
                           Creditor Name                          Address                                City              State       Zip       Country          transfer          Payments    Total Amount or value
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $172.75
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $188.75
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $206.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $209.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $215.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $237.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/17/2018               $364.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018                $12.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018                $63.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018                $82.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $109.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $130.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $150.75
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $158.25
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $180.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $204.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $208.75
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $224.00
REID GOLDSMITHING SERVICES INC.                   575 EAST UNIVERSITY PKWY.                   OREM                        UT     84097                   JEWELER                      7/23/2018               $654.00
RENAISSANCE PARTNERS I,LLC                        P.O. BOX 678021                             DALLAS                      TX     75267-8021              RENT                          6/1/2018           $11,141.54
RENAISSANCE PARTNERS I,LLC                        P.O. BOX 678021                             DALLAS                      TX     75267-8021              RENT                         6/20/2018           $11,141.54
RETAIL CREDIT SOLUTIONS                           2275 HALF DAY ROAD                          BANNOCKBURN                 IL     60015                   BANK FEES                    5/15/2018             $5,562.25
RETAIL CREDIT SOLUTIONS                           2275 HALF DAY ROAD                          BANNOCKBURN                 IL     60015                   BANK FEES                    5/15/2018           $20,000.00
RETAIL CREDIT SOLUTIONS                           2275 HALF DAY ROAD                          BANNOCKBURN                 IL     60015                   BANK FEES                    6/26/2018           $50,000.00
RETAIL CREDIT SOLUTIONS                           2275 HALF DAY ROAD                          BANNOCKBURN                 IL     60015                   BANK FEES                    7/12/2018           $51,728.97
RETAIL CREDIT SOLUTIONS                           2275 HALF DAY ROAD                          BANNOCKBURN                 IL     60015                   BANK FEES                     8/2/2018           $50,000.00
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                      5/9/2018               $150.84
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                      5/9/2018               $856.94
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/16/2018               $150.84
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/16/2018             $1,501.95
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/24/2018               $150.84
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/24/2018               $227.00
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/24/2018               $435.63
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/24/2018               $580.84
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/30/2018               $743.00
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/30/2018               $950.00
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     5/30/2018             $1,496.53
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                      7/2/2018               $900.28
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     7/11/2018             $1,226.60
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     7/24/2018               $593.99
RICHARD BROADBENT                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX     78741                   EMPLOYEE                     7/24/2018               $869.03
RICHMOND MALL LLC                                 P.O. BOX 204227                             AUGUSTA                     GA     204227                  RENT                         5/18/2018           $13,279.79
RICHMOND MALL LLC                                 P.O. BOX 204227                             AUGUSTA                     GA     204227                  RENT                         6/21/2018           $13,279.79
RIMROCK OWNER L                                   591 WEST PUTNAM AVENUE                      GREENWICH                   CT     06830                   RENT                         5/18/2018           $17,713.01
RIMROCK OWNER L                                   591 WEST PUTNAM AVENUE                      GREENWICH                   CT     06830                   RENT                          6/8/2018           $20,502.76
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018                $20.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018                $29.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018                $35.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018                $65.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018               $100.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018               $104.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018               $105.00
ROCK ART JEWELRY CREATIONS                        5271 GRANITE DRIVE                          HILLIARD                    OH     43026                   JEWELER                       5/9/2018               $134.75




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                         Address                                 City             State       Zip        Country          transfer          Payments    Total Amount or value
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $137.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $141.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $146.50
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $151.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $154.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $155.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $161.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $173.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $175.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $176.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $180.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $182.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $185.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $191.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $191.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $199.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $206.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $210.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $228.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $229.50
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $242.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $254.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $282.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $283.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $284.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $290.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $295.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $330.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $368.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       5/9/2018               $398.50
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018                  $7.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018                $34.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018                $88.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $119.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $121.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $144.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $173.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $174.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $182.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $222.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $245.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $270.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      5/25/2018               $370.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018                  $8.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018                $23.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $102.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $122.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $152.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $166.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $176.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $185.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $198.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $207.00




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                         Address                                  City            State       Zip        Country          transfer          Payments    Total Amount or value
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $232.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $255.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $269.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $279.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       6/6/2018               $303.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $61.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $81.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $85.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $88.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $91.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $95.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $96.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018                $97.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $106.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $110.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $120.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $133.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $134.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $141.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $147.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $148.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $150.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $151.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $155.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $159.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $162.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $168.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $171.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $176.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $179.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $190.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $193.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $240.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $245.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $246.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $251.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $326.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $414.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $418.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      6/22/2018               $480.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018                $23.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018                $65.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $140.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $179.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $192.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $194.50
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $209.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $229.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $248.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $250.50
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $254.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $263.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $349.25




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                                 City            State       Zip        Country          transfer          Payments    Total Amount or value
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $364.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                       7/5/2018               $480.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018                $39.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018                $58.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $117.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $126.75
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $128.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $137.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $137.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $158.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $169.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $171.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $173.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $175.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $200.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $241.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $247.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $253.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $308.25
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $312.00
ROCK ART JEWELRY CREATIONS                       5271 GRANITE DRIVE                          HILLIARD                    OH    43026                    JEWELER                      7/17/2018               $509.50
ROCKET RED BOX, INC.                             375 EXECUTIVE BLVD                          ELMSFORD                    NY    10523                    ADVT                          6/1/2018             $9,735.40
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018                $43.29
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018               $527.33
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018             $2,103.82
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/30/2018             $1,428.02
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/30/2018             $2,265.19
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/13/2018               $211.44
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/13/2018             $1,939.85
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018             $1,867.37
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018             $2,616.74
RODRIGUEZ, JERR                                  2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/24/2018             $1,690.84
ROGERS RETAIL,                                   P.O. BOX 860066                             MINNEAPOLIS                 MN 55486-0066                  RENT                         5/18/2018           $14,666.18
ROGERS RETAIL,                                   P.O. BOX 860066                             MINNEAPOLIS                 MN 55486-0066                  RENT                         6/21/2018           $14,666.18
ROGUE VALLEY MALL L.L.C.                         4435 EASTGATE MALL,STE 310                  SAN DIEGO                   CA    92121                    RENT                         5/11/2018             $9,741.83
ROGUE VALLEY MALL L.L.C.                         4435 EASTGATE MALL,STE 310                  SAN DIEGO                   CA    92121                    RENT                         5/25/2018             $9,741.83
ROGUE VALLEY MALL L.L.C.                         4435 EASTGATE MALL,STE 310                  SAN DIEGO                   CA    92121                    RENT                         6/21/2018               $900.00
ROGUE VALLEY MALL L.L.C.                         4435 EASTGATE MALL,STE 310                  SAN DIEGO                   CA    92121                    RENT                         6/21/2018             $9,741.83
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018                $61.65
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018                $80.17
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018                $85.33
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018                $87.26
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $107.96
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $132.36
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $143.68
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $150.27
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $180.66
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $201.38
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $203.38
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $215.26
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $234.26
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/11/2018               $573.63
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                        5/29/2018                $21.62




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                                                                                                                                                         Reasons for payment or    Dates of
                          Creditor Name                           Address                                City            State       Zip        Country         transfer          Payments    Total Amount or value
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $33.15
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $42.28
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $43.58
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $67.48
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $74.05
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018                $80.38
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $114.71
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $137.21
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $144.88
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $153.75
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $178.30
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $180.52
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $201.38
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $233.08
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $310.48
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       5/29/2018               $615.54
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $17.55
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $18.71
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $20.50
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $21.13
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $23.58
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $23.89
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $24.66
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $33.44
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $57.28
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $62.19
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $82.08
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018                $95.38
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $142.25
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $181.97
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $257.15
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $273.57
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $314.19
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $374.54
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       6/15/2018               $475.94
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $115.03
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $115.79
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $139.77
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $177.10
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $495.76
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $620.13
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/13/2018               $857.01
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/26/2018               $636.73
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/26/2018               $773.44
ROSECO INC.                                      P.O. BOX 802217                             DALLAS                      TX    75380                    OTHER                       7/26/2018             $1,051.09
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/11/2018                $30.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/11/2018               $349.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/11/2018               $564.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/11/2018             $1,918.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/11/2018             $2,139.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/21/2018                $21.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/21/2018             $1,959.00
ROYAL JEWELRY MFG. INC.                          825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/21/2018             $3,020.00




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                                                                                          Case No. 18-11818
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                                                                                                                                                        Reasons for payment or    Dates of
                         Creditor Name                          Address                               City              State       Zip        Country         transfer          Payments    Total Amount or value
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/25/2018               $138.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     5/25/2018             $1,657.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     6/19/2018               $500.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     6/22/2018             $1,000.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     7/13/2018               $200.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     7/20/2018               $616.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     7/26/2018               $116.00
ROYAL JEWELRY MFG. INC.                         825 NORTHERN BLVD                           GREAT NECK                  NY    11021                    CONSIGN                     7/26/2018               $220.00
RVM LLC(RIVER VALLEY MALL)                      3228 COLLINGSWORTH STREET                   FORT WORTH                  TX    76107                    RENT                        5/11/2018             $5,179.20
RVM LLC(RIVER VALLEY MALL)                      3228 COLLINGSWORTH STREET                   FORT WORTH                  TX    76107                    RENT                         6/1/2018             $5,179.20
RVM LLC(RIVER VALLEY MALL)                      3228 COLLINGSWORTH STREET                   FORT WORTH                  TX    76107                    RENT                        6/21/2018             $5,179.20
SA MARY OHIO, L                                 3461 TOWNE BLVD.                            FRANKLIN                    OH    45005                    RENT                        5/11/2018             $8,311.00
SA MARY OHIO, L                                 3461 TOWNE BLVD.                            FRANKLIN                    OH    45005                    RENT                        7/15/2018             $8,311.00
SA MARY OHIO, L                                 3461 TOWNE BLVD.                            FRANKLIN                    OH    45005                    RENT                        7/18/2018             $8,311.00
SANDUSKY MALL                                   PO BOX 932400                               CLEVELAND                   OH    44193                    RENT                         6/1/2018             $7,358.13
SANDUSKY MALL                                   PO BOX 932400                               CLEVELAND                   OH    44193                    RENT                        6/21/2018             $7,358.13
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     5/11/2018           $10,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     5/21/2018           $10,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     5/25/2018           $15,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                      6/4/2018           $13,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     6/12/2018           $10,700.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     6/19/2018           $12,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     6/26/2018           $17,500.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     6/28/2018           $11,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                      7/6/2018             $8,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     7/19/2018           $11,000.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     7/20/2018             $8,932.40
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                     7/26/2018           $11,016.00
SEIKO CORPORATION OF AMERICA                    P.O. BOX #100167                            ATLANTA                     GA    30384-0167               CONSIGN                      8/1/2018           $12,512.00
SEMICON BUSINESS PARK, LTD.                     10711 BURNET ROAD                           AUSTIN                      TX    78758                    RENT                         6/1/2018           $26,256.39
SEMICON BUSINESS PARK, LTD.                     10711 BURNET ROAD                           AUSTIN                      TX    78758                    RENT                        6/21/2018           $26,256.39
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    5/17/2018               $317.23
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    5/17/2018             $3,039.54
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    5/30/2018             $1,143.55
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    5/30/2018             $1,948.06
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     7/2/2018               $326.69
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/10/2018             $1,138.71
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/10/2018             $1,766.84
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/24/2018               $202.32
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/24/2018               $261.29
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/24/2018               $324.02
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/31/2018               $267.14
SHAH, BHAVESH                                   2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                    7/31/2018               $855.59
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/11/2018             $5,000.00
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018                $12.61
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018                $82.00
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018               $100.00
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018               $830.80
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018             $1,402.44
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/21/2018             $2,572.15
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                     5/25/2018             $2,500.00
SHAHAR DIAMONDS LLC                             15 WEST 47TH STREET                         NEW YORK                    NY    10036                    CONSIGN                      6/4/2018             $1,500.00
SIERRA VISTA MALL                               SDS-12-2337                                 MINNEAPOLIS                 MN 55486                       RENT                        5/11/2018           $16,825.11




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                                                                                                                                                                  Reasons for payment or    Dates of
                          Creditor Name                                   Address                               City              State       Zip       Country          transfer          Payments    Total Amount or value
SIERRA VISTA MALL                                        SDS-12-2337                                 MINNEAPOLIS                 MN 55486                       RENT                          6/1/2018           $16,825.11
SIERRA VISTA MALL                                        SDS-12-2337                                 MINNEAPOLIS                 MN 55486                       RENT                         6/21/2018           $16,825.11
SILVERMAN-FONVILLE, INC.                                 5013 VISTA DEL MONTE                        EL PASO                     TX     79922                   RENT                         5/18/2018             $6,917.08
SILVERMAN-FONVILLE, INC.                                 5013 VISTA DEL MONTE                        EL PASO                     TX     79922                   RENT                          6/8/2018             $6,917.08
SILVERMAN-FONVILLE, INC.                                 5013 VISTA DEL MONTE                        EL PASO                     TX     79922                   RENT                          7/6/2018             $6,917.08
SIMON PROPERTY GROUP (TX)                                867640 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         5/11/2018           $18,144.43
SIMON PROPERTY GROUP (TX)                                867640 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018             $1,311.01
SIMON PROPERTY GROUP (TX)                                867640 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018           $18,528.99
SIMON PROPERTY GROUP (TX)                                867640 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         7/24/2018           $18,528.99
SIMON PROPERTY GROUP(TEXAS)LP(CIELO VISTA MALL)          867728 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         5/11/2018           $19,046.23
SIMON PROPERTY GROUP(TEXAS)LP(CIELO VISTA MALL)          867728 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         6/20/2018             $2,922.99
SIMON PROPERTY GROUP(TEXAS)LP(CIELO VISTA MALL)          867728 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         6/20/2018           $19,611.01
SIMON PROPERTY GROUP(TEXAS)LP(CIELO VISTA MALL)          867728 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0077              RENT                         7/24/2018           $19,611.01
SIMON PROPERTY GROUP, L.P                                867800 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0078              RENT                         5/11/2018           $14,581.19
SIMON PROPERTY GROUP, L.P                                867800 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0078              RENT                         6/20/2018             $1,784.94
SIMON PROPERTY GROUP, L.P                                867800 RELIABLE PARKWAY                     CHICAGO                     IL     60686-0078              RENT                         6/20/2018           $14,994.06
SM MESA MALL                                             PO BOX 849455                               LOS ANGELES                 CA     90084-9455              RENT                         5/18/2018             $9,945.10
SM MESA MALL                                             PO BOX 849455                               LOS ANGELES                 CA     90084-9455              RENT                         6/21/2018             $9,945.10
SMILES INC                                               507 MALLARD LOOP                            PINE BLUFF                  AR     71603-7954              RENT                         5/11/2018             $4,875.00
SMILES INC                                               507 MALLARD LOOP                            PINE BLUFF                  AR     71603-7954              RENT                          6/1/2018             $4,875.00
SMILES INC                                               507 MALLARD LOOP                            PINE BLUFF                  AR     71603-7954              RENT                         6/21/2018             $4,875.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       5/9/2018                $55.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       5/9/2018                $79.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       5/9/2018                $84.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       5/9/2018               $101.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       5/9/2018             $1,049.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      5/25/2018               $186.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      5/25/2018               $458.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $152.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $192.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $275.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $334.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $509.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $585.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $651.25
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $689.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $760.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $936.25
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018               $949.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       6/6/2018             $1,182.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                       7/5/2018               $663.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      7/13/2018               $265.75
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      7/13/2018               $595.25
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      7/17/2018                $48.00
SMITH & STEVENS, INC.                                    1600 NORTH RIVERSIDE                        MEDFORD                     OR     97501                   JEWELER                      7/17/2018               $748.00
SOUTH COUNTY SHOPPINGTOWN, LLC                           P.O. BOX 955607                             ST. LOUIS                   MO 63195-5607                  RENT                          6/1/2018           $16,003.42
SOUTH COUNTY SHOPPINGTOWN, LLC                           P.O. BOX 955607                             ST. LOUIS                   MO 63195-5607                  RENT                         6/21/2018           $16,003.42
SOUTH DAKOTA SECRETARY OF STATE                          300 SOUTH SYCAMORE AVENUE                   SIOUX FALLS                 SD     57100                   TAX                          5/22/2018             $3,885.84
SOUTH DAKOTA SECRETARY OF STATE                          300 SOUTH SYCAMORE AVENUE                   SIOUX FALLS                 SD     57100                   TAX                          6/20/2018             $5,136.61
SOUTH DAKOTA SECRETARY OF STATE                          300 SOUTH SYCAMORE AVENUE                   SIOUX FALLS                 SD     57100                   TAX                          7/23/2018             $6,417.44
SOUTHGATE MALL ASSOCIATES, LLP                           2901 BROOKS STREET                          MISSOULA                    MT 59801                       RENT                          6/1/2018             $4,132.92
SOUTHGATE MALL ASSOCIATES, LLP                           2901 BROOKS STREET                          MISSOULA                    MT 59801                       RENT                         6/21/2018             $7,281.04
SPECTROTEL HOLDING COMPANY, INC.                         PO BOX 1949                                 NEWARK                      NJ     07101                   UTILITY                      5/31/2018             $3,750.39




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                                                                                                                                                           Reasons for payment or    Dates of
                           Creditor Name                           Address                                City             State       Zip       Country          transfer          Payments    Total Amount or value
SPECTROTEL HOLDING COMPANY, INC.                  PO BOX 1949                                 NEWARK                      NJ     07101                   UTILITY                       7/2/2018               $658.89
SPECTROTEL HOLDING COMPANY, INC.                  PO BOX 1949                                 NEWARK                      NJ     07101                   UTILITY                       7/2/2018             $3,792.15
SPECTROTEL HOLDING COMPANY, INC.                  PO BOX 1949                                 NEWARK                      NJ     07101                   UTILITY                      7/23/2018             $3,875.18
SPG PRIEN, LLC                                    867890 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         5/11/2018           $13,440.02
SPG PRIEN, LLC                                    867890 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018             $1,064.85
SPG PRIEN, LLC                                    867890 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018           $14,064.15
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      5/11/2018             $6,000.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      5/21/2018             $5,000.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      5/25/2018                $45.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      5/25/2018               $970.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      5/25/2018               $973.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                       6/4/2018             $1,500.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      6/19/2018               $500.00
SRB TRADING                                       7 WEST 45 STREET                            NEW YORK                    NY     10036                   CONSIGN                      6/29/2018               $100.00
ST MALL OWNER, LLC                                P.O. BOX 101612                             PASADENA                    CA     91189-1612              RENT                         5/11/2018           $14,902.78
ST MALL OWNER, LLC                                P.O. BOX 101612                             PASADENA                    CA     91189-1612              RENT                         6/21/2018           $14,902.78
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     6/22/2018             $4,500.00
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018               $234.43
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018               $513.60
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018               $741.37
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018               $830.14
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018             $1,058.10
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/2/2018             $1,622.36
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/6/2018                  $0.03
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      7/6/2018             $3,963.67
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/17/2018                $97.55
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/17/2018             $5,052.45
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/23/2018             $2,454.87
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/23/2018             $7,545.13
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/27/2018               $382.45
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/27/2018               $785.66
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/27/2018             $1,501.53
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/27/2018             $1,861.45
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                     7/27/2018             $5,468.91
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      8/3/2018             $2,941.48
ST.MORITZ SECURITY SERVICES INC.                  4600 CLAIRTON BLVD.                         PITTSBURGH                  PA     15236                   SECURITY                      8/3/2018             $7,058.52
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $14.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $21.75
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $30.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $49.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $51.25
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018                $99.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $103.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $111.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $116.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $119.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $123.75
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $126.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $128.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $133.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $134.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $137.00
STACY REID JEWELERS                               1200 TOWNE CENTER BLVD.                     PROVO                       UT     84601                   JEWELER                       5/9/2018               $138.00




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                                                                                                                                                      Reasons for payment or    Dates of
                      Creditor Name                          Address                                 City            State       Zip        Country          transfer          Payments    Total Amount or value
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $156.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $169.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $210.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $238.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $242.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       5/9/2018               $297.50
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $10.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $43.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $61.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $64.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $67.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018                $74.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018               $110.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018               $164.25
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      5/25/2018               $207.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       6/6/2018                $41.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       6/6/2018                $50.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       6/6/2018               $196.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       6/6/2018               $209.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       7/5/2018                $38.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       7/5/2018               $208.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                       7/5/2018               $218.50
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/11/2018               $226.50
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/11/2018               $255.25
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/11/2018               $363.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018                $74.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018                $78.25
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018                $97.00
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $108.25
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $126.25
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $149.50
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $149.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $150.75
STACY REID JEWELERS                          1200 TOWNE CENTER BLVD.                     PROVO                       UT    84601                    JEWELER                      7/17/2018               $293.00
STAR-WEST JV, L                              P.O. BOX 912661                             DENVER                      CO    80291-2661               RENT                          6/1/2018           $17,340.35
STAR-WEST JV, L                              P.O. BOX 912661                             DENVER                      CO    80291-2661               RENT                         6/21/2018           $19,729.68
STATE OF ARIZONA                             DEPARTMENT OF REVENUE                       PHOENIX                     AZ    85038-9010               TAX                          5/21/2018           $14,131.18
STATE OF ARIZONA                             DEPARTMENT OF REVENUE                       PHOENIX                     AZ    85038-9010               TAX                          6/21/2018             $5,701.00
STATE OF ARIZONA                             DEPARTMENT OF REVENUE                       PHOENIX                     AZ    85038-9010               TAX                          6/21/2018           $14,878.48
STATE OF ARIZONA                             DEPARTMENT OF REVENUE                       PHOENIX                     AZ    85038-9010               TAX                          7/18/2018           $16,188.71
STATE OF COLORADO                            DEPARTMENT OF REVENUE                       DENVER                      CO    80261-0013               TAX                          5/21/2018           $11,915.16
STATE OF COLORADO                            DEPARTMENT OF REVENUE                       DENVER                      CO    80261-0013               TAX                          6/20/2018           $15,594.58
STATE OF COLORADO                            DEPARTMENT OF REVENUE                       DENVER                      CO    80261-0013               TAX                          7/20/2018           $13,339.73
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          5/21/2018             $3,798.67
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          5/21/2018             $6,140.68
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          6/18/2018               $300.00
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          6/20/2018             $3,545.37
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          6/20/2018             $3,985.12
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          7/20/2018             $3,755.09
STATE OF FLORIDA                             5050 WEST TENNESSEE STREET                  TALLAHASSEE                 FL    32399                    TAX                          7/20/2018             $5,207.04
STATE OF OKLAHOMA                            PO BOX 26930                                OKLAHOMA CITY               OK    73126-0930               TAX                          5/22/2018               $795.70
STATE OF OKLAHOMA                            PO BOX 26930                                OKLAHOMA CITY               OK    73126-0930               TAX                          5/22/2018             $1,090.00
STATE OF OKLAHOMA                            PO BOX 26930                                OKLAHOMA CITY               OK    73126-0930               TAX                          6/21/2018               $321.19




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                                                                                                                                                        Reasons for payment or    Dates of
                        Creditor Name                           Address                               City              State       Zip       Country          transfer          Payments    Total Amount or value
STATE OF OKLAHOMA                              PO BOX 26930                                OKLAHOMA CITY               OK     73126-0930              TAX                          6/21/2018             $1,423.00
STATE OF OKLAHOMA                              3613 N.W. 56TH STREET                       OKLAHOMA CITY               OK     76112                   TAX                          7/16/2018             $1,800.00
STATE OF OKLAHOMA                              PO BOX 26930                                OKLAHOMA CITY               OK     73126-0930              TAX                          7/23/2018               $534.63
STATE OF OKLAHOMA                              PO BOX 26930                                OKLAHOMA CITY               OK     73126-0930              TAX                          7/23/2018             $1,126.00
STATE OF WYOMING                               122 WEST 25TH STREET                        CHEYENNE                    WY 82002-0110                  TAX                          5/22/2018             $6,334.93
STATE OF WYOMING                               122 WEST 25TH STREET                        CHEYENNE                    WY 82002-0110                  TAX                          6/20/2018             $6,179.14
STATE OF WYOMING                               122 WEST 25TH STREET                        CHEYENNE                    WY 82002-0110                  TAX                          7/23/2018             $6,401.61
STONBRIAR MALL, LLC                            P.O. BOX 6374                               CAROL STREAM                IL     60197-6374              RENT                         5/18/2018           $19,586.80
STONBRIAR MALL, LLC                            P.O. BOX 6374                               CAROL STREAM                IL     60197-6374              RENT                         6/21/2018           $19,586.80
STONBRIAR MALL, LLC                            P.O. BOX 6374                               CAROL STREAM                IL     60197-6374              RENT                          7/6/2018           $19,586.80
STONERIDGE PROPERTIES LLC                      225 WEST WASHINGTON STREET                  INDIANAPOLIS                IN     46204-3438              RENT                         5/11/2018           $29,167.35
STONERIDGE PROPERTIES LLC                      225 WEST WASHINGTON STREET                  INDIANAPOLIS                IN     46204-3438              RENT                         6/20/2018             $3,251.07
STONERIDGE PROPERTIES LLC                      225 WEST WASHINGTON STREET                  INDIANAPOLIS                IN     46204-3438              RENT                         6/20/2018           $30,738.93
SUNRISE MALL PROPERTY                          P.O. BOX 80518                              CITY OF INDUSTRY            CA     91716                   RENT                         5/11/2018             $7,079.86
SUNRISE MALL PROPERTY                          P.O. BOX 80518                              CITY OF INDUSTRY            CA     91716                   RENT                          7/3/2018             $7,079.86
T NORTHGATE MALL                               P.O. BOX 644888                             PITTSBURGH                  PA     75248                   RENT                          6/1/2018           $17,401.97
T NORTHGATE MALL                               P.O. BOX 644888                             PITTSBURGH                  PA     75248                   RENT                         6/21/2018           $17,401.97
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/11/2018             $5,442.50
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/18/2018             $5,442.50
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/25/2018             $5,442.50
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/29/2018             $5,442.50
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/30/2018             $5,442.50
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/31/2018               $885.00
TEMEKA INCORPORATED                            9073 PULSAR COURT "B"                       CORONA                      CA     92883                   CONST                        5/31/2018             $4,557.50
TEXAS STATE COMPTROLLER                        P.O. BOX 149348                             AUSTIN                      TX     78714-9348              TAX                          6/20/2018          $129,147.27
TEXAS STATE COMPTROLLER                        P.O. BOX 149348                             AUSTIN                      TX     78714-9348              TAX                          6/22/2018           $41,123.83
TEXAS STATE COMPTROLLER                        P.O. BOX 149348                             AUSTIN                      TX     78714-9348              TAX                          6/22/2018          $133,478.08
TEXAS STATE COMPTROLLER                        P.O. BOX 149348                             AUSTIN                      TX     78714-9348              TAX                          7/20/2018          $142,746.02
THE AVENUES                                    10300 SOUTHSIDE BLVD                        JACKSONVILLE                FL     32256                   RENT                         5/11/2018           $12,842.77
THE AVENUES                                    10300 SOUTHSIDE BLVD                        JACKSONVILLE                FL     32256                   RENT                         6/20/2018               $666.09
THE AVENUES                                    10300 SOUTHSIDE BLVD                        JACKSONVILLE                FL     32256                   RENT                         6/20/2018           $13,320.91
THE BRANDT COMPANIES, LLC                      PO BOX 227351                               DALLAS                      TX     75222                   CONST                        5/16/2018           $10,825.00
THE MACERICH PARTNERSHIP                       PO BOX 849444                               LOS ANGELES                 CA     90084-9444              RENT                         5/25/2018           $19,872.32
THE MACERICH PARTNERSHIP                       PO BOX 849444                               LOS ANGELES                 CA     90084-9444              RENT                         6/20/2018               $909.68
THE MACERICH PARTNERSHIP                       PO BOX 849444                               LOS ANGELES                 CA     90084-9444              RENT                         6/20/2018           $19,872.32
THE MARION PLAZA, INC.                         P.O. BOX 932400                             CLEVELAND                   OH     44193                   RENT                          6/1/2018           $11,121.76
THE MARION PLAZA, INC.                         P.O. BOX 932400                             CLEVELAND                   OH     44193                   RENT                         6/21/2018           $11,121.76
THE TRAVELERS INDEMNITY COMPANY                385 WASHINGTON STREET                       SAINT PAUL                  MN 55102                       INSURANCE                     6/6/2018             $7,083.28
THE TRAVELERS INDEMNITY COMPANY                385 WASHINGTON STREET                       SAINT PAUL                  MN 55102                       INSURANCE                    7/20/2018             $6,447.00
THE TRAVELERS INDEMNITY COMPANY                385 WASHINGTON STREET                       SAINT PAUL                  MN 55102                       INSURANCE                    7/20/2018             $8,790.00
THE TRAVELERS INDEMNITY COMPANY                385 WASHINGTON STREET                       SAINT PAUL                  MN 55102                       INSURANCE                    7/20/2018             $9,290.30
THE TRAVELERS INDEMNITY COMPANY                385 WASHINGTON STREET                       SAINT PAUL                  MN 55102                       INSURANCE                    7/20/2018           $31,344.90
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES               7/2/2018             $1,997.00
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES               7/2/2018             $3,003.00
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES               7/6/2018               $946.98
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES               7/6/2018             $4,000.00
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $266.50
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $389.02
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $564.82
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $564.82
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $799.50
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018               $799.50
THE ULTIMATE SO                                P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018             $1,272.43




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                                                                                                                                                      Reasons for payment or    Dates of
                      Creditor Name                           Address                                City             State       Zip       Country          transfer          Payments    Total Amount or value
THE ULTIMATE SO                              P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018             $1,599.00
THE ULTIMATE SO                              P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018           $37,338.54
THE ULTIMATE SO                              P.O. BOX 930953                             ATLANTA                     GA     31193-0953              HUMAN RESOURCES              7/25/2018           $38,590.09
THUYTIEN VU                                  2718 SOUTHWEST PARKWAY                      WICHITA FALLS               TX     76308                   RENT                         5/11/2018           $11,147.26
THUYTIEN VU                                  2718 SOUTHWEST PARKWAY                      WICHITA FALLS               TX     76308                   RENT                          6/1/2018           $11,147.26
THUYTIEN VU                                  2718 SOUTHWEST PARKWAY                      WICHITA FALLS               TX     76308                   RENT                         6/21/2018           $11,147.26
THUYTIEN VU                                  2718 SOUTHWEST PARKWAY                      WICHITA FALLS               TX     76308                   RENT                         7/13/2018           $11,147.26
TIMES REFRIGERATION                          11610 ROJAS STE G                           EL PASO                     TX     79936                   MAINTINENCE                   8/2/2018             $7,815.65
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $40.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $46.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $69.75
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $70.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $80.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018                $98.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018               $129.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018               $130.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       5/9/2018               $150.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      5/25/2018               $212.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $48.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $50.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $54.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $60.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $75.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $80.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $85.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $87.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018                $87.75
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $108.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $128.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $131.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $135.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $153.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $164.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $173.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $195.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $196.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       6/6/2018               $418.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018                  $8.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018                $53.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018                $60.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018                $80.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $103.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $115.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $132.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $138.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $143.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $158.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $158.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $160.25
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $177.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $200.00
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $227.50
TIMOTHY PULLYARD                             922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                       7/5/2018               $249.00




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                                 City             State       Zip       Country          transfer          Payments    Total Amount or value
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018                $70.00
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018                $86.75
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $111.00
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $112.25
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $155.50
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $200.00
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $239.00
TIMOTHY PULLYARD                                 922 JONATHAN DRIVE                          PLAINFIELD                  IN     46168                   JEWELER                      7/17/2018               $557.00
TOWN EAST MALL, LLC                              P O BOX 86                                  MINNEAPOLIS                 MN 55486-1514                  RENT                         5/18/2018           $13,224.67
TOWN EAST MALL, LLC                              P O BOX 86                                  MINNEAPOLIS                 MN 55486-1514                  RENT                         6/21/2018           $13,224.67
TOWN EAST MALL, LLC                              P O BOX 86                                  MINNEAPOLIS                 MN 55486-1514                  RENT                          7/6/2018           $13,224.67
TOWNE WEST SQUARE, LLC                           P.O. BOX 402962                             ATLANTA                     GA     30384-2962              RENT                          6/1/2018           $12,922.89
TOWNE WEST SQUARE, LLC                           P.O. BOX 402962                             ATLANTA                     GA     30384-2962              RENT                         6/21/2018           $12,922.89
TRACEY MALL PARTNERS                             ROUSE PROPERTIES, INC- WEST VALLEY          MINNEAPOLIS                 MN 55486-1385                  RENT                         5/11/2018           $11,338.69
TRACEY MALL PARTNERS                             ROUSE PROPERTIES, INC- WEST VALLEY          MINNEAPOLIS                 MN 55486-1385                  RENT                          6/1/2018           $11,338.69
TRACEY MALL PARTNERS                             ROUSE PROPERTIES, INC- WEST VALLEY          MINNEAPOLIS                 MN 55486-1385                  RENT                          6/8/2018           $11,338.69
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              5/11/2018             $2,344.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              5/11/2018             $3,006.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              5/25/2018             $2,519.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              5/25/2018             $3,873.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              6/11/2018             $2,004.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              6/11/2018             $2,846.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              6/26/2018             $2,034.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              6/26/2018             $3,627.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              7/25/2018             $1,915.00
TREASURER - STA                                  P.O. BOX 10471                              DES MOINES                  IA     50306-0471              HUMAN RESOURCES              7/25/2018             $2,653.00
TREASURER OF STATE OF OHIO                       P.O. BOX 16561                              COLUMBUS                    OH     43266-0061              TAX                          5/11/2018           $10,476.00
TREASURER OF STATE OF OHIO                       P.O. BOX 16561                              COLUMBUS                    OH     43266-0061              TAX                          5/24/2018           $80,224.50
TREASURER OF STATE OF OHIO                       P.O. BOX 16561                              COLUMBUS                    OH     43266-0061              TAX                          6/26/2018           $86,556.29
TREASURER OF STATE OF OHIO                       P.O. BOX 16561                              COLUMBUS                    OH     43266-0061              TAX                          7/24/2018               $852.05
TREASURER OF STATE OF OHIO                       P.O. BOX 16561                              COLUMBUS                    OH     43266-0061              TAX                          7/24/2018           $56,783.47
TRI-COUNTY MALL                                  DEPT 781919                                 DETROIT                     MI     48278-1919              RENT                         5/11/2018           $11,383.65
TRI-COUNTY MALL                                  DEPT 781919                                 DETROIT                     MI     48278-1919              RENT                          6/1/2018           $11,383.65
TRI-COUNTY MALL                                  DEPT 781919                                 DETROIT                     MI     48278-1919              RENT                         6/21/2018           $11,383.65
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018                $26.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $134.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $137.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $226.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $253.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $258.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $314.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $330.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       6/6/2018               $349.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $137.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $165.50
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $176.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $207.75
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $279.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $341.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $406.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $507.50
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $600.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      6/22/2018               $603.50




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                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                                 City             State       Zip       Country          transfer          Payments    Total Amount or value
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018                $68.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $197.25
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $282.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $313.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $441.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $445.50
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $575.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $655.25
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                       7/5/2018               $750.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $155.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $184.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $223.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $233.25
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $243.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $279.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $293.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $391.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $446.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $575.00
TRUNG DO'S GOLDSMITH SERVICES, INC               8639 PACIFIC AVENUE                         TACOMA                      WA 98444                       JEWELER                      7/17/2018               $773.25
UNIVERSITY MALL SHOPPING CENTER                  2733 EAST PARLEYS WAY                       SALT LAKE CITY              UT     84109                   RENT                          6/1/2018           $11,795.97
UNIVERSITY MALL SHOPPING CENTER                  2733 EAST PARLEYS WAY                       SALT LAKE CITY              UT     84109                   RENT                         6/20/2018             $1,058.43
UNIVERSITY MALL SHOPPING CENTER                  2733 EAST PARLEYS WAY                       SALT LAKE CITY              UT     84109                   RENT                         6/20/2018           $11,851.57
UNIVERSITY PARK MALL, LLC                        867525 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         5/11/2018           $16,371.44
UNIVERSITY PARK MALL, LLC                        867525 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018               $818.56
UNIVERSITY PARK MALL, LLC                        867525 RELIABLE PARKWAY                     CHICAGO                     IL     60686                   RENT                         6/20/2018           $16,371.44
UNUM LIFE INSURANCE CO.                          P.O. BOX 403748                             ATLANTA                     GA     30384-3748              INSURANCE                    5/31/2018             $2,314.18
UNUM LIFE INSURANCE CO.                          P.O. BOX 403748                             ATLANTA                     GA     30384-3748              INSURANCE                    5/31/2018             $2,356.56
UNUM LIFE INSURANCE CO.                          P.O. BOX 403748                             ATLANTA                     GA     30384-3748              INSURANCE                     6/7/2018             $2,356.56
UTAH STATE TAX COMMISSION                        210 N. 1950 W.                              SALT LAKE CITY              UT     84134-0400              TAX                           6/1/2018           $45,121.45
UTAH STATE TAX COMMISSION                        210 N. 1950 W.                              SALT LAKE CITY              UT     84134-0400              TAX                           7/3/2018           $35,219.46
UTAH STATE TAX COMMISSION                        210 N. 1950 W.                              SALT LAKE CITY              UT     84134-0400              TAX                          7/16/2018               $100.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/10/2018               $905.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/10/2018               $975.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/10/2018             $1,115.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/10/2018             $1,489.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/10/2018             $1,941.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018                $18.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018               $886.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018               $888.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018               $889.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018               $924.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/18/2018               $980.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $415.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $494.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $511.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $520.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $572.50
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/21/2018               $645.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/25/2018               $292.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/25/2018               $333.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/25/2018               $430.00
VALENTINE JEWEL                                  31 WEST 47TH STREET                         NEW YORK                    NY     10036                   JEWELER                      5/25/2018               $680.00




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                                                                                                                                                   Reasons for payment or    Dates of
                   Creditor Name                          Address                                 City            State       Zip        Country          transfer          Payments    Total Amount or value
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $749.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      5/25/2018               $759.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018                $67.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $258.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $310.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $360.50
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $362.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $520.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $594.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                       6/6/2018               $803.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $198.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $207.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $254.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $262.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $264.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $294.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $310.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $317.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $334.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $402.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $443.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $527.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $662.00
VALENTINE JEWEL                           31 WEST 47TH STREET                         NEW YORK                    NY    10036                    JEWELER                      6/15/2018               $812.00
VALLEY FAIR MALL                          FILE #55702                                 LOS ANGELES                 CA    90074-5702               RENT                         5/18/2018           $28,292.66
VALLEY FAIR MALL                          FILE #55702                                 LOS ANGELES                 CA    90074-5702               RENT                         6/20/2018           $20,200.34
VALLEY FAIR MALL                          FILE #55702                                 LOS ANGELES                 CA    90074-5702               RENT                         6/20/2018           $28,292.66
VALLEY FAIR MALL                          FILE #55702                                 LOS ANGELES                 CA    90074-5702               RENT                         7/13/2018           $28,292.66
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $201.37
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $202.99
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $232.04
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $327.17
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      5/9/2018               $924.25
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     5/16/2018             $2,604.84
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/13/2018               $377.74
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/13/2018             $1,149.50
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                     6/21/2018             $2,167.96
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018               $401.85
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018               $401.85
VANG,KENG                                 2914 MONTOPOLIS DR. STE 200                 AUSTIN                      TX    78741                    EMPLOYEE                      7/2/2018             $1,065.70
VERIZON WIRELES                           P.O. BOX 660108                             DALLAS                      TX    75266-0108               UTILITY                      5/11/2018               $517.29
VERIZON WIRELES                           P.O. BOX 660108                             DALLAS                      TX    75266-0108               UTILITY                      5/31/2018             $1,032.51
VERIZON WIRELES                           P.O. BOX 660108                             DALLAS                      TX    75266-0108               UTILITY                      5/31/2018             $3,727.91
VERIZON WIRELES                           P.O. BOX 660108                             DALLAS                      TX    75266-0108               UTILITY                      6/18/2018             $6,936.04
VERIZON WIRELES                           P.O. BOX 660108                             DALLAS                      TX    75266-0108               UTILITY                      7/27/2018               $497.89
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $144.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $177.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $177.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $194.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $197.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $244.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       5/9/2018               $275.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      5/25/2018               $120.00




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                                                                               In re Samuels Jewelers, Inc.
                                                                                    Case No. 18-11818
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                                                                                                                                                   Reasons for payment or    Dates of
                   Creditor Name                         Address                                  City            State       Zip        Country          transfer          Payments    Total Amount or value
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      5/25/2018               $296.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      5/25/2018               $385.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018                $90.25
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $129.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $135.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $150.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $187.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $192.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $209.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $249.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $292.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       6/6/2018               $408.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018                $46.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018               $138.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018               $171.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018               $204.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018               $219.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      6/22/2018               $247.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       7/5/2018               $115.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       7/5/2018               $260.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       7/5/2018               $356.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                       7/5/2018               $390.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      7/17/2018                $34.00
VICTOR VILLAGRAN                          2200 SOUTH 10TH STREET                      MCALLEN                     TX    78503                    JEWELER                      7/17/2018               $219.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018                $76.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $115.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $126.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $134.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $144.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $145.75
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $186.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $198.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $206.50
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $217.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $228.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $244.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/15/2018               $248.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018                $84.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018                $89.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018                $90.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018                $90.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $100.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $100.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $104.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $109.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $118.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $120.25
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $123.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $126.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $130.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $136.50
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $140.00
VU, TUAN ANH                              8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $176.00




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                                                                                                                                               Reasons for payment or    Dates of
               Creditor Name                        Address                                   City            State       Zip        Country          transfer          Payments    Total Amount or value
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $179.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $182.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $188.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $189.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $213.50
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $215.75
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $222.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $226.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $227.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $228.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $230.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      5/25/2018               $249.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $119.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $122.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $125.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $140.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $171.50
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $201.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $211.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       6/6/2018               $338.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018                $62.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $112.75
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $115.50
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $116.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $118.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $140.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $145.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $155.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $188.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $188.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      6/22/2018               $241.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018                $54.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018                $77.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018                $83.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018                $95.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $101.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $107.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $111.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $120.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $135.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $150.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $166.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $167.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $200.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $246.50
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $257.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                       7/5/2018               $282.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018                $89.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $115.25
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $119.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $180.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $217.00
VU, TUAN ANH                          8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $220.00




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                                                                                                 Case No. 18-11818
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                                                                                                                                                                Reasons for payment or    Dates of
                         Creditor Name                               Address                                   City            State       Zip        Country          transfer          Payments    Total Amount or value
VU, TUAN ANH                                           8625 MORNING SKYE WAY                       ANTELOPE                    CA    95843                    JEWELER                      7/17/2018               $266.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $110.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $116.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $142.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $154.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $154.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $155.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $166.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $167.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $172.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $174.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $174.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $182.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $186.50
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $187.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $232.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $233.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $238.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $244.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $252.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $261.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $265.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $271.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $271.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $272.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $274.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $292.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $329.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       5/9/2018               $340.50
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018                $36.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018                $48.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018                $55.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018                $98.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $112.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $115.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $124.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $127.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $132.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $149.50
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $157.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $193.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $194.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $194.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $196.50
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $199.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $200.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $202.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $236.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $255.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      5/25/2018               $345.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018                $84.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018                $98.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $106.00




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                                                                                            In re Samuels Jewelers, Inc.
                                                                                                 Case No. 18-11818
                                                Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                                Reasons for payment or    Dates of
                        Creditor Name                                  Address                                 City            State       Zip        Country          transfer          Payments    Total Amount or value
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $123.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $129.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $130.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $147.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $160.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $162.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $165.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $250.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $280.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       6/6/2018               $415.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018                $64.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018                $84.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $117.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $134.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $166.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $173.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $178.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $178.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $186.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $209.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $238.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $251.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $314.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $369.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      6/22/2018               $398.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018                $98.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $107.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $124.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $172.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $176.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $193.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $233.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $253.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $285.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $301.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $306.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                       7/5/2018               $436.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018                $68.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $128.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $156.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $159.75
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $162.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $168.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $187.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $206.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $213.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $219.25
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $222.00
WAGNER, JEFFERY DBA WAGNER JEWELRY REPAIR LLC          C/O ANDREWS STORE# 657                      COLUMBUS                    OH    43219                    JEWELER                      7/17/2018               $375.00
WALLICK GOLDSMITHS, LLC                                25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018                $74.25
WALLICK GOLDSMITHS, LLC                                25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018                $79.50
WALLICK GOLDSMITHS, LLC                                25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018                $98.00
WALLICK GOLDSMITHS, LLC                                25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $146.00




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                                                                                      In re Samuels Jewelers, Inc.
                                                                                           Case No. 18-11818
                                          Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                          Reasons for payment or    Dates of
                          Creditor Name                          Address                              City               State       Zip        Country          transfer          Payments    Total Amount or value
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $171.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $184.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $186.25
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $192.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $218.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $230.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $257.82
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $304.81
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $339.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $366.25
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018               $808.69
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       5/9/2018             $1,011.01
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      5/25/2018                $66.41
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      5/25/2018                $73.27
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      5/25/2018               $156.13
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018                $75.36
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018                $93.96
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018                $99.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $100.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $107.50
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $132.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $134.50
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $184.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $200.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $265.50
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                       6/6/2018               $372.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018                $53.69
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018                $64.82
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $122.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $226.42
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $298.50
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $521.67
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $535.74
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      6/22/2018               $545.60
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018                $53.69
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018                $70.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018                $88.25
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $105.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $119.08
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $138.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $150.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $171.76
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $181.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $190.75
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $353.00
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $544.25
WALLICK GOLDSMITHS, LLC                          25 NE LOOP 410 STE 1100                     SAN ANTONIO                 TX    78216                    JEWELER                      7/17/2018               $547.80
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                  $7.00
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                  $9.00
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $15.00
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $16.00
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $16.00
WARRANTY LOGIST                                  1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $19.00




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                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                        Address                                   City            State       Zip        Country          transfer          Payments    Total Amount or value
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $26.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $30.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $37.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $40.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $47.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $65.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018                $82.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       5/9/2018               $160.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                  $2.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                  $4.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                  $9.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                  $9.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                  $9.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $10.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $12.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $12.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $19.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $19.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $21.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $27.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $27.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $28.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $30.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $32.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $33.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $33.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $37.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $38.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $41.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $41.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $50.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $51.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $52.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $58.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $59.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $61.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $61.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $66.00




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                                                                              In re Samuels Jewelers, Inc.
                                                                                   Case No. 18-11818
                                  Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                  Reasons for payment or    Dates of
                  Creditor Name                        Address                                   City            State       Zip        Country          transfer          Payments    Total Amount or value
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $69.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $72.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $79.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $84.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $85.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $86.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018                $96.50
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $102.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $111.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $123.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $153.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $171.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $172.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $193.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $210.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $435.50
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018               $524.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      5/25/2018             $1,339.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                  $3.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                  $3.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $12.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $12.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $16.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $24.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $24.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $24.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $25.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $26.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $28.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $36.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $37.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $39.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $45.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $45.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $46.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $57.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $66.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $67.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $78.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018                $84.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018               $138.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018               $154.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       6/6/2018               $190.25
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018                  $9.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018                  $9.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018                $41.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018                $62.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018                $89.75
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                      6/22/2018               $101.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       7/5/2018                $12.00
WARRANTY LOGIST                          1850 MIDWAY LANE                            SMYRNA                      TN    37167                    JEWELER                       7/5/2018                $15.00




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                                                                                     In re Samuels Jewelers, Inc.
                                                                                          Case No. 18-11818
                                         Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                         Reasons for payment or    Dates of
                         Creditor Name                          Address                                 City             State       Zip       Country          transfer          Payments    Total Amount or value
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                       7/5/2018                $21.00
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                       7/5/2018                $44.25
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                       7/5/2018                $72.25
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                       7/5/2018                $90.75
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                       7/5/2018               $220.00
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                      7/17/2018                $44.00
WARRANTY LOGIST                                 1850 MIDWAY LANE                            SMYRNA                      TN     37167                   JEWELER                      7/17/2018               $104.75
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        5/23/2018           $10,000.00
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                         6/1/2018             $4,466.52
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                         6/1/2018             $5,533.48
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                         6/8/2018           $20,000.00
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        6/15/2018           $10,000.02
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        6/29/2018           $10,000.00
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                         7/6/2018           $10,000.00
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        7/10/2018                $35.90
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        7/10/2018               $815.76
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        7/10/2018             $8,731.21
WARWICK CONSTRUCTION, INC                       365 FM 1959                                 HOUSTON                     TX     77034                   CONST                        7/13/2018           $20,000.00
WEA PALM DESERT LP                              2049 CENTURY PARK EAST                      LOS ANGELES                 CA     90067                   RENT                         5/11/2018           $15,909.29
WEA PALM DESERT LP                              2049 CENTURY PARK EAST                      LOS ANGELES                 CA     90067                   RENT                          6/1/2018           $15,909.29
WEA PALM DESERT LP                              2049 CENTURY PARK EAST                      LOS ANGELES                 CA     90067                   RENT                         6/21/2018           $15,909.29
WEA PALM DESERT LP                              2049 CENTURY PARK EAST                      LOS ANGELES                 CA     90067                   RENT                         7/13/2018           $15,909.29
WEEMS, MICHAEL                                  308 GOLDEN GATE DR                          LEANDER                     TX     78641                   CONST                         6/1/2018             $2,495.34
WEEMS, MICHAEL                                  308 GOLDEN GATE DR                          LEANDER                     TX     78641                   CONST                         6/1/2018             $4,599.00
WEEMS, MICHAEL                                  308 GOLDEN GATE DR                          LEANDER                     TX     78641                   CONST                         6/1/2018             $8,934.81
WEINGARTEN REALTY INVESTORS                     P.O. BOX 301074                             DALLAS                      TX     75303-1074              RENT                          6/1/2018           $13,146.49
WEINGARTEN REALTY INVESTORS                     P.O. BOX 301074                             DALLAS                      TX     75303-1074              RENT                         6/20/2018             $1,339.01
WEINGARTEN REALTY INVESTORS                     P.O. BOX 301074                             DALLAS                      TX     75303-1074              RENT                         6/20/2018           $13,146.49
WEST LOOP INTERIORS                             2603 LAUDERDALE CT.                         MCHENRY                     IL     60051                   CONST                        5/17/2018           $14,947.57
WESTERN STATES FIRE PROTECTION COMPANY          2005 LAMAR DRIVE                            ROUND ROCK                  TX     78664                   SECURITY                     5/31/2018             $8,000.00
WESTERN STATES FIRE PROTECTION COMPANY          2005 LAMAR DRIVE                            ROUND ROCK                  TX     78664                   SECURITY                      6/8/2018               $963.10
WESTERN STATES FIRE PROTECTION COMPANY          2005 LAMAR DRIVE                            ROUND ROCK                  TX     78664                   SECURITY                      6/8/2018             $1,082.50
WHITE MOUNTAIN MALL                             200 VESEY STREET                            NEW YORK                    NY     10281                   RENT                         5/11/2018           $10,250.67
WHITE MOUNTAIN MALL                             200 VESEY STREET                            NEW YORK                    NY     10281                   RENT                          6/1/2018           $10,250.67
WHITE MOUNTAIN MALL                             200 VESEY STREET                            NEW YORK                    NY     10281                   RENT                         6/21/2018           $10,250.67
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018                $52.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018                $58.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $131.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $161.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $175.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $268.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $280.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $295.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $341.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $343.50
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $387.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $443.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $456.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $459.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $461.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $490.00
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $571.25
WISE, ROBERT                                    5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                       5/9/2018               $576.00




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                                                                                Case No. 18-11818
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                                                                                                                                               Reasons for payment or    Dates of
               Creditor Name                         Address                                  City            State       Zip        Country          transfer          Payments    Total Amount or value
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       5/9/2018               $577.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       5/9/2018               $591.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       5/9/2018               $677.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       5/9/2018               $729.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       5/9/2018               $740.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018                $24.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018                $86.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $122.25
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $142.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $232.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $258.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $260.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $316.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $433.25
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $493.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $770.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $862.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      5/25/2018               $869.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       6/6/2018               $125.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       6/6/2018               $133.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       6/6/2018               $211.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       6/6/2018               $325.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       6/6/2018               $450.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018                $83.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $119.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $123.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $142.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $164.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $172.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $230.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $273.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $297.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $333.75
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $348.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $376.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $405.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $422.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $491.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $496.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $499.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      6/21/2018               $765.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018                $28.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $134.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $181.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $280.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $316.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $332.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $364.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $412.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                       7/5/2018               $440.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      7/17/2018                $76.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      7/17/2018               $102.00
WISE, ROBERT                          5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH    43016                    JEWELER                      7/17/2018               $161.00




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                                                                                         In re Samuels Jewelers, Inc.
                                                                                              Case No. 18-11818
                                             Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                             Reasons for payment or    Dates of
                             Creditor Name                         Address                                  City             State       Zip       Country          transfer          Payments    Total Amount or value
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $176.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $204.50
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $209.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $229.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $234.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $241.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $254.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $283.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $291.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $323.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $501.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $643.00
WISE, ROBERT                                        5043 TUTTLE CROSSING BLVD.                  DUBLIN                      OH     43016                   JEWELER                      7/17/2018               $956.00
WOODLAND HILLS MALL L.L.C.                          7693 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   RENT                         5/11/2018            $13,792.85
WOODLAND HILLS MALL L.L.C.                          7693 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   RENT                         6/20/2018               $816.46
WOODLAND HILLS MALL L.L.C.                          7693 COLLECTIONS CENTER DRIVE               CHICAGO                     IL     60693                   RENT                         6/20/2018            $15,019.54
WV DEPT OF TAX & REVENUE                            P.O. BOX 2745                               CHARLESTON                  WV 25330-2745                  TAX                          5/22/2018            $11,671.43
WV DEPT OF TAX & REVENUE                            P.O. BOX 2745                               CHARLESTON                  WV 25330-2745                  TAX                          6/22/2018            $13,320.35
WV DEPT OF TAX & REVENUE                            P.O. BOX 2745                               CHARLESTON                  WV 25330-2745                  TAX                          7/23/2018            $13,619.07
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        6/22/2018               $585.64
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        6/22/2018               $642.95
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        6/22/2018               $700.72
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        6/22/2018             $1,570.69
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $270.41
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $437.32
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $552.59
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $578.48
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $793.76
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                         7/2/2018               $867.44
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018                $72.29
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018                $77.84
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018                $92.19
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018               $110.68
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018               $154.21
XEROX CORPORATION                                   P.O. BOX 7405                               PASADENA                    CA     911097405               LEASE                        7/25/2018             $1,040.39
YELP INC                                            P O BOX 204393                              DALLAS                      TX     75320-4393              ADVT                         5/11/2018             $1,494.50
YELP INC                                            P O BOX 204393                              DALLAS                      TX     75320-4393              ADVT                         5/18/2018             $2,739.00
YELP INC                                            P O BOX 204393                              DALLAS                      TX     75320-4393              ADVT                          6/1/2018             $2,794.00
                                                                                                                                                                                           TOTAL:        $12,504,347.90




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                                                                                                              In re Samuels Jewelers, Inc.
                                                                                                                   Case No. 18-11818
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                                                                                                                                                         Relationship to                                             Dates of
        Insider Name                    Address1                      Address2                      City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments      Amount Paid
                            ATTN: PRESIDENT OR GENERAL        31650 DEQUINDRE RD STE                                                                    CHOKSI RELATED
EXCLUSIVE DESIGN DIRECT INC COUNSEL                           530                         STERLING HEIGHTS        MI             48310                  ENTITY             TRADE PAYMENTS FOR GOODS RECEIVED           VARIOUS    $6,645,000.00
                                                                                                                                                        CHOKSI RELATED
FIRESTAR DIAMOND INC.      592 FIFTH AVENUE 3RD FLOOR                                     NEW YORK                NY             10036                  ENTITY             TRADE PAYMENTS FOR GOODS RECEIVED           VARIOUS       $12,639.00
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 7/9/17 TO 7/22/17               7/28/2017       $2,634.95
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 7/23/17 TO 8/5/17               8/11/2017       $2,634.95
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 8/6/17 TO 8/19/17               8/25/2017       $2,634.94
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 8/20/17 TO 9/2/17                9/8/2017       $2,584.95
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 9/3/17 TO 9/16/17               9/22/2017       $2,634.95
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 9/17/17 TO 9/30/17              10/6/2017       $3,211.85
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 10/1/17 TO 10/14/17            10/20/2017       $3,338.78
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 10/15/17 TO 10/28/17            11/3/2017       $3,338.79
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 10/30/17 TO 11/11/17           11/17/2017       $3,338.78
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 11/12/17 TO 11/25/17            12/1/2017       $3,338.78
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 11/26/17 TO 12/9/17            12/15/2017       $3,338.79
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 12/10/17 TO 12/23/17           12/29/2017       $3,338.79
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 12/24/17 TO 1/6/18              1/12/2018       $2,634.95
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 1/7/18 TO 1/20/18               1/26/2018       $2,750.93
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 1/21/18 TO 2/3/18                2/9/2018       $2,750.94
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 2/4/18 TO 2/17/18               2/23/2018       $2,750.94
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           HOURS FROM 2/18/18 TO 3/3/18                3/9/2018       $2,750.93
                                                                                                                                                        FORMER             HOURS FROM 3/4/18 TO 3/17/18 PLUS
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           VACATION PAYOUT AT TERMINATION             3/14/2018       $8,027.77
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           SEVERANCE CHECK 1                          3/14/2018       $3,301.04
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           SEVERANCE CHECK 2                          3/14/2018      $16,505.19
                                                                                                                                                        FORMER
GANDHI, ANJANA             2213 SYCAMORE HILLS DRIVE                                      FORT WAYNE              IN             46814                  EMPLOYEE           SEVERANCE CHECK 3                          4/16/2018      $23,107.27
                                                                                                                                                        FORMER
GANDHI, DEEPAK J           2213 SYCAMORE HILL                                             FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             8/24/2017        $402.30
                                                                                                                                                        FORMER
GANDHI, DEEPAK J           2213 SYCAMORE HILL                                             FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             8/24/2017        $617.41
                                                                                                                                                        FORMER
GANDHI, DEEPAK J           2213 SYCAMORE HILL                                             FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             9/13/2017         $40.41
                                                                                                                                                        FORMER
GANDHI, DEEPAK J           2213 SYCAMORE HILL                                             FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             11/1/2017        $666.84
                                                                                                                                                        FORMER
GANDHI, DEEPAK J           2213 SYCAMORE HILL                                             FORT WAYNE              IN             46814                  EMPLOYEE           CONSULTING EXPENSE                        12/15/2017      $20,000.00




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                                                                                                           In re Samuels Jewelers, Inc.
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                                                                                                                                                      Relationship to                                             Dates of
        Insider Name               Address1                         Address2                     City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments      Amount Paid
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           CONSULTING EXPENSE                         1/25/2018      $10,000.00
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             2/14/2018        $573.00
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             2/14/2018       $1,466.90
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             2/14/2018        $486.60
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           CONSULTING EXPENSE                         2/14/2018      $10,000.00
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             2/21/2018        $726.46
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           EMPLOYEE EXPENSE REIMBURSEMENT             3/13/2018        $782.00
                                                                                                                                                     FORMER
GANDHI, DEEPAK J       2213 SYCAMORE HILL                                              FORT WAYNE              IN             46814                  EMPLOYEE           CONSULTING EXPENSE                         3/14/2018      $10,000.00
                       ATTN: SEHAL MOODY, CHIEF            62 WEST 47TH STREET STE                                                                   CHOKSI RELATED
GOGREEN DIAMONDS INC   OPERATING OFFICER                   #902-A                      NEW YORK                NY             10036                  ENTITY             TRADE PAYMENTS FOR GOODS RECEIVED           VARIOUS       $69,000.00
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                        10/20/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                        10/20/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                        10/20/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             11/3/2017        $408.55
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             11/3/2017        $468.75
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             11/3/2017        $577.86
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             11/3/2017        $663.59
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             11/3/2017        $843.34
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         11/3/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT            11/17/2017        $658.91
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                        11/17/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             12/1/2017       $1,009.60
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         12/1/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT            12/15/2017        $531.45
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                        12/15/2017       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              1/1/2018       $5,220.38
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                          1/1/2018       $4,166.67
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              2/2/2018        $467.14
                                                           2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH        C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              2/2/2018        $524.26




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                                                                                                                                                     Relationship to                                             Dates of
       Insider Name               Address1                         Address2                     City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments      Amount Paid
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              2/2/2018        $840.50
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                          2/2/2018       $4,166.67
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         2/21/2018       $4,166.67
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         3/15/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         3/15/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             3/22/2018        $695.80
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             3/22/2018        $706.40
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             3/22/2018        $792.93
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             3/22/2018        $943.38
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         3/22/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              4/5/2018        $830.69
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                          4/5/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT              4/7/2018       $1,119.98
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             4/19/2018         $95.49
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             4/19/2018        $117.60
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         4/19/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                          5/3/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/10/2018        $460.29
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/10/2018        $711.85
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/10/2018        $774.18
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          REIMBURSEMENT FOR COMPANY EXPENSE          5/10/2018       $9,203.62
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         5/18/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          REIMBURSEMENT FOR COMPANY EXPENSE          5/19/2018      $47,332.36
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/31/2018        $725.78
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/31/2018        $795.97
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/31/2018        $974.09
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             5/31/2018       $4,233.96
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         5/31/2018      $12,500.00




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                                                                                                                                                     Relationship to                                             Dates of
       Insider Name               Address1                         Address2                     City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments      Amount Paid
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         6/14/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             6/29/2018         $42.53
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             6/29/2018        $687.78
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             6/29/2018        $801.48
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             6/29/2018       $4,287.64
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         6/29/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          EMPLOYEE EXPENSE REIMBURSEMENT             7/12/2018        $153.64
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                         7/12/2018      $12,500.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 1                      7/19/2018      $60,000.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          CONSULTING EXPENSE                          8/1/2018      $25,000.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
MOTWANI, RAJESH       C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 2                       8/1/2018      $30,000.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 7/9/17 TO 7/22/17               7/28/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 7/23/17 TO 8/5/17               8/11/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/6/17 TO 8/19/17               8/25/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/20/17 TO 9/2/17                9/8/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 9/3/17 TO 9/16/17               9/22/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 9/17/17 TO 9/30/17              10/6/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 10/1/17 TO 10/14/17            10/20/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 10/15/17 TO 10/28/17            11/3/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 10/30/17 TO 11/11/17           11/17/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 11/12/17 TO 11/25/17            12/1/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 11/26/17 TO 12/9/17            12/15/2017       $1,181.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 12/10/17 TO 12/23/17           12/29/2017       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 12/24/17 TO 1/6/18              1/12/2018       $1,181.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 1/7/18 TO 1/20/18               1/26/2018       $1,204.23
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 1/21/18 TO 2/3/18                2/9/2018       $1,204.24
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 2/4/18 TO 2/17/18               2/23/2018       $1,191.77
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 2/18/18 TO 3/3/18                3/9/2018       $1,191.78




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                                                                                                                                                     Relationship to                                             Dates of
       Insider Name               Address1                         Address2             City                       State       Zip      Country          Debtor               Reasons for payment or transfer   Payments        Amount Paid
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200              AUSTIN                       TX             78741                  EXECUTIVE          HOURS FROM 3/4/18 TO 3/17/18               3/23/2018         $1,191.76
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200              AUSTIN                       TX             78741                  EXECUTIVE          HOURS FROM 3/18/18 TO 3/31/18               4/6/2018         $1,191.78
                                                                                                                                                                       HOURS FROM 4/1/18 TO 4/14/18 PLUS
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY            RETROACTIVE PAY FOR INCREASE FROM
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          2/25/18                                    4/20/2018        $14,427.36
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 4/15/18 TO 4/28/18               5/4/2018         $5,453.77
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 4/29/18 TO 5/12/18              5/18/2018         $5,453.77
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 5/13/18 TO 5/26/18               6/1/2018         $5,426.90
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          VACATION BALANCE PAYOUT                    6/11/2018        $12,015.91
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 5/27/18 TO 6/9/18               6/15/2018         $5,924.89
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 6/10/18 TO 6/23/18              6/29/2018         $5,924.90
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 6/24/18 TO 7/7/18               7/13/2018         $5,924.88
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 1                      7/20/2018        $28,708.33
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FOR 7/8/18 TO 7/27/18                7/27/2018         $6,408.07
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 2                       8/1/2018        $15,310.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 7/22/18 TO 8/4/18               8/10/2018         $6,408.07
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/5/18 TO 8/18/18               8/24/2018         $6,408.07
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
SHAH, BHAVESH         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/19/18 TO 9/1/18                9/7/2018         $6,408.07
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           7/9/17 TO 7/22/17                          7/28/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           7/23/17 TO 8/5/17                          8/11/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           8/6/17 TO 8/19/17                          8/25/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           8/20/17 TO 9/2/17                           9/8/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           9/3/17 TO 9/16/17                          9/22/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           9/17/17 TO 9/30/17                         10/6/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           10/1/17 TO 10/14/17                       10/20/2017 $       2,776.92
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           10/15/17 TO 10/28/17                       11/3/2017 $       2,776.91
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           10/30/17 TO 11/11/17                      11/17/2017 $       2,776.90
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           11/12/17 TO 11/25/17                       12/1/2017 $       2,776.92
                                                                                                                                                    FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA            56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           11/26/17 TO 12/9/17                       12/15/2017 $       2,776.91




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                                                                                                                                                         Relationship to                                             Dates of
       Insider Name                   Address1                         Address2                     City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments        Amount Paid
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           12/10/17 TO 12/23/17                      12/29/2017 $       2,776.92
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           12/24/17 TO 1/6/18                         1/12/2018 $       2,776.91
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           1/7/18 TO 1/20/18                          1/26/2018 $       2,856.87
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           1/21/18 TO 2/3/18                           2/9/2018 $       2,856.87
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           2/4/18 TO 2/17/18                          2/23/2018 $       2,856.88
                                                                                                                                                        FORMER             REGULAR PAY PLUS BONUS FOR PAY PERIOD
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           2/18/18 TO 3/3/18                           3/9/2018 $       2,856.87
                                                                                                                                                        FORMER             SEVERANCE PLUS ADDITIONAL SEVERANCE
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820                  EMPLOYEE           BONUS PAYOUT                                3/9/2018 $      11,201.90

                                                                                                                                                                           REGULAR PAY PLUS BONUS FOR WEEK OF
                                                                                                                                                   FORMER                  3/4/18 TO 3/10/18 PLUS VACATION PAYOUT
SHAH, HEMA                56 LAURA AVENUE                                                 EDISON                  NJ             08820             EMPLOYEE                PLUS ADDITIONAL BONUS PAYOUT                3/9/2018 $       6,703.59
                          ATTN: PRESIDENT OR GENERAL          22/F, NO. 280 PORTLAND                                                               CHOKSI RELATED
TAIPINGYANG TRADING LTD   COUNSEL                             ST                          KOWLOON                 HUNGHOM                HONG KONG ENTITY                  TRADE PAYMENTS FOR GOODS RECEIVED           VARIOUS $10,615,000.00
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER                  HOURS FROM 10/30/17 TO 11/11/17 PLUS
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                SIGN ON BONUS                             11/17/2017        $51,557.75
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                HOURS FROM 11/12/17 TO 11/25/17            12/1/2017         $7,255.57
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                HOURS FROM 1/21/18 TO 2/3/18                2/9/2018         $3,171.45
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                HOURS FROM 2/4/18 TO 2/17/18               2/23/2018         $7,537.70
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                HOURS FROM 2/18/18 TO 3/3/18               2/28/2018         $7,715.89
                          8585 SPICEWOOD SPRINGS RD APT.                                                                                           FORMER
VARMA, SUNIL              820                                                             AUSTIN                  TX             78759             EMPLOYEE                VACATION PAYOUT AT TERMINATION             2/28/2018         $6,383.38
                          ATTN: PRESIDENT OR GENERAL          6201 E. OLTORF STREET,                                                               CHOKSI RELATED
VOYAGER BRANDS, INC       COUNSEL                             STE 700                     AUSTIN                  TX             78741             ENTITY                  TRADE PAYMENTS FOR GOODS RECEIVED           VARIOUS         $18,816.90
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 7/9/17 TO 7/22/17               7/28/2017         $7,091.81
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 7/23/17 TO 8/5/17               8/11/2017         $7,091.82
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 8/6/17 TO 8/19/17               8/25/2017         $7,091.82
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 8/20/17 TO 9/2/17                9/8/2017         $7,243.20
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 9/3/17 TO 9/16/17               9/22/2017         $7,706.22
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 9/17/17 TO 9/30/17              10/6/2017         $7,706.23
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 10/1/17 TO 10/14/17            10/20/2017         $7,706.23
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 10/15/17 TO 10/28/17            11/3/2017         $7,706.23
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 10/30/17 TO 11/11/17           11/17/2017         $7,706.22
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 11/12/17 TO 11/25/17            12/1/2017         $7,706.23
                                                              2914 MONTOPOLIS DRIVE,                                                               COMPANY
WADIA, FARHAD             C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741             EXECUTIVE               HOURS FROM 11/26/17 TO 12/9/17            12/15/2017         $7,706.23




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                                                                                                          In re Samuels Jewelers, Inc.
                                                                                                               Case No. 18-11818
                                                   Part 2, Question 4 - Payments or transfers made within 1 year preceding commencement of this case to creditors who are or were insiders




                                                                                                                                                     Relationship to                                             Dates of
       Insider Name               Address1                         Address2                     City               State       Zip      Country          Debtor               Reasons for payment or transfer   Payments      Amount Paid
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 12/10/17 TO 12/23/17           12/29/2017       $7,625.94
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 12/24/17 TO 1/6/18              1/12/2018       $7,060.55
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 1/7/18 TO 1/20/18               1/26/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 1/21/18 TO 2/3/18                2/9/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 2/4/18 TO 2/17/18               2/23/2018       $7,382.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 2/18/18 TO 3/3/18                3/9/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 3/4/18 TO 3/17/18               3/23/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 3/18/18 TO 3/31/18               4/6/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 4/1/18 TO 4/14/18               4/20/2018       $7,382.20
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 4/15/18 TO 4/28/18               5/4/2018       $7,382.19
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 4/29/18 TO 5/12/18              5/18/2018       $7,382.21
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 5/13/18 TO 5/26/18               6/1/2018       $7,372.63
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          VACATION BALANCE PAYOUT                    6/11/2018      $15,364.40
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 5/27/18 TO 6/9/18               6/15/2018       $7,991.60
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 6/10/18 TO 6/23/18              6/29/2018       $7,991.61
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 6/24/18 TO 7/7/18               7/13/2018       $7,991.61
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 1                      7/20/2018      $39,698.82
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FOR 7/8/18 TO 7/27/18                7/27/2018       $7,901.75
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          BONUS FOR MILESTONE 2                       8/2/2018      $19,669.00
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 7/22/18 TO 8/4/18               8/10/2018       $7,901.76
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/5/18 TO 8/18/18               8/24/2018       $7,901.76
                                                          2914 MONTOPOLIS DRIVE,                                                                    COMPANY
WADIA, FARHAD         C/O SAMUELS JEWELERS, INC.          SUITE 200                   AUSTIN                  TX             78741                  EXECUTIVE          HOURS FROM 8/19/18 TO 9/1/18                9/7/2018      $7,901.75
                                                                                                                                                                                                                     TOTAL: $18,503,099.42




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                         Description of the property and Circumstatnces of the Loss                                Amount of payments received for the loss       Date of Loss   Value of Property Lost
Store 605 - Incident 31917001 - Lost Customer Merchandise                                                                                                          11/15/2017                $6,000.00
Store 913 - Incident 518001 - Damaged Product - KATE SPADE WATCH                                                                                                      1/5/2018                $195.00
Store 719 - Incident 818001 - Theft Grab and Run - 14KW 1CTW H/I I1 1/3RD ENG RG                                                                                      1/8/2018                $966.98
Store 252 - Incident 918001 - Other/ WJS - LUX-3 W/3/4TW GHI I2 4PC BSET                                     Release of Claims                                        1/9/2018                $314.54
Store 606 - Incident 918002 - Other - 1.01CT PC E SI1 VTW LOOSE DIA                                          Release of Claims                                        1/9/2018               $3,897.66
Store 524 - Incident 1118001 - Disappearance - 2CT RD J+/I2+ 14KWG SOL RING                                                                                         1/11/2018                $5,170.00
Store 79909 - Incident 1118002 - Disappearance - 14KW 3/4CTW GHI I1 3/8RD ENG                                                                                       1/11/2018                 $746.21
Store 45460 - Incident 1518001 - Sold Wrong Sku                                                                                                                     1/15/2018                $1,000.00
Store 102 - Incident 1718002 - Shipping Loss - 14KY POLISHED CROSS POST EARR                                                                                        1/17/2018                   $28.28
Store 102 - Incident 1718002 - Shipping Loss - 14KY FLEUR DE LIS CROSS PENDNT                                                                                       1/17/2018                 $115.71
Store 102 - Incident 1718002 - Shipping Loss - 14KY MDIUM FLEUR-DE-LIS PNDANT                                                                                       1/17/2018                   $82.24
Store 664 - Incident 2218002 - Disappearance - 14K TWO-TONE CROSS PENDANT                                                                                           1/22/2018                   $72.66
Store 524 - Incident 2418001 - Disappearance - 14KW 1/2TW I/J I2 4PC FASH ER                                                                                        1/24/2018                 $240.00
Store 545 - Incident 2618001 - Negligence - LUM 1/10CTW GH/VS FSH BRAC EON                                   Release of Claims                                      1/26/2018                   $96.71
Store 627 - Incident 2618002 - Negligence - 10KY 3/4TW GH VS GTS RG EON                                                                                             1/26/2018                $1,052.73
Store 627 - Incident 2618002 - Negligence - 14KY 1CTW GHI I1 12RD GTS BAND                                                                                          1/26/2018                 $831.02
Store 222 - Incident 2918001 - Disappearance - TRADE-INS                                                                                                            1/29/2018                $1,420.00
Store 545 - Incident 3018001 - FedEx Shipping Loss - LUM/RP 1/7TW GH SI FSH RG EON                           Release of Claims                                      1/30/2018                   $94.30
Store 545 - Incident 3018001 - FedEx Shipping Loss - LUX-3 1CTW GHI I2 GTS WED BAND                          Release of Claims                                      1/30/2018                 $612.17
Store 545 - Incident 3018001 - FedEx Shipping Loss - 14KW 1 1/5TW GHI I2 WED BAND                            Release of Claims                                      1/30/2018                 $872.07
Store 612 - Incident 3118001 - FedEx Pilferage - 14KW 1/3TW GHI SI DIA NECKLACE                                                                                     1/31/2018                 $387.33
Store 612 - Incident 3118001 - FedEx Pilferage - 14KW/R 1CTTW GHI I1 BRIDAL SET                                                                                     1/31/2018                $1,288.89
Store 612 - Incident 3118001 - FedEx Pilferage - LUM/YP 1/10TW GH VS GTS RG EON                                                                                     1/31/2018                   $73.49
Store 612 - Incident 3118001 - FedEx Pilferage - TRADE-INS                                                                                                          1/31/2018                 $330.00
Store 612 - Incident 3118001 - FedEx Pilferage - TRADE-INS                                                                                                          1/31/2018                $1,800.00
Store 245 - Incident 3218003 - FedEx Pilferage - 14KW 1CTTW GHI I2 LDS WED BAND                                                                                       2/1/2018                $570.61
Store 607 - Incident 3218001 - Replacement - 3.00mm RD GH/SI2-3 LOOSE                                                                                                 2/1/2018                  $75.90
Store 607 - Incident 3218001 - Replacement - 3.20MM RD GH/SI2-3 LOOSE                                                                                                 2/1/2018                  $98.10
Store 78906 - Incident 3218002 - Replacement-Check - DAMAGED RING                                            Release of Claims                                        2/1/2018               $1,650.00
Store 508 - Incident 3618001 - Disappearance - 14KW 1CTW GHI I2 3/8RD BSET                                                                                            2/5/2018               $1,055.68
Store 508 - Incident 3618001 - Disappearance - 14KY 2TW GHI I1 3/4EC BSET                                                                                             2/5/2018               $2,534.24
Store 508 - Incident 3618001 - Disappearance - 14KW 1 1/10TW GHI I1 3/4RD ENG                                                                                         2/5/2018               $1,056.00
Store 644 - Incident 3618003 - Other/ Not Received - PRE-OWNED FASHION RING.                                 Release of Claims                                        2/6/2018                $235.06
Store 79909 - Incident 3618002 - Fedex Shipping Loss - 1.50CT RD H SI1 PASSION LOOS *                                                                                 2/6/2018              $10,701.00
Store 245 - Incident 3818001 - Disappearance - 14KW 2 1/4TW H/I I1/I2 FASH RG                                                                                         2/7/2018               $1,800.00
Store 356 - Incident 3818002 - FedEx Pilferage - 14KWG LT1CTWRD EON I+/SI1+ER                                                                                         2/7/2018                $666.66
Store 356 - Incident 3818002 - FedEx Pilferage - 14KY 3/4TW GHI I2 2STN EARS                                                                                          2/7/2018                $374.36
Store 533 - Incident 4018002 - Disappearance - 14KW 1CTTW GHI I2 PC GTS BAND                                                                                          2/9/2018               $1,046.34
Store 533 - Incident 4018002 - Disappearance - 14KY 1CTW GHI I1 12RD GTS BAND                                                                                         2/9/2018                $831.02
Store 547 - Incident 4018001 - Other - S/S 0.035CTW PROMO DIA EARRING                                                                                                 2/9/2018                  $11.58
Store 630 - Incident 4518001 - Disappearance - 1/4TW RD HI I1-I2 14W STUDS                                                                                          2/14/2018                 $143.25
Store 79903 - Incident 4618001 - Disappearance - 14KW 1/2TW GHI I2 WED BAND                                                                                         2/15/2018                 $310.85
Store 548 - Incident 4818001 - Shortage                                                                                                                             2/17/2018                    $5.00
Store 554 - Incident 4918001 - Disappearance - 14KW 1/3TW H/I I1 SEMI W/CZ CT                                                                                       2/19/2018                 $367.27



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                         Description of the property and Circumstatnces of the Loss                               Amount of payments received for the loss       Date of Loss   Value of Property Lost
Store 554 - Incident 4918001 - Disappearance - 14KW 1/3TW H/I I1 SEMI W/CZ CT                                                                                      2/19/2018                 $367.27
Store 554 - Incident 4918001 - Disappearance - 14KW 1/6TW GHI I2 SEMI MTG                                                                                          2/19/2018                 $246.47
Store 554 - Incident 4918001 - Disappearance - 14KW 3/4TW GHI SI SEMI MTG                                                                                          2/19/2018                 $607.54
Store 554 - Incident 4918001 - Disappearance - 14KWG 1/3CTWRD RD HALO SEMI                                                                                         2/19/2018                 $338.48
Store 604 - Incident 5218002 - Disappearance - CUSTOMER REPAIR                                              Release of Claims                                      2/21/2018               $12,000.00
Store 355 - Incident 5718001 - Damaged Stone - 14KW 1/10TW H/I I1/CIT RING                                                                                         2/26/2018                 $826.00
Store 669 - Incident 5718003 - Replacement - S/S BLUE/WHT TOPAZ RING                                                                                               2/26/2018                   $44.39
Store 615 - Incident 5818002 - Disappearance - 0.52CT PC F VS2 VTW LOOSE DIA                                                                                       2/27/2018                 $905.68
Store 651 - Incident 5818001 - Damaged Stone - .75CT PC LOOSE                                                                                                      2/27/2018                $1,583.16
Store 530 - Incident 6218001 - Disappearance - 0.71CT PC G VS2 VTW LOOSE DIA                                                                                         3/3/2018               $1,840.08
Store 650 - Incident 6418011 - Damaged Product - 24 INCH 10KY RD BOX CHAIN                                                                                           3/5/2018                $650.00
Store 256 - Incident 6918001 - FedEx Shipping Loss - 14KW 1/10TW GHI I3 CHEV BAND                                                                                  3/12/2018                   $35.58
Store 256 - Incident 6918001 - FedEx Shipping Loss - 1CT PC I+ I2+ 14KWG SOL RING                           Release of Claims                                      3/12/2018                $1,400.00
Store 256 - Incident 6918001 - FedEx Shipping Loss - S/S 1/10TW PROMO F DIAM RING                           Release of Claims                                      3/12/2018                   $29.58
Store 256 - Incident 6918001 - FedEx Shipping Loss - SILVER 1/2TW PROMOH DIA BRAC                                                                                  3/12/2018                   $13.20
Store 256 - Incident 6918001 - FedEx Shipping Loss - SS/14Y 1/100TW GHI SI FSH RING                                                                                3/12/2018                   $41.00
Store 256 - Incident 6918001 - FedEx Shipping Loss - 18KT 1CTW SI2+1/2CUSH FY RG                                                                                   3/12/2018                $1,515.00
Store 256 - Incident 6918001 - Replacement - 0.49CT RD G VS1 VTW LOOSE DIA                                  Release of Claims                                      3/12/2018                 $850.02
Store 256 - Incident 6918001 - Replacement - 14KW 3/8TW IJ/I2 DIA RG GUARD                                  Release of Claims                                      3/12/2018                 $425.00
Store 256 - Incident 6918001 - Replacement - 14KW 5/8TW GHI SI ENG RING                                     Release of Claims                                      3/12/2018                 $586.31
Store 770 - Incident 7418002 - Replacement Check - SOLD WRONG SKU                                                                                                  3/15/2018                $6,940.00
Store 770 - Incident 7418004 - Disappearance- Jeweler - 14KW 3/8TW H/SI2 P ST WED BAND                                                                             3/15/2018                $6,940.00
Store 920 - Incident 7418003 - Disappearance - 14KY 1CTTW GHI I1 ANNIV BAND                                                                                        3/15/2018                 $805.00
Store 920 - Incident 7418005 - Other/ not charged for item - S/S 1/5TW GHI I3 FASH EARS                                                                            3/15/2018                 $105.00
Store 629 - Incident 80118001 - Replacement - 10KW 1CTW IJ I2-I3 FASH RING                                  Release of Claims                                      3/21/2018                 $465.00
Store 629 - Incident 8018001 - Replacement - 1 1/5TW RD J+ I1/I2 14W SOL RG                                                                                        3/21/2018                $2,294.70
Store 629 - Incident 8018001 - Replacement - 14KW 1/5TW RD GHI I1 WED BAND                                  Release of Claims                                      3/21/2018                 $216.16
Store 629 - Incident 8018001 - Replacement - 14KW 1/5TW RD GHI I1 WED BAND                                  Release of Claims                                      3/21/2018                 $216.16
Store 629 - Incident 8018001 - Replacement - 18KW 5/8CTW G/SI1 CZ CTR                                                                                              3/21/2018                $1,794.22
Store 629 - Incident 8018001 - Replacement - SLVR+10KY 1/2TW PROMOH DIA EAR                                 Release of Claims                                      3/21/2018                 $143.06
Store 629 - Incident 8018001 - Replacement - SLVR+10KY 1/2TW PROMOH DIA EAR                                                                                        3/21/2018                 $143.06
Store 629 - Incident 8018001 - Replacement - 10KW 1CTW IJ I2-I3 FASH RING                                                                                          3/21/2018                 $465.00
Store 629 - Incident 8018001 - Replacement - 14KW 1CTTW GHI SI 3/8RD ENG RG                                 Release of Claims                                      3/21/2018                 $962.65
Store 629 - Incident 8018001 - Replacement - LUX-3 1/2TW GHI I2 1/3RD ENG                                   Release of Claims                                      3/21/2018                 $387.00
Store 629 - Incident 8018001 - Replacement - LUX-3 W/3/4TW GHI I2 4PC BSET                                  Release of Claims                                      3/21/2018                 $314.54
Store 124 - Incident 8318001 - Theft - 14KWG 31/10CTW K+ I3+ SOL STUD                                                                                              3/24/2018                $2,137.53
Store 663 - Incident 8618001 - Fraud - COUNTERFEIT BILL                                                                                                            3/27/2018                 $100.00
Store 719 - Incident 9318001 - Disappearance - 10KY 1/2CTTW GHI I3 GTS RG                                                                                            4/3/2018                $382.57
Store 719 - Incident 9318001 - Disappearance - 14KY 1CTTW GHI I2 PC GTS BAND                                                                                         4/3/2018                $938.00
Store 719 - Incident 9318001 - Disappearance - 14KY 1/2TW GHI I2 9PC GTS BD                                                                                          4/3/2018                $503.17
Store 75552 - Incident 10718002 - Damaged Stone - DIFFERENCE AFTER RE-CUT                                                                                          4/17/2018                $1,345.00
Store 615 - Incident 11418001 - Disappearance - 14KW 1/3TW J+I1+ C-1/4HALO PDT                                                                                     4/24/2018                 $334.18
Store 652 - Incident 11518001 - Theft/ Grab and Run - 14KW 21/10TW RD EON HI/SI2+ ER                                                                               4/25/2018                $4,652.82
Store 657 - Incident 12218001 - Disappearance - 14KW 3/8TW H SI2 SEMI W/CZ CTR                                                                                       5/2/2018                $799.07



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                         Description of the property and Circumstatnces of the Loss                              Amount of payments received for the loss       Date of Loss   Value of Property Lost
Store 63404 - Incident 12318001 - Shortage - CASH SHORTAGE                                                                                                          5/3/2018                  $60.00
Store 95254 - Incident 12318002 - Disappearance - 14KW 4/5TW H SI2 SEMI W/CZ CTR                                                                                    5/3/2018               $1,272.15
Store 95254 - Incident 12318002 - Replacement - 14KW 5/8TW GHI SI 1/5RD ENG RG                             Release of Claims                                        5/3/2018                $571.82
Store 95254 - Incident 12318002 - Replacement - 14KW 1/5TW RD GHI I1 WED BAND                              Release of Claims                                        5/3/2018                $227.72
Store 787 - Incident 12418001 - Breakout - BREAKOUT MERCHANDISE                                                                                                     5/4/2018                $249.17
Store 536 - Incident 12718001 - Cash Shortage                                                                                                                       5/7/2018                  $18.78
Store 659 - Incident 12718002 - Replacement - 14KW 1CTTW GHI I3 ANNIV BAND                                 Release of Claims                                        5/7/2018                $577.00
Store 659 - Incident 12718002 - Replacement - 14KW 1CTTW GHI I3 ANNIV BAND                                 Release of Claims                                        5/7/2018                $577.00
Store 659 - Incident 12718002 - Replacement - 14KW 2CTW GHI SI/I1 EM/PC ANNI                               Release of Claims                                        5/7/2018               $2,517.17
Store 529 - Incident 12918001 - Missing Customer Repair - 14KW 1/3TW H/I I1 SEMI W/CZ CT                                                                            5/9/2018                $356.30
Store 124 - Incident 13218001 - Replacement - TRADE-INS                                                                                                           5/12/2018                 $135.00
Store 530 - Incident 13418001 - Other - 14KY 18" DC 8 SIDE TRACE CHAIN                                                                                            5/14/2018                   $64.90
Store 129 - Incident 14218001 - Theft- Grab and run - 10KY 3/4TW GH VS GTS RG EON                                                                                 5/22/2018                $1,052.73
Store 633 - Incident 14318001 - Theft- Smash and Grab - 10KW 1/10TW GHI I2 FASH EARS                                                                              5/23/2018                   $98.78
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14K 1-1/2CTTW BASKET EAR                                                                                  5/23/2018                $2,006.90
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14K RG 1/2 CTW GHI I1 EAR                                                                                 5/23/2018                 $462.83
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14K RG 3/8 CTW GHI I1 EAR                                                                                 5/23/2018                 $372.71
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KW 1/2TW GH SI2 FASH EARS                                                                               5/23/2018                 $606.15
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KW 1/4TW GHI SI DIAM EARRING                                                                            5/23/2018                 $296.94
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KW 1CTTW GHI SI FASH EARS                                                                               5/23/2018                 $764.24
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KW 3/4TW I+ I1 FASH EARS                                                                                5/23/2018                 $677.89
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KWG 15/8CTW RD L+ I2-3 STUD                                                                             5/23/2018                $1,265.51
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14W 1/2TW GHI SI3/I1 FASH EARS                                                                            5/23/2018                 $455.31
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14W 1/4TW GHI SI3/I1 FASH EARS                                                                            5/23/2018                 $250.79
Store 633 - Incident 14318001 - Theft- Smash and Grab - 18W 1.01TW GH DARK BRWN EAR                                                                               5/23/2018                 $876.39
Store 633 - Incident 14318001 - Theft- Smash and Grab - 3/4TW RD GI I1-I2 14Y STUDS                                                                               5/23/2018                 $694.65
Store 633 - Incident 14318001 - Theft- Smash and Grab - LUM 1/5TW GH SI2 DIAM EARRING                                                                             5/23/2018                 $166.26
Store 633 - Incident 14318001 - Theft- Smash and Grab - LUM 3/4TW GH SI2 DIAM EARRING                                                                             5/23/2018                 $520.06
Store 633 - Incident 14318001 - Theft- Smash and Grab - SLVR+10KY 1/2TW PROMOH DIA EAR                                                                            5/23/2018                 $123.19
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KWG 1/2CTWPC L+ I3+ SOL STUD                                                                            5/23/2018                 $301.67
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KWG 2CTW RD L+ I2-3 SOL STUD                                                                            5/23/2018                $2,001.82
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14KY 1/4CTW RD G-I I1-2 STUDS                                                                             5/23/2018                 $119.21
Store 633 - Incident 14318001 - Theft- Smash and Grab - 14W 1/2TW GHI SI3/I1 FASH EARS                                                                            5/23/2018                 $422.48
Store 633 - Incident 14318001 - Theft- Smash and Grab - S/S 0.03CTW PROMO DIA EARRING                                                                             5/23/2018                   $24.44
Store 231 - Incident 14418002 - Other - 14KY 1CTW GHI I2 WEDDING BAND                                                                                             5/24/2018                 $765.00
Store 871 - Incident 14418001 - Theft-Grab and Run - 2CT RD J+ I1-2 14KWG SOL RING                                                                                5/24/2018                $5,851.06
Store 63404 - Incident 14918001 - Grab and Run/ Negligence - 11/10CTRD IVS2 14KW EON SOL RG                                                                       5/29/2018                $2,760.61
Store 63404 - Incident 14918001 - Grab and Run/ Negligence - 14KWG 2CTW RD EON HI/SI2+ ER                                                                         5/29/2018                $4,412.07
Store 508 - Incident 15018002 - Other/ NSF                                                                                                                        5/30/2018                $1,657.56
Store 721 - Incident 15018001 - Other/ NSF                                                                                                                        5/30/2018                 $426.57
Store 647 - Incident 15818002 - Shortage                                                                                                                            6/7/2018                  $98.00
Store 653 - Incident 15818001 - Lost Repair - 1/2CTW PC HI I1-I2 14W STUDS                                 Release of Claims                                        6/7/2018                $335.91
Store 612 - Incident 16518001 - Replacement - 14KW 1/3TW GHI SI 4PC CTR ENG                                Release of Claims                                      6/14/2018                 $367.38
Store 612 - Incident 16518001 - Replacement - 14KW 3MM PLN BAND SZ-10                                      Release of Claims                                      6/14/2018                 $117.22



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                         Description of the property and Circumstatnces of the Loss                              Amount of payments received for the loss        Date of Loss   Value of Property Lost
Store 716 - Incident 16918001 - Replacement - 0.70CT PC H VS2 VTW LOOSE DIA                                 Release of Claims                                      6/18/2018                $1,511.82
Store 716 - Incident 16918001 - Replacement - 14KW 1/2TW GHI I1 PC ANNIV BND                                Release of Claims                                      6/18/2018                 $433.54
Store 716 - Incident 16918001 - Replacement - 14KW 1/2TW GHI I1 PC ANNIV BND                                Release of Claims                                      6/18/2018                 $433.54
Store 716 - Incident 16918001 - Replacement - 14KW 6MM CATHEDRAL MTG RING                                   Release of Claims                                      6/18/2018                 $288.22
Store 716 - Incident 16918001 - Replacement - 14KW 3CTW GHI I2 4PC CTR BSET                                 Release of Claims                                      6/18/2018                $2,536.90
Store 793 - Incident 16918002 - Disappearance - 14KYG 1/4CTW RD H-I SI2-I1 CRT                                                                                     6/18/2018                 $165.50
Store 545 - Incident 17018002 - Other/CZ - 1.01CT RD G I1 VTW LOOSE DIA                                                                                            6/19/2018                $2,663.63
Store 609 - Incident 17018001 - Theft - LUM/YP 1/3TW GH/VS GTS RG EON                                                                                              6/19/2018                 $176.68
Store 63404 - Incident 17618001 - Replacement - 14KW 1/3TW GHI I3 CHEV BAND                                                                                        6/25/2018                 $234.16
Store 771 - Incident 17918002 - Other/ Grammercy - 10KW 18" SC25 DC CURB SP CHAIN                           Release of Claims                                      6/28/2018                   $38.96
Store 771 - Incident 17918002 - Other/ Grammercy - 14KW 1/3TW H SI2 SEMI W/CZ CTR                           Release of Claims                                      6/28/2018                 $619.64
Store 771 - Incident 17918002 - Other/ Grammercy - EVENT LOOSE DIAMOND                                      Release of Claims                                      6/28/2018                 $420.00
Store 581 - Incident 18218001 - Distraction Theft - LUM/YP 1CTW GH/VS FSH BRAC EON                                                                                   7/1/2018                $432.40
Store 772 - Incident 18318001 - Disappearance Repair - 1/2CT RD I(+) I1-I2 14K CERT S                       Release of Claims                                        7/2/2018                $583.73
Store 772 - Incident 18318001 - Disappearance Repair - 14KW 1/4TW GHI I3 CHEV GUARD                         Release of Claims                                        7/2/2018                $273.35
Store 89 - Incident 18518001 - Other/Trunk - WRONG STONE                                                                                                             7/3/2018               $9,192.96
Store 404 - Incident 18618001 - Fraud                                                                                                                                7/5/2018               $2,498.03
Store 661 - Incident 18718001 - Other - OVER VALUED TRADE IN                                                                                                         7/6/2018               $2,500.00
Store 713 - Incident 19218001 - Other - 1.50CT RD G VVS2 VTW LOOSE (B)                                                                                             7/11/2018               $11,534.12
Store 548 - Incident 19318003 - Robbery - 10KW 1/10TW GHI I2 10RD ANN BD                                                                                           7/12/2018                 $142.72
Store 548 - Incident 19318003 - Robbery - 10KW 1/10TW GHI I2 10RD ANN BD                                                                                           7/12/2018                 $138.04
Store 548 - Incident 19318003 - Robbery - 14KW 1/2CTW GHI I1 ANNIV BAND                                                                                            7/12/2018                 $443.91
Store 548 - Incident 19318003 - Robbery - 14KW 1/2TW GHI I1 ANNIV BAND                                                                                             7/12/2018                 $346.04
Store 548 - Incident 19318003 - Robbery - 14KW 1/3TW GHI I1 ANNIV BAND                                                                                             7/12/2018                 $247.52
Store 548 - Incident 19318003 - Robbery - 14KW 1CTW GHI I2 PC ANNIV BAND                                                                                           7/12/2018                 $689.38
Store 548 - Incident 19318003 - Robbery - 14KW 3/4TW GHI I1 ANNIV BAND                                                                                             7/12/2018                 $561.16
Store 548 - Incident 19318003 - Robbery - 14R 9/10TW GH SI 1/3RD BST EON                                                                                           7/12/2018                $1,032.55
Store 548 - Incident 19318003 - Robbery - 14W 1/4CTW GHI I1 CHN ANV BAND                                                                                           7/12/2018                 $227.43
Store 548 - Incident 19318003 - Robbery - 14W 2 3/8TW GH SI 1RD BSET EON                                                                                           7/12/2018                $3,949.67
Store 548 - Incident 19318003 - Robbery - 14WR 1 1/3TW GH SI BSET EON                                                                                              7/12/2018                $1,345.03
Store 548 - Incident 19318003 - Robbery - 14WR 1 1/4TW GH SI BSET EON                                                                                              7/12/2018                $1,392.89
Store 548 - Incident 19318003 - Robbery - 10KW 1/4TW GHI I3 ANNIV BAND                                                                                             7/12/2018                 $172.00
Store 548 - Incident 19318003 - Robbery - 14KW 1/2CTW GHI I1 ANNIV BAND                                                                                            7/12/2018                 $443.91
Store 548 - Incident 19318003 - Robbery - 14KW 1CTTW GHI I1 ANNIV BAND                                                                                             7/12/2018                 $758.99
Store 548 - Incident 19318003 - Robbery - 14KW 1CTTW GHI I1 PC ANNIV BND                                                                                           7/12/2018                 $889.34
Store 548 - Incident 19318003 - Robbery - 14KW 3/4TW GHI I1 ANNIV BAND                                                                                             7/12/2018                 $537.03
Store 548 - Incident 19318003 - Robbery - 14WR 1 1/2TW GH SI BSET EON                                                                                              7/12/2018                $1,423.71
Store 548 - Incident 19318003 - Robbery - 14WR 1CTW GH SI 1/3RD BSET EON                                                                                           7/12/2018                 $881.67
Store 605 - Incident 19318001 - Distraction Theft - SLR 1/2TW GHI-I2 EVERLON BRAC                                                                                  7/12/2018                 $392.72
Store 629 - Incident 19318002 - Other/ Vendor Loss - 14KW 1 1/3TW GH SI 7/8 ENG EON                         Release of Claims                                      7/12/2018                $1,820.87
Store 630 - Incident 19318004 - Theft - 10KY 2 3/8TW PROMO G BRECELET                                                                                              7/12/2018                 $902.00
Store 124 - Incident 19718001 - Fraud - EON TENNIS BRACELET                                                                                                        7/16/2018                $1,503.60
Store 78906 - Incident 19718002 - Grab and Run - 14KW 1 5/8TW GH SI BSET EON                                                                                       7/16/2018                $2,156.63
Store 719 - Incident 19818001 - Shortage - CASH SHORTAGE                                                                                                           7/17/2018                   $96.99



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                         Description of the property and Circumstatnces of the Loss                               Amount of payments received for the loss       Date of Loss   Value of Property Lost
Store 550 - Incident 20218001 - Grab and Run / Negligence - 1 1/10CT M+ I12 RD 14KY SOL RG                                                                         7/21/2018                $1,733.59
Store 550 - Incident 20218001 - Grab and Run / Negligence - 2CT RD K+ I2-3 14K WG SOL RING                                                                         7/21/2018                $3,847.21
Store 719 - Incident 20518001 - Other - BREAKOUT MERCHANDISE                                                                                                       7/24/2018                  $365.83
Store 256 - Incident 20718001 - Other/ Sold Wrong Sku                                                                                                              7/26/2018                   $97.91
Store 256 - Incident 20718001 - Other/ Sold Wrong Sku - ENGAGEMENT RING                                                                                            7/26/2018                  $504.92
Store 663 - Incident 20818001 - Disappearance - HEART SHAPED SAPPHIRES                                                                                             7/27/2018                   $20.00
Store 652 - Incident 21018001 - Distraction Theft - 14KW 1/2TW G/H SI FASH EARRING                                                                                 7/29/2018                  $506.97
Store 652 - Incident 21018001 - Distraction Theft - 18K WG 0.01 CTW H VVS1 EAR                                                                                     7/29/2018                  $344.25
Store 652 - Incident 21018001 - Distraction Theft - LUM 1 1/10TW GH SI2 DIAM EARR                                                                                  7/29/2018                  $788.00
Store 652 - Incident 21018001 - Distraction Theft - 14KYG 3/4CTW HALO1/2RDLEVER ER                                                                                 7/29/2018                  $794.48
Store 652 - Incident 21018001 - Distraction Theft - LUM 1/5TW GH SI2 DIAM EARRING                                                                                  7/29/2018                  $166.26
                                                                                                                                                                       TOTAL:             $214,091.30




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                                     Part 6, Question 11 - Payments or transfers related to debtor counseling or bankruptcy made within 1 year preceding commencement of this case




                                                                                                                                                                                     Date of Payment or Total amount
         Name of Payee                               Address                                City                 State        Zip       Country         Email or Website Address          Transfer         or value
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   2/22/2018    $25,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   3/29/2018    $64,380.94
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    4/5/2018    $56,608.66
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   4/19/2018    $56,608.66
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   4/19/2018   $156,759.73
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    5/3/2018   $116,596.37
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   5/11/2018   $110,619.12
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   5/31/2018   $167,909.40
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    6/8/2018   $150,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   6/15/2018    $75,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   6/21/2018    $43,408.44
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   6/21/2018    $46,591.56
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    7/3/2018    $10,803.66
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    7/3/2018   $149,196.34
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    7/6/2018    $25,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/20/2018    $89,229.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/23/2018      $1,728.96
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/23/2018    $11,630.38
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/23/2018    $50,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/23/2018   $165,803.66
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                   7/25/2018    $70,774.94
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    8/1/2018   $105,000.00
BERKELEY RESEARCH GROUP, LLC     700 LOUISIANA STREET, SUITE 2600                    HOUSTON                TX            77002                   https://www.thinkbrg.com/                    8/6/2018    $37,404.50
COLE SCHOTZ PC                   500 DELAWARE AVENUE, SUITE 1410                     WILMINGTON             DE            19801                   http://www.coleschotz.com/                   8/3/2018    $50,000.00
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                   6/22/2018    $50,000.00
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                    7/5/2018    $85,000.00
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                    7/9/2018    $50,000.00
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                   7/19/2018   $141,550.50
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                   7/31/2018   $246,780.71
JONES DAY                        ATTN: PAUL GREEN, ESQ., 717 TEXAS, SUITE 3300       HOUSTON                TX            77002                   https://www.jonesday.com/                    8/6/2018   $347,933.00
PRIME CLERK                      830 3RD AVENUE, 9TH FLOOR                           NEW YORK               NY            10022                   https://www.primeclerk.com/                  8/2/2018    $15,000.00
RICHARDS LAYTON & FINGER, P.A.   ONE RODNEY SQUARE, 920 NORTH KING STREET            WILMINGTON             DE            19801                   http://www.rlf.com/                          8/1/2018    $50,000.00
RICHARDS LAYTON & FINGER, P.A.   ONE RODNEY SQUARE, 920 NORTH KING STREET            WILMINGTON             DE            19801                   http://www.rlf.com/                          8/3/2018    $25,000.00
                                                                                                                                                                                                 TOTAL: $2,847,318.53




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                                                                                                                                                                  Dates of
             Description of Location                                       Address1                              City                  State      Zip           Occupancy
Altamonte Mall                                  451 E Altamonte Dr #1349                                         Altamonte Springs     FL         32701         11/25/2016
Arden Fair Mall                                 1689 Arden Way, #2126                                            Sacramento            CA         95815            Pre '96
Arrowhead Towne Center                          7700 West Arrowhead Towne Center, #2250                          Glendale              AZ         85308          6/30/1996
Battlefield Mall                                2825 South Glenstone                                             Springfield           MO         65804            Pre '96
Brazos Mall                                     100 W. Hwy. 332, #1478                                           Lake Jackson          TX         77566            Pre '96
Broadway Square                                 4601 S Broadway Ave B23                                          Tyler                 TX         75703         11/25/2015
Cache Valley Mall                               1300 N. Main                                                     Logan                 UT         84341            Pre '96
Central Mall                                    3100 Highway 365, Port Arthur, suite 146                         Port Arthur           TX         77642         11/16/2013
Central Mall                                    2400 Richmond Rd & Kennedy Lane Space # 78                       Texarkana             TX         75503            Pre '96
Central Mall                                    5111 Rogers Ave. Space 131                                       Ft. Smith             AR         72903            Pre '96
Chapel Hills Mall                               1710 Briargate Blvd.                                             Colorado Springs      CO         80920          4/13/1999
Charleston Town Center                          3000 CharlestonTown Center, Space 2076                           Charleston            WV         25389            Pre '96
Cielo Vista Mall                                8401 Gateway Blvd W                                              El Paso               TX         79925          8/15/2016
Claypool Hill Mall                              Claypool Hill Mall                                               Cedar Bluff           VA         24609          11/1/1999
Corporate office (warehouse)                    2914 Montopolis, Suite 200                                       Austin                TX         78741           6/1/1998
Corpus Christi                                  5425 South Padre Island Drive, #157                              Corpus Christi        TX         78411          6/18/2005
Country Club Plaza (Free)                       7200 W 45th Avenue, Suite 11                                     Amarillo              TX         79109            Pre '96
Dayton Mall                                     2700 Miamisburg-Centerville Road Space 920                       Dayton                OH         45459            Pre '96
Del Amo Fashion Center                          3525 W Carson St #297A                                           Torrance              CA         90503         11/28/2016
Eastgate Mall                                   4601-414 Eastgate Blvd.                                          Cincinnati            OH         45245            Pre '96
Eastland Mall                                   2725 Eastland Mall                                               Columbus              OH         43232            Pre '96
Easton Town Center (Lifetsyle Mall)             4049 The Strand East                                             Columbus              OH         43219            Pre '96
Eastwood Mall                                   555 Youngstown Warren Rd. #914                                   Niles                 OH         44446         12/24/2015
El Paso East Location (Free)                    11325 Pellicano                                                  El Paso               TX         79936          10/8/1999
Empire Mall                                     780 W. Empire Mall                                               Sioux Falls           SD         57106            Pre '96
Fashion Place Mall                              6191 S. State                                                    Murray                UT         84107            Pre '96
Flatiron Crossing                               1 West Flatiron Circle #2016                                     Broomfield            CO         80021         11/24/2017
Florence Mall                                   2020 Florence Mall                                               Florence              KY         41042            Pre '96
Frontier Mall                                   Frontier Mall 1400 Dell Range Blvd                               Cheyenne              WY         82009            Pre '96
Galleria at Roseville                           1173 Galleria Blvd. #221                                         Roseville             CA         95678          10/5/2011
Gateway Market Shopping Center                  9607 Research Blvd, Building F, Suite 100                        Austin                TX         78759         10/30/1999
Grand Central Mall                              100 Grand Central Mall, Space 220                                Parkersburg           WV         26101            Pre '96
Greenwood Park                                  1251 US 31N                                                      Greenwood             IN         46142            Pre '96
HEB - 16                                        165 NW John Jones Dr., Ste 120                                   Burleson              TX         76028         11/21/2017
HEB - 404                                       12400 State Hwy 71 West, Ste 100                                 Bee Cave              TX         78738          11/6/2017
HEB - 476                                       500 Canyon Ridge Drive, Tech Ridge, Ste 100                      Austin                TX         78753          1/18/2018
HEB - 592                                       651 N. US Hwy 183, Ste 101                                       Leander               TX         78641          11/6/2017


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                                                                                                                                                                 Dates of
            Description of Location                                          Address1                           City                  State      Zip           Occupancy
HEB - 619                                      949 William D. Fitch, Ste 100                                    College Station       TX         77845         11/21/2017
HEB - 622                                      20725 Hwy 46 West, Ste E120 (Located at the Front of HEB)        Bulverde              TX         78070         12/19/2017
HEB - 631                                      3804 E. Hwy 377, Ste 110                                         Granbury              TX         76049         11/21/2017
HEB - 673                                      250 University Blvd., Ste 140                                    Round Rock            TX         78665         11/13/2017
HEB - 698                                      14100 Spring Cypress Road, Ste 110                               Cypress               TX         77429         12/22/2017
HEB - 713                                      3501 Clear Lake City Blvd, Ste 110                               Houston               TX         77059         12/23/2017
HEB - 92                                       6106 N. Navarro, Ste 200 (Located at the Front of HEB)           Victoria              TX         77904           1/8/2018
Hemet Valley Mall                              2200 W. Florida                                                  Hemet                 CA         92545            Pre '96
Huntington Mall                                Rt. 60 & Mall Road, Unit #625                                    Barboursville         WV         25504            Pre '96
Jordan Creek Town Center                       101 Jordan Creek Parkway Suite 12180                             West Des Moines       IA         50266            Pre '96
Kenwood Towne Centre                           7875 Montgomery Rd.                                              Cincinnati            OH         45236            Pre '96
Killeen Mall                                   2100 Ws. Young Dr., #1072                                        Killeen               TX         76543            Pre '96
La Frontera (Free)                             104 Sundance Pkwy                                                Round Rock            TX         78681          8/24/2007
La Plaza Mall                                  2200 S 10TH ST #X03                                              McAllen               TX         78503         10/19/2012
Layton Hills Mall                              1028 Layton Hills Mall                                           Layton                UT         84041            Pre '96
Liberty Center (Lifetsyle Mall)                7139 Foundry Row F 122                                           Liberty Township      OH         45069         10/22/2015
Lindale Mall                                   4444 First Ave. N.E.; Suite 121                                  Cedar Rapids          IA         52402            Pre '96
Longview Mall                                  3500 Mccann Road #L-8                                            Longview              TX         75605          4/14/2000
Lubbock Location (Free)                        7310 Quaker Avenue                                               Lubbock               TX         79424         10/22/1999
Main Mall Shopping Center                      2825 West Main 2J1                                               Bozeman               MT         59715            Pre '96
Mall at Fairfield Commons                      2727 N. Fairfield Commons, Ste. B42                              Beavercreek           OH         45431            Pre '96
Mall At Sierra Vista                           2200 El Mercado Loop, Space 1134                                 Sierra Vista          AZ         85635         10/20/1999
Mall Of Abilene                                4310 Buffalo Gap Rd. #1290                                       Abilene               TX         79606            Pre '96
Markland Mall                                  1205 S. Reed Rd.                                                 Kokomo                IN         46902            Pre '96
McCain Mall                                    3929 McCain Blvd., Space F09                                     North Little Rock     AR         72116            Pre '96
Mesa Mall                                      2424 U.S. Highway 6 & 50                                         Grand Junction        CO         81505          4/13/1999
Montclair Plaza                                5132 Montclair Plaza                                             Montclair             CA         91763            Pre '96
Muncie Mall                                    3501, N. Granville Ave.,                                         Muncie                IN         47303            Pre '96
Music City Mall                                4101 E. 42Nd. St. #H-10                                          Odessa                TX         79762            Pre '96
Northgate Mall                                 9717 Colerain Ave.                                               Cincinnati            OH         45251            Pre '96
Northtowne Mall                                1500 North Clinton                                               Defiance              OH         43512            Pre '96
Oakridge Mall                                  171 Oakridge Mall                                                San Jose              CA         95123            Pre '96
Ohio Valley Mall                               Unit 640 Mall Road                                               St. Clairsville       OH         43950         11/29/2013
Palm Desert Town Center                        72840 Hwy. 111 Sp. #413                                          Palm Desert           CA         92260            Pre '96
Parkdale Mall                                  6155 Eastex Freeway, space A-132                                 Beaumont              TX         77706          10/5/2012
Pines Mall                                     Pines Mall, US 65S and Commerce Rd. 2901 Pines Mall Rd.          Pine Bluff            AR         71601            Pre '96
Pinnacle Hills Promenade (Lifetsyle Mall)      2203 S. Promenade Bldv. Suite 2165                               Rogers                AR         72758            Pre '96


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                     Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated within 3 years preceding commencement of this case

                                                                                                                                                                  Dates of
             Description of Location                                         Address1                            City                  State      Zip           Occupancy
Polaris Fashion Place                           1500 Polaris Parkway, Space 2196                                 Columbus              OH         43240            Pre '96
Post Oak Mall                                   1500 Harvey Road #6002                                           College Stat.         TX         77840            Pre '96
Prien Lake Mall                                 496 W Prien Lake Rd E01D                                         Lake Charles          LA         70601         11/21/2015
Provo Towne Centre                              1200 Towne Centre Blvd Space 1084                                Provo                 UT         84601         10/28/1998
Pueblo Mall                                     3429 Dillon Drive Space H2B                                      Pueblo                CO         81008          12/6/2015
Richmond Square Mall                            3801 E. Main St.                                                 Richmond              IN         47374            Pre '96
Rimrock Mall                                    300 S. 24Th St. West                                             Billings              MT         59102            Pre '96
River Valley Mall                               1635 River Valley Circle South, Space 233                        Lancaster             OH         43130            Pre '96
Rogue Valley Mall                               Rogue Valley Mall #2047, 1600 N. Riverside                       Medford               OR         97501            Pre '96
Salem Centre                                    Salem Centre #210 480 Center St. N.E.                            Salem                 OR         97301            Pre '96
San Antonio Location                            25 N.E. Loop 410, Suite 130                                      San Antonio           TX         78216         10/30/1999
Sandusky Mall                                   4314 Milan Road Suite 540                                        Sandusky              OH         44870         11/23/2013
Sherwood Mall                                   5308 Pacific Ave. #25                                            Stockton              CA         95207            Pre '96
Sierra Vista Mall                               1050 Shaw Avenue, A-25                                           Clovis                CA         93612          10/8/1999
Sikes Center                                    3111 Midwestern Parkway, #342                                    Wichita Falls         TX         76308            Pre '96
Silver Lake Mall                                200 W. Hanley Ave., C-301                                        Coeur D'Alene         ID         83814            Pre '96
Somerset                                        4150 S. Hwy. 27/Somerset Mall                                    Somerset              KY         42501          11/1/1999
South County Mall                               75 South County Centerway                                        St. Louis             MO         63129          9/29/2000
South Towne Center                              10450 State Street                                               Sandy                 UT         84070           5/1/2008
Southgate Mall                                  South Gate Mall                                                  Missoula              MT         59801            Pre '96
Stonebriar Mall                                 2601 Preston Road #2026                                          Frisco                TX         75034         11/25/2016
Stoneridge Shopping Center                      2105 Stoneridge Mall Rd #B203                                    Pleasanton            CA         94588           8/1/2016
Stonewood Center                                217 Stonewood Dr. # B 13                                         Downey                CA         90241          11/3/2017
Sunrise Mall                                    2370 North Expressway Space 1074                                 Brownsville           TX         78521           5/1/2016
Sunrise Mall Shopping Center                    5917 Sunrise Mall                                                Citrus Heights        CA         95610            Pre '96
Sunset Valley Market Fair (Free)                5400 Brodie Lane, Space 1100                                     Sunset Valley         TX         78745          8/20/1999
Superstition Springs                            6555 East Southern Avenue, Space 2304                            Mesa                  AZ         85206         12/22/1999
The Avenues                                     10300 Southside Blvd #1520A/B                                    Jacksonville          FL         32256         11/30/2016
The Mall at Tuttle Crossing                     5043 Tuttle Crossing Blvd., Suite 271                            Dublin                OH         43016            Pre '96
The Mall Of Victor Valley                       Mall Of Victor Valley #257, 14400 Bear Valley Road               Victorville           CA         92392            Pre '96
The Oaks                                        350 W Hillcrest Dr M001                                          Thousand Oaks         CA         91360         11/26/2016
The Woodlands Mall                              1201 Lake Woodlands Drive, Space 2090                            The Woodlands         TX         77380          7/31/1996
Tippecanoe Mall                                 2415 SagamorePkwy. South Suite A-14                              Lafayette             IN         47905            Pre '96
Town East Mall                                  350 W Hillcrest Dr M001                                          Mesquite              TX         75150         11/25/2016
Town East Square                                7700 E Kellogg Dr, Space H04                                     Wichita               KS         67207          9/12/2016
Town West Square                                4600 W Kellogg Dr, Space Q16                                     Wichita               KS         67209         10/17/2016
Towne Mall                                      3461 Towne Blvd.                                                 Franklin              OH         45005            Pre '96


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                                                                                    Case No. 18-11818
                     Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated within 3 years preceding commencement of this case

                                                                                                                                                                  Dates of
             Description of Location                                       Address1                              City                  State      Zip           Occupancy
Tri-County Mall                                 11700 Princeton Pike                                             Cincinnati            OH         45246            Pre '96
University Mall                                 D-59 University Mall                                             Orem                  UT         84058            Pre '96
University Park Mall                            6501 Grape Rd 484A                                               Mishawaka             IN         46545           2/3/2016
Upper Valley Mall                               1475 Upper Valley Mall #202                                      Springfield           OH         45504          11/1/1999
Valley Fair                                     2855 Stevens Creek Blvd., Space K-163                            Santa Clara           CA         95050            Pre '96
Valley Fair Mall                                3601 S. 2700 West C-110                                          West Valley           UT         84119            Pre '96
Village at The Peaks                            1248 South Hover Rd Unit 100                                     Longmont              CO         80501         12/21/2015
Vintage Faire Mall                              504 Vintage Fair Mall                                            Modesto               CA         95356            Pre '96
West Park Mall                                  3049 William Street Suite 247                                    Cape Girardeau        MO         63703            Pre '96
West Valley Mall                                3200 North Naglee Road                                           Tracy                 CA         95304         11/16/1999
Westfield Shopping Town Gateway                 274 Westfield Shopping Town Gateway, Pavilion 2                  Lincoln               NE         68505            Pre '96
White Mountain Mall                             2441 Foothill Blvd.                                              Rock Springs          WY         82901            Pre '96
Woodland Hills Mall                             7021 S. Memorial #274                                            Tulsa                 OK         74133          June 1994




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                                                                               Part 11, Question 21 - Property held for another




              Name of Owner                                Address1                        Address2                        City             State       Zip      Country   Description of Property      Value
A & B JEWELRY DESIGNS, INC.           DBA: HOUSE OF TANZANITE                   554 MIDDLE NECK ROAD                GREAT NECK         NY           11023                  CONSIGNMENT VENDOR           $2,475.60
A. JAFFE                              154 WEST 14TH STREET 12TH FLOOR                                               NEW YORK           NY           10011                  CONSIGNMENT VENDOR           $2,368.00
ABSOLUTE BRILLIANCE, INC.             ATTN: PRESIDENT OR GENERAL COUNSEL        581 FIFTH AVENUE 5TH FLOOR          NEW YORK           NY           10017                  CONSIGNMENT VENDOR          $27,882.60
AMBRAS FINE JEWELRY CORP.             31-00 47TH AVENUE 3RD FLOOR                                                   LONG ISLAND CITY   NY           11101                  CONSIGNMENT VENDOR             $287.95
ANGELES DIAMOND INTERNATIONAL         630 WEST 6TH STREET SUITE # 217                                               LOS ANGELES        CA           90017                  CONSIGNMENT VENDOR           $8,125.00
AURAFIN-ORO AMERICA L.L.C.(RICHLINE   P.O. BOX 5148                                                                 NEW YORK           NY           10087-5148             CONSIGNMENT VENDOR           $5,506.29
BENJAMIN & CO.                        550 S. HILL ST. SUITE 875                                                     LOS ANGELES        CA           90013                  CONSIGNMENT VENDOR             $681.43
DANI'S GEM CORP                       260 W. 35TH STREET SUITE 200                                                  NEW YORK           NY           10001                  CONSIGNMENT VENDOR           $5,555.15
DARLING IMPORTS                       1225 HAMPTON LOCUST GROVE ROAD                                                LOCUST GROVE       GA           30248                  CONSIGNMENT VENDOR           $3,378.50
DIAMONDS FOREVER OF USA, INC.         1000 AVENUE OF THE AMERICAS, 7TH FLOOR                                        NEW YORK           NY           10018                  CONSIGNMENT VENDOR           $3,696.00
FABLE JEWELRY COMPANY                 9860 SOUTH 6061 WEST SUITE # B                                                WEST JORDAN        UT           84081                  CONSIGNMENT VENDOR           $1,000.00
FINE SQUARE DIAMONDS INC              15 W47TH STREET #1409                                                         NEW YORK           NY           10036                  CONSIGNMENT VENDOR           $2,560.00
FIRESTAR DIAMOND INC.                 592 FIFTH AVENUE 3RD FLOOR                                                    NEW YORK           NY           10036                  CONSIGNMENT VENDOR           $3,300.00
GOGREEN DIAMONDS INC                  62 W 47TH STREET SUITE #902-A                                                 NEW YORK           NY           10036                  CONSIGNMENT VENDOR          $27,224.33
INNOVATIVE PEARL                      15 WEST 47TH STREET SUITE 607                                                 NEW YORK           NY           10036                  CONSIGNMENT VENDOR          $71,227.33
IVANGEMS                              M. IVAN MALNEKOFF                         2 BELVEDERE PLACE SUITE 120         MILL VALLEY        CA           94941                  CONSIGNMENT VENDOR         $249,488.00
JEWEL EVOLUTION INC                   50 WEST 47TH STREET SUITE 1710                                                NEW YORK           NY           10036                  CONSIGNMENT VENDOR $1,002,195.47
JEWELMAK, INC.                        344 EAST 59TH STREET                                                          NEW YORK           NY           10022                  CONSIGNMENT VENDOR          $17,270.03
JEWELRY MARKETING COMPANY INC         500 7TH AVENUE SUITE #12B                                                     NEW YORK           NY           10018                  CONSIGNMENT VENDOR          $14,224.00
K & D DIAMONDS INC.                   580 5TH AVENUE SUITE # 711                                                    NEW YORK           NY           10036                  CONSIGNMENT VENDOR          $15,306.40
KIRAN JEWELS, INC.                    521 FIFTH AVENUE 8TH FLOOR SUITE 820                                          NEW YORK           NY           10175                  CONSIGNMENT VENDOR         $275,769.00
LOTUS COLORS, INC.                    576 5TH AVENUE STE 1104                                                       NEW YORK           NY           10036                  CONSIGNMENT VENDOR           $7,627.25
M. GELLER LTD.                        29 E. MADISON STREET SUITE 1805                                               CHICAGO            IL           60602                  CONSIGNMENT VENDOR         $115,512.84
NINACCI, INC.                         550 SOUTH HILL ST SUITE 1101                                                  LOS ANGELES        CA           90013                  CONSIGNMENT VENDOR           $6,451.00
NOBLE JEWELRY AND MERCHANDISE CO.,    919 M0015, TEPARAK ROAD                   BANGSAOTHONG SA, ITJ-RALARM                                         10540      THAILAND    CONSIGNMENT VENDOR             $327.82
REGENT FINE JEWELRY                   P.O. BOX 525                                                                  CUPERTINO          CA           95015                  CONSIGNMENT VENDOR           $1,600.00
RINOVATI CORPORATION                  330 WEST 17TH STREET SUITE # 2R                                               NEW YORK           NY           10011                  CONSIGNMENT VENDOR             $437.50
RITANI LLC                            30 DR. MARTIN LUTHER KING JR. BLVD                                            WHITE PLAINS       NY           10601                  CONSIGNMENT VENDOR          $23,060.00
S.J.A. JEWELRY, INC.                  44 BURLEWS COURT                                                              HACKENSACK         NJ           07601                  CONSIGNMENT VENDOR          $12,706.00
SDIL, INC.                            521 5TH AVENUE SUITE 818R                                                     NEW YORK           NY           10175                  CONSIGNMENT VENDOR          $17,413.89
SEIKO CORPORATION OF AMERICA          1111 MACARTHUR BOULEVARD                                                      MAHWAH             NJ           07430                  CONSIGNMENT VENDOR $1,383,092.88
SHAHAR DIAMONDS LLC                   ATTN: PRESIDENT OR GENERAL COUNSEL        15 WEST 47TH STREET STE #1205       NEW YORK           NY           10036                  CONSIGNMENT VENDOR          $17,772.60
SRB TRADING                           7 WEST 45 STREET SUITE # 1706                                                 NEW YORK           NY           10036                  CONSIGNMENT VENDOR          $33,765.02
STULLER SETTINGS - PROGRAMS           302 RUE LOUIS XIV                                                             LAFAYETTE          LA           70508                  CONSIGNMENT VENDOR           $2,014.89
THE LUXE GROUP INC                    304 HUDSON STREET                         5TH FLOOR                           NEW YORK           NY           10013                  CONSIGNMENT VENDOR           $5,746.43
THE MARFO COMPANY                     MARSALA MANUFACTURING                     799 N HAGUE AVENUE                  COLUMBUS           OH           43204-1424             CONSIGNMENT VENDOR          $35,340.00
TOUCHSTONE GEMS LTD.                  260 WEST 35TH STREET SUITE 200                                                NEW YORK           NY           10001                  CONSIGNMENT VENDOR              $50.00
TRILLION DIAMOND CO., INC.            15 WEST 47TH STREET SUITE #1106                                               NEW YORK           NY           10036                  CONSIGNMENT VENDOR           $2,300.00
UNIQUE DESIGNS                        521 5TH AVENUE RM # 820                                                       NEW YORK           NY           10175                  CONSIGNMENT VENDOR          $48,791.34
VIMCO DIAMOND CORP.                   1156 AVENUE OF THE AMERICAS SUITE #602                                        NEW YORK           NY           10036                  CONSIGNMENT VENDOR           $3,739.80
                                                                                                                                                                                             TOTAL: $3,457,270.33




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